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               Exhibit 1
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                                                           Page 1                                                       Page 3
         1              UNriED STATES DISTRICT COURT                    1    ETHAN VINSON
         2              EASTERN DISTRICT OF MICHIGAN                    2    City of Warren, City Attorney's Office
         3                 SOUTHERN DIVISION                            3    One City Square
         4                                                              4    Suite 400
         5   DESHBLA C. HOWLETT,                                        5    Warren, Michigan 48093
         6            Plaintiff,                                        6    586.574.4671
         7     vs.                  Case No. 17-11260                   7    evinson@cityofwarren.org
         8                      Hon. Terence G. Berg                    8    Co-counsel appearing on behalf of the Defendants.
         9   CTTY OF WARREN, COMMISSIONER      Mag. R. Steven Whalen    9
        10   JERE GREEN, acting in his                                 10    ALSO PRESENT:
        11   individual capacity, LT. LAWRENCE                         11    Justin DIoski, Video Technician
        12   GARDNER,SHAWN JOHNSON, DAWN                               12    Mark Simlar
        13   McLANE, BARBARA BEYER, ANWAR KHAN,                        13
        14   DARRIN LABIN, WILLIAM ROSS, KEVIN                         14
        15   BARNHILL, PAUL HOUTOS, SCOTTTAYLOR,                       15
        16            Defendants.                                      16
        17                                                             17
        18                                                             18
        19                                                             19
        20     The Videotaped Deposition of DESHEILA HOWLETT,          20
        21     Taken at 333 West Fort Street, 15th Roor,               21
        22     Detroit, Michigan,                                      22
        23     Commencing at 10:09 a.m..                               23
        24     Wednesday, December 27,2017,                            24
        25     Before Alison C. Webster, CSR-6266, RPR.                25



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                                                                        c,


         3      LEONARD MUNGO                                           3      Witness                                Page
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         5      333 West Fort Street                                    5
         6      Suite 1500                                              6      EXAMINATION
         7      Detroit, Michigan 48226                                 7      BY MR. ACHO:                              8
         8      313.963.0407                                            8      EXAMINATION
         9      mungoll6@msn.com                                        9      BY MR. MUNGO:                                 217
        10      Appearing on behalf of the Plaintiff.                  10      RE-EXAMINATION
        11                                                             11      BY MR. ACHO:                              272
        12      JAMES R. ACHO                                          12
        13      ELIZABETH RAE-O'DONNELL                                13                            EXHIBITS
        14      Cummings, McClorey, Davis 8i Acho, P.LC.               14
        15      17436 College Parkway                                  15      Exhibit                                Page
        16      Livonia, Michigan 48152                                16
        17      734.261.2400                                           17    (Exhibits attached to transcript.)
        18     jacho@cmda-law.com                                      18
        19      erae@cmda-law.com                                      19      DEPOSITION EXHIBIT 1                           31
        20      Appearing on behalf of the Defendants.                 20      DEPOSITION EXHIBIT 2                           50
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         1   Detroit, Michigan                                            1         right is Mr. Ethan Vinson, City attomey for the City
         2   Wednesday, December 27, 2017                                 2         of Warren, and your counsel, Mr. Mungo.
         3   10:09 a.m.                                                   3                   For the record, Mr. Mungo handed me, prior
         4                                                                4         to the deposition, a report from Dr. Gerald Shiener,
         5                VIDEO TECHNICIAN: We are now on the record      5         dated November 27th of this year, so I suppose what I
         e      at 10:09 a.m. This is the videotaped deposition of        6         would do at this point is just reserve my right, if
         7      Desheila Howlett being taken on December 27th, 2017.      7         necessary, to continue your deposition for limited
         8                We are located at 333 West Fort Street,         8         purposes after today if there Is anything regarding
         9      Suite 1500, Detroit, Michigan.                            9         this report that we need to come back about since it's
        10                We are here in the matter of Howlett versus    10         a month old and I was just handed it moments ago. So
        11      City of Warren, et al., case number 17-11260.            11        I don't anticipate that, but I would just like to
        12                My name is Justin DIoski.                      12         protect the record.
        13              If the attorneys would identify themselves       13                   Was there something else that you indicated
        14      for the record, the reporter will then swear In the      14         you wanted to add ~
        15      witness.                                                 15                   MR. MUNGO: Yes.
        16               MR. ACHO: Okay. Let the record reflect          16                   MR. ACHO: -• Mr. Mungo?
        17      this is the date and time set for the deposition of      17                   MR. MUNGO: Yes, sir. I would like the
        18      Desheila Howell pursuant to Notice and concurrence of    18         record to reflect tiiat I had requested in previous
        19      counsel. It Is to be used for all purposes allowable     19        telephone conversation with Mr. Vincent —
        20      under the court rules.                                   20                   MR. VINSON: Vinson.
        21                Ms. Howlett, my name Is James Acho. I'm        21                   MR. MUNGO: ~ Vinson, City attomey of
        22      representing -                                           22         Warren, the application for short-term disability
        23                COURT REPORTER: Mr. Acho, if I can             23         benefits and a copy of the document, excerpt from the
        24      Interrupt and swear in the witness.                      24        Collective Bargaining Agreement between the City of
        25                MR. ACHO: Sorry,                               25         Warren and the Warren Police Officers Association



                                                             Page 6                                                                Page 8
         1              COURT REPORTER: Thank you.                        1        pertaining to short-term disability benefits, and he
         2              Ms. Howlett, would you please raise your          2        did provide me with those two documents today, the
         3      right hand?                                               3        denial, and was pointing out to me that she was
         4              Do you swear or affirm the testimony you          4        denied — Ms. Howlett was denied her short-term
         5      are about to give In this matter will be the truth.       5        disability benehts because it was a - there was a
         6      the whole truth, and nothing but the truth?               6        determination that the injury was work-related; is
         7                MS. HOWLETT: Yes, I do.                         7        that correct?
         8                COURT REPORTER: Thank you.                      8                  MR. VINSON: Thafs correct.
         9                       DESHEILA HOWLETT,                        9                  MR. ACHO: Okay.
        10      was thereupon called as a witness herein, and after      10                         EXAMINATION

        11      having first been duly sworn to testify to the truth.    11   BY MR. ACHO:

        12      the whole truth and nothing but the truth, was           12   Q. Can you please state your full legal name for the
        13      examined and testified as follows:                       13        record?

        14                MR. ACHO: As I was saying, my name is          14   A. Desheila Cheri Howlett

        15      James Acho and I represent the City of Warren, and I'm   15   Q. And how is Cheri spelled?
        16      here to take your deposition. As you know, I             16   A. C-h-e-r-i.
        17      introduced myself to you prior to the deposition.        17   Q- Okay. Ms. Howlett, are you on any medications today
        18              Madam Court Reporter, did you get down my        18        tfiat would in any way affect the way you testify or as
        19      preface remarks, or do you need them again regarding     19        to your memory?
        20      the deposition is being taken pursuant to Notice and     20   A. I am on medication.

        21      concurrence with counsel and is to be used for all       21   Q. Okay. Do any of those medications, as you know it
        22      purposes allowed under the court rules.                  22      affect memory?
        23              Also present here today to my right is           23   A.   Not to my knowledge.
        24      Ms. Beth Rae-O'Donnell, my co-counsel. To her right      24   Q. So there's no reason why your memory would be impaired
        25      is Mr. Mark Simlar from the City of Warren. To his       25        in any way today?




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         1   A.    No,sir.                                                1   A. Yes.
         2   Q. Okay. Have you ever had your deposition taken before?     2   Q. Did you miss time from work?
         3   A. Regarding my job, yes.                                    3   A. Yes.
         4   Q- Okay. What job was that?                                  4   Q. How much time did you miss from work?
         5   A. Being a police officer.                                   5   A. Four months.
         6   Q. Being a police officer where?                             6   Q- Did you collect -- strike that.
         7   A.    In the city of Warren.                                 7                  You •• did the accident happen on the job?
         E   Q- Okay. And what was that deposition regarding?             8   A. No,sir.
         9   A. A car accident that I investigated.                       9   Q. So you did not have the benefit of workers' comp for
        IC   Q- When was this?                                           10     that" those four months off; correct?
        11   A. Probabiy within the last year or so.                     11   A. Short-tenn disability.
        12   Q- Okay. Do you know the end result of the case?            12   Q. Short-term? Okay. Did you settle the case?
        13   A. No,I do not.                                             13   A. Yes, sir.
        14   Q- Were you a defendant?                                    14   Q. How much did you settle it for?
        15   A. No.                                                      15   A. 25,000.
        16   Q. Okay. Have you ever been a defendant in a case - in      16   Q. Okay. Did you allege any type of emotional damages as
        17        any type of civil or criminal case?                    17        a result of the accident? Meaning, a lot of people
        18   A. No.                                                      18        that are in car accidents will allege anxiety, that
        19   Q- Okay. Have you ever been a plaintiff?                    19        they have anxiety driving after they've been in an
        20   A. Yes.                                                     20        acddent.
        21   Q. You have.                                                21   A.    No,sir.
        22   A. Yes.                                                     22   Q- And you — you believe it was filed in Macomb County
        23   Q- Other than this case, I mean.                            23        Orcuit?
        24   A. Yes.                                                     24   A. Yes.
        25   Q- Okay. And how many times and - lefs start with the       25   Q- I'm sorry if I asked you this. Do you Imow the name


                                                          Page 10                                                                Page 12
         1        most recent.                                            1        of the defendant?
         2   A.    2011, car accident.                                    2   A. No.
         3   Q. And did you file a lawsuit?                               3   Q. But you're sure it was 2011?
         4   A. Yes.                                                      4   A. Yes.
         5   Q- Where did you file a lawsuit?                             5   Q- Okay. Any other times where you have been a plaintiff
         6   A. Through Mike Morse.                                       6        n a lawsuit?
                                                                          7
         7   Q. Okay. Did he win?                                             A. Yes.
         e   A.   Yes,sir.                                                8   Q- Okay. When was the time previous to the car accident
         9   Q- Because you know that's what he does.                     9        n 2011?

        10               Where was the lawsuit filed?                    10   A.   I believe it would have been 2003,approximately.
        11   A.   In the city of Southfield is where the accident        11   Q. Okay. What kind of case was that?
        12        occurred.                                              12   A.   I had invested in a business and several other people
        13   Q. Okay. So Oakland County Circuit, maybe?                  13        nvested and we all lost our investments.
        14   A. I think it's the county that I live in, so it would be   14   Q. What kind of business?
        15        Macomb,they said.                                      15   A.   It was like a — It was called Hurt So Good Music
        16   Q. Okay. Do you remember the name of the defendant?         16        Productions.
        17   A. No.                                                      17   Q. Okay. A music production company?
        IB   Q- What were the injuries that you alleged you suffered     18   A.   Yes.

        19        from the car accident?                                 19   Q. Okay. Who was the defendant that you sued?
        20   A.   I had a ~ like a strained or torn muscle in my left    20   A. Sheryl Hurt

        21        arm and three bulging disks in my lower back and a     21   Q- How do you spell that?
        22        tear in my spine,top of my spine.                      22   A. I believe it's with an S,Sheryl, and Hurt H-u-r-t

        23   Q. Did you undergo any surgery?                             23   Q. S-h-e-r-y-l?
        24   A.    No.                                                   24   A. Or I, I'm not sure.
        25   Q- Did you undergo physical therapy?                        25   Q- Okay. How much did you allege that you lost in that




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         1        investment?                                             1   A.    Yes,sir.
         2   A. It was a total of 16,000.                                 2   Q. Okay. What is your Social Security number?
         3   Q. From -from you or from everyone?                          3            MR. ACHO: I would ask that, for
         4   A. From me.                                                  4        Ms. Howlett's protection, only the last four digits
         5   Q. Okay. How did you know Ms. Hurt?                          5        are refected in the record.
         6   A. She ~ one of my best friends,she was a friend of          6   A.
         7     hers, and she had a jewelry store, where I went to         7   BY MR. ACHO:
         e        school at Eastern.                                      8   Q. Do you ~
         9
             Q- Okay. Ms. Hurt has a jewelry store?                       9            MR. MUNGO: Excuse me just a moment.
        10   A. She had.                                                 10                We did just get the last four? Thank you.
        11   Q. She had. No longer does?                                 11   BY MR. ACHO:
        12   A. Not to my knowledge.                                     12   Q. Do you possess a valid Michigan driver's license?
        13   Q. Do you have communication to this day with Ms. Kurt?     13   A. Yes, sir.
        14   A. No.                                                      14   Q- Did you bring it with you today?
        15   Q. Do you have any contact information for her?             15   A. Yes.
        16   A. No.                                                      16   Q. Can I see it?
        17   Q. Do you know where she lives?                             17   A. It's in his office.
        16   A. Last I heard of,I think it was,like, Ypsilanti,          18   Q. That's all right. We'll look at It later. Do you
        19        Ann Arbor area.                                        19      know your driver's license number off the top of your
        20   Q. Okay. Where did you file that lawsuit?                   20        head?
        21   A. Ypsilanti.                                               21   A. No, sir.
        22   Q. Would it have been Washtenaw County Grcuit?              22   Q. Okay.
        23   A.   Shouid be, yes.                                        23             MR. MUNGO: Ifs ~ Counsel, it is part of
        24   Q. Okay. Who was your attomey?                              24        the documents that we have given you in discovery. In
        25   A. I didn't have an attomey.                                25        discovery requests. If you want her to pull it out


                                                          Page 14                                                             Page 16
         1   Q. So you were -- you represented yourself?                  1        now, she can do that, or if you want to do It later ~
         2   A. Yes.                                                      2               MR. ACHO: That's all right. We'll come
         3
             Q. Any other lawsuits?                                       3        back to it.
         4   A. No.                                                       4   BY MR. ACHO:
         5   Q. So those are the only two times where you sued            5   Q. What Is your date of birth?
         6        somebody?                                               6   A.
         7   A. Uh-huh.                                                   7   Q. And where were you bom?
         8   Q. Yes?                                                      8   A. Flint, Michigan.
         9   A. Yes.                                                      9   Q. Your ethnic origin ~ your ethnicity would be best
        10   Q. I'm sorry, I did not - typically, I give ground          10        described as what?
        11         rules. I just need you to answer in the affirmative   11   A. African-American.
        12         or the negative as opposed to an uh-huh or huh-uh     12   Q. Typically I ask individuals if they've ever been
        13         because our court reporter won't be able to take it   13      convicted of a crime, but knowing that you have been
        14         down.                                                 14      hired at multiple police departments, I'm assuming you
        15   A. Yes.                                                     15        dont have any type offelony convictions; is that
        16   Q. Also, if you need a break at any time,just ask me.       16        accurate?
        17        It's not a problem. I would just ask that you answer   17   A.   Yes,sir.
        18        any question that's on the table thafs been posed      18   Q. Okay. Have you ever been arrested before?
        19        before you take a break.                               19   A. No,sir.
        20   A. Yes.                                                     20   Q. Okay. Where do you currently reside?
        21   Q. Okay. Have you ever been a witness in a case, dvil       21   A. You want the actual address?
        22        or criminal?                                           22   Q. Please.
        23   A.    Only for work-related things.                         23   A.
        24   Q. Okay. Only for criminal matters where the police         24   Q. Okay.
        25        arrested somebody?                                     25                MR. MUNGO: Counsel, it should be reflected




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         1        in the record that that has been provided to the            1        you know how they transfer you over?
         2        defendants as part of the discovery.                        2   Q. I do.
         3                  MR. ACHO: No, no, I know that these are           3   A. So 1 don't know, off the top of my head. I'm sorry.
         A        typically part of the written requests, but                 4   Q. How much is your mortgage?
         5       sometimes ~                                                  5   A. 1,101.
         6                  MR. MUNGO: No, that's fine.                       6   Q. Is that with property taxes included?
         7               MR. ACHO: Yeah, sometimes things change in           7   A. Yes.

         8       the interim and sometimes answers change, truthfully,        B   Q. Do you have any home equity loans?
         9        so...                                                       9   A.   No.

        10    BY MR, ACHO:                                                   10   Q. How long have you lived in this home?
        11    Q. Is this a home or an apartment?                             11   A. Four years.
        12    A. A home.                                                     12   Q. Where did you live prior?
        13    Q. Okay. Do you own the home or rent?                          13   A. Prior to that. It would have been the city of Madison
        14    A. Own.                                                        14        Heights.
        15    Q. You own it?                                                 15   Q. And was that a home or an apartment?
        16    A. Yes.                                                        16   A. Apartment.
        17    Q. Okay. Do you have a mortgage?                               17   Q. Do you remember the address?
        IS    A. Yes.                                                        18   A. No.

        19    Q. Who is the mortgage through?                                19   Q. Do you know who the landlord was?
        20    A. The name just changed.                                      20   A. It was a large company. They own a lot of apartment
        21                  MR. MUNGO: Is it in the records that we          21        buildings.
        22        provided?                                                  22   Q. All right. Would you be able to, if not at break.
        23                  THE WITNESS: Yes.                                23        after the deposition, get that address to me through
        24               MR. MUNGO: Okay. You want to take a look?           24        your attorney?
        25       Or Ifs up to counsel.                                       25   A. It should be in here.



                                                                   Page 18                                                           Page 20
         1                MR. ACHO: Well, is that something --1               1   Q. Okay.
         2      mean, a lot of these things, I would think she would          2                MR. MUNGO: If you want it now, Counsel,
         3      know off the top of her head, to be honest with you.          3         she can get it for you.
         4      so...                                                         4                   MR. ACHO: "mats okay.
         5                MR. MUfJGO: Well, Counsel, there is 3 --            5                 MR. MUNGO: Its •• which - just for the
         6      many of the questions that you're asking her is               6         rea)rd, so that the record is dear, that Information
         7      already provided in her response to a —                       7         has been provided through response to the discovery
         8                MR. ACHO: No, I know, but as I just                 8         requests.
         9      indicated, sometimes I wiii ask things that I                 9                 MR. ACHO: Okay. Some of this, also, you
        10      requested in a written form because sometimes answers        10         understand, is a test of your clients memory, and so
        11      change.                                                      11         fer she's been unable to answer a number of questions
        12                MR. MUNGO: No, thafs fine. That's fine.            12         that I would think she would know, so its - there's
        13      I understand that. It --1 just note -- noted that            13         a method to the madness, as you're aware.
        14      you hadn't asked her if any of this information had          14   BY MR. ACHO:
        15      changed yet. So I -- it's up to you. You can go              15   Q. So prior to the ~
        16      ahead and continue. But she does have it in here, if         16             MR. MUNGO; Yeah. And, Counsel, just as-
        17      you want her to look at it -                                 17         my dient understands that tJiere's certain things that
        IS                MR. ACHO: Okay.                                    18         she will remember and there are certain things that
        19                MR. MUNGO: -- and find it.                         19         she won't.
        20                MR. ACHO; 1 don't recall that specific             20                   MR. ACHO: So it's convenient.
        21      one.                                                         21                 MR. MUNGO: Being -- being human --
        22   BY MR. ACHO:                                                    22                 MR. ACHO: It's a convenient memory? Is
        23   Q. So do you know, as we sit here, who your mortgage is         23         that what you're saying?
        24      through?                                                     24                   MR. MUNGO: Well --
        25   A. The company just got bought out by somebody else, so         25                   MR. ACHO: If Ids convenient to her




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         1       lawsuit, she'll remember It, but...                       1   A. Yes.

         2                MR. MUNGO: Well - well, ifs -                    2   Q. Okay. And he agreed to rent it to you?
         3                MR. ACHO: If It could potentially hurt           3   A. Yes.

         4       her, is that what you're saying?                          4   Q. And how long did you live there?
         5                MR. MUNGO: Well, if convenient is                5   A.   It was a year lease, but I didn't complete the year.
         6       synonymous with human - being a human memory.             6   Q. Is that because he evicted you?
         1                MR. ACHO: All right.                             7   A.    No,sir.
         8                MR. MUNGO: So thafs why she brought her          8   Q- Did he begin eviction proceedings?
         9       documents, because I'm assuming that you want accurate    9   A. No,sir.

        10       testimony from her, and so thafs why she brought the     10   Q. He did not?
        11       documents so that she could readily access it in the     11   A. No.

        12       event that she does not recall, so that she can give     12   Q- Was there ~ well, how is it you happened to leave
        13       you accurate testimony.                                  13      prior to the expiration of the lease?
        14                MR. ACHO: Okay.                                 14   A.    My mother was terminally ill and died.
        15   BY MR. ACHO:                                                 15   Q. Okay. But how does that have anything to do with you
        16   Q. I asked where you lived prior to the home that you        16        leaving prior to the expiration of a lease?
        17       reside in, and you said that would be Madison Heights.   17   A.   Because we had a conversation about the fact that my
        18       Isn't It true that you lived in a home in Warren that    18        mother needed full-term ~ full-time care.
        19       you rented or a condominium in Warren that you rented    19   Q. And so Mr. Priemer allowed you to break the lease?
        20       from one of the other police officers?                   20   A.   Yes,sir.
        21   A. The condominium was not in Warren.                        21   Q. And ifs your testimony that he never started eviction
        22   Q. Where was it at?                                          22      proceedings?
        23   A. Nineteen Mile and Hail Road.                              23   A. No.

        24   Q. And what dty is that?                                     24   Q. Was there any type of disagreement between you and
        25   A. Clinton Township.                                         25      Mr. Priemer over the fact that you had been late or



                                                               Page 22                                                            Page 24
         1   Q. Okay. And did you live there pnor to the Madison           1        failed to make rent payments?
         2      Heights address? It was after Madison Heights, wasn't      2   A.   I had never been late on a payment and I didn't fail
         3      It?                                                        3        to make any payments.
         4   A. No.                                                        4   Q. So there was never any issue with the timeliness of
         5   Q. No?                                                        5        your paying rent?
         6              VIDEO TECHNICIAN: If you can try not to -          6   A.   No,sir.
         7      because it makes noise.                                    7
                                                                               Q. So if Officer Priemer were to testify that there were.
         8              THE WITNESS: Okay.                                 8        would he be mistaken?
         9   BY MR. ACHO:                                                  9   A. No.

        10   Q. When did you live at the Clinton Township address?        10   Q. How - well, I'm confused. How ~
        11   A. It would have been — let me see. If I've been in          11   A. He asked for an additional month at the end because I

        12      Warren for four, Madison Heights a year, approximately    12        was leaving early, is the only discrepancy.
        13      five or sbc years ago.                                    13   Q. Okay. With whom do you reside currently?
        14   Q. Okay. And who did you rent that home from?                14   A. Christina Hewlett

        15   A. Curt Priemer.                                             15   Q. And Christina with a C?
        16   Q. And how do you spell his name?                            16   A. Yes.

        17   A. C-u-r-t P-r-i-e-m-e-r.                                    17   Q. Okay. Are you married?
        18   Q. Okay. And Curt Priemer is a police officer in the         18   A. Yes.

        19      dty of Warren?                                            19   Q. And are you married to Christina Howlett?
        20   A. Yes.                                                      20   A. Yes.

        21   Q. Okay. How is it you came to rent a home from him?         21   Q. Okay. Were you married In the state of Michigan?
        22   A. He let people know that he was going to be moving out     22   A. No.

        23      soon and that he wanted to rent his property.             23   Q- Where were you married?
        24   Q. Okay. And so you approached him and said you wanted       24   A. California.

        25      to rent It?                                               25   Q. Is your marriage recognized In the state of Michigan?




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         1   A. Yes.                                                        1    Q. Do you own your own vehicle?
         2   Q. Do you have children?                                       2    A. Yes.
         3   A. No.                                                         3    Q. And what do you drive?
         4   Q. Did you at one time have a child?                           4    A. Ifs a Kia Sportage.
         5   A. No.                                                         5    Q. What year?
         6   Q. Did you adopt a child at one point?                         6    A. 2011.
         7                                                                  7
             A. No.                                                              Q. Do you have a monthly car note that you ~
         8   Q. You did not?                                                8    A. Not on the Kia, no.
         9   A. No.                                                         9    Q- Okay. On Christina's vehicle?
        10   Q- A number of officers have told me that you had, for a      10   A. Yes.
        11        brief time, adopted a child and then something went      11   Q. And how much is that car payment?
        12        awry and you no longer had custody of that child.        12   A. 400-somethtng,I believe.
        13        Could you enlighten me as to what they're talking        13   Q- Do you know roughiy what the insurance payment is on
        14        about?                                                   14      your vehicles monthly?
        15   A.   They're talking about my Goddaughter who I provided      15   A.    Right at $400.
        16        more,like, a baby-sitting care when her grandmother      16   Q. And approximately what do you pay monthly for home
        17        was at work.                                             17        insurance?
        18   Q- And that"s it?                                             18   A.    It's right around 100, but ifs included in the
        19   A. Yes.                                                       19        mortgage.
        20   Q. And you never attempted to adopt that child?               20   Q. Do you have any student loans?
        21   A.   Absolutely not.                                          21   A. Not anymore.
        22   Q. Have you ever been treated for substance abuse?            22   Q- You've paid them all off?
        23   A. No.                                                        23   A. Yes.
        24   Q. Drugs or alcohol?                                          24   Q. Does Christina have student loans?
        25   A. No.                                                        25   A. Yes.



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         1   Q. Do you use drugs or alcohol?                                1   Q- And approximately how much per month are her student
         2   A. I drink occasionally.                                       2        loans?
         3   Q. Just socially?                                              3   A.   They're in deferment right now.
         4   A. Yes,sir.                                                    4   Q. How come?
         5   Q. How long have you been married to Christina?                5   A.   Household responsibilities.
         6   A. Since 2014.                                                 6   Q. Can you sort of elaborate for me?
         7   Q. Is Christina employed?                                      7   A.   We wentfrom a two-person income to a one-person
         8   A. Yes.                                                        8        income,so she's prioritizing what she pays.
         9   Q- Where is she employed?                                      9   Q. So you have no income currently?
        10   A. St John's.                                                 10   A. No.
        11   Q. Is that a hospital?                                        11   Q. Do you and Christina have any children together?
        12   A. Yes.                                                       12   A. No.
        13   Q. And Is she a nurse?                                        13   Q. Does Christina have any children?
        14   A. Yes.                                                       14   A. No.

        15   Q. Do you know approximately how much she earns?              15   Q- Were you ever previously married?
        16   A. Around about 55-.                                          16   A.   No.
        17   Q. Okay. I know you aren't working cunently, but what         17   Q. You're a high school graduate, I take it?
        18     Is your current salary?                                     18   A. Yes.

        19   A. I was right at about $89,000 a year.                       19   Q. What year?
        20   Q. So your total household income Is roughly 145,000; Is      20   A. 1991.

        21        that accurate?                                           21   Q- Okay. What high school?
        22   A. It was, yes.                                               22   A. Rint Northern.
        23   Q- Do you have any sources of Income outside of the Qty       23   Q. Were you involved in any extracurricular activtties at
        24      of Warren or Christina's job at St. John's?                24        Hint Northern?
        25   A. No.                                                        25   A. Yes-




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         1   Q. Okay. What- like what?                                    1   Q. So I'd like to look at your employment history.
         2   A. Basketball,soccer.                                        2              MR. ACHO: I'm going to mark this as
         3   Q. Anything else?                                            3         Exhibit 1.
         4   A. No.                                                       4                 MARKED FOR IDENTinCATION;
         5   Q. Did you win any awards at Rint Northern?                  5                 DEPOSITION EXHIBIT 1
         6   A. Yes.                                                      6                 10:36 a.m.
         7   Q. What awards did you win?                                  7   BY MR. ACHO:
         8   A. Most dedicated, most Improved.                            8   Q- This is- ifs a large packet. We can ignore most of
         9   Q. And these are for the athletics?                          9         It.
        10   A. Yes. And 1 believe an MVP award,also.                    10                MR. ACHO: I have one for you unless you
        11   Q. Okay. Did you also win an award for most feshionable     11        already have one.
        12      while you were there?                                    12                MR. MUNGO: Thankyou.
        13   A. No.                                                      13   BY MR. ACHO:
        14   Q. Did you run for that award?                              14   Q. We can ignore most of It. I've tabbed certain areas
        15   A. You don't run, but you do get nominated for that.        15        that I'll refer to, but I wanted to give it to you in
        16   Q. Were you nominated for that?                             16        total.
        17   A. Yes.                                                     17              So you graduated the Rint Police Academy
        18   Q. Okay. Were you disappointed that you didn't win?         18      in '97. Were you offered a job upon graduating from
        19   A. Yes.                                                     19      the police academy?
        20   Q. You make it a point to appear fashionably attired, you   20   A. I didn't graduate from the Flint Pofice Academy.
        21     take pride in how you look?                               21   Q. Okay. What happened at Flint that you didnt
        22   A. Yes.                                                     22      graduate?
        23   Q. Okay. After Flint Northern, did you go to college?       23   A. I transferred to Detroit.
        24   A. Yes.                                                     24   Q. Okay. What prompted you to transfer?
        25   Q. Where did you attend college?                            25   A. Because Detroit was my first choice.



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         1   A.   Eastern Michigan.                                       1   Q. The academy was or to work for the Qty?
         2   Q. Did you graduate from EMU?                                2   A. To work for the City.
         3   A. Yes.                                                      3   Q. Okay. There's a high placement with the Qty of
         4   Q. And what was your degree in?                              4      Detroit Police Department for graduates from DPA;
         5   A. Criminal Justice.                                         5        right?
         6   Q. What year?                                                6   A. Yes.
         7   A.   '97,1 graduated.                                        7   Q. Okay. Did you graduate from the Detroit Police
         8   Q- Okay. Did you attend any grad school after that?          8     Academy in '97?
         9   A. No.                                                       9   A. It would have been '98.
        10   Q. Did you go right to the police academy after             10   Q- Okay. Upon graduating Detroit Police Academy, were
        11      graduating from EMU or did you work first?               11      you offered a job anywhere?
        12   A. I believe I had a job and then started school ~ the      12   A. Detroit.
        13     Flint Academy after that.                                 13   Q- Okay. So you became employed with the Qty of Detroit
        14   Q. Okay. Where were you working?                            14      Police Department in - my records reflect 1997. Do
        15   A. It was a community-based program for teaching            15        you know if thafs accurate?
        16     elementary students how to play soccer ~                  16   A.   Well,they start paying us to go to the academy.
        17   Q. Okay.                                                    17   Q. Okay. So my records reflect November 1997 is when you
        18   A.   ~ in the city of Flint.                                18        started on Detroifs payroll. Would that be accurate?
        19   Q- Okay. All right. And then you went to the police         19   A. I believe.
        20     academy?                                                  20   Q. And for how long did you work for the Qty of Detroit
        21   A. Yes.                                                     21      Police Department?
        22   Q- And what year was that?                                  22   A. Six-and-a-half years.
        23   A. Also'97.                                                 23   Q. Okay. And what was your rank when you left?
        24   Q. '97. And thafs the Rint Police Academy?                  24   A.   Technically,I was a police officer.
        25   A. Yes.                                                     25   Q. Okay. Did you receive any promotions in your




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          1        six-and-a-half years?                                   1        of 2002; is that correct?
          2   A.   I transferred departments.                              2    A. Yes.
          3   Q. Okay. Frotn where to where?                               3    Q. It was ~ their offer of employment was conditioned on
          4   A. I started off In the 6th Precinct and then I went to      4       you successfully completing the FTO program; correct?
          5        vice, which Is undercover. Then I went to general       5    A. Yes.
          6        licensing, and then I transferred to the child abuse    6    Q. Did you successfully complete the FTO program?
          7        unit                                                    7    A. The FTO program, yes.
          8   Q. Did you have any issues during your employment with       8    Q. You did?
          9        the aty of Detroit?                                     9    A. Yes.
         10   A. No.                                                      10    Q. Okay. So I handed you what was marked Exhibit 1, a
         11   Q. None at all?                                             11       packet I have tabbed with paperclips a couple of
         12   A.    No.                                                   12       areas that I wanted to highlight. The first area
         13   Q- Have you ever told anyone that you left the Qty of       13      that's paperclipped ~ is yours paperclipped?
         14      Detroit Police Department because you had issues         14    A. No,sir.
         15        there?                                                 15    Q. I thought they all were.
         16   A. No.                                                      16                  MR. ACHO: Yours are not?
         17   Q. You didn't tell Oak Park that?                           17                  MR. MUNGO: No, sir.
         18   A. No. I told them that I was looking for a more secure     18                  MR. ACHO: All right. Well, then I'm just
         19        pay and a better pension.                              19        going to ~
         20   Q. Okay. What was insecure about the pay that you were      20                MR. MUNGO: Oh, yes, yes, they are.
         21      receiving in Detroit?                                    21                  MR. ACHO: They should be.
         22   A.    It was very lackluster for a person with a degree,I   22                  MR. MUNGO: They are at the bottom.
         23        thought.                                               23                  THE WITNESS: Oh, at the bottom.
         24   Q. Do you know what your salary was at the Qty of           24                  MR. MUNGO: You must have done these
         25        Detroit?                                               25        yourself. Been there before.


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          1   A. In the Academy, we were at, like, $12,and then I          1   BY MR. ACHO:

          2     think after five years you max out at 47,5-.               2   Q. So this first area where I tabbed is an exam, Current
          3   Q. Okay. Did you ever tell anyone that you couldn't          3      Candidate Exam, name, Desheila Hewlett, first
          4      handle working in the child abuse unit, that              4      responder. Written exam date was 10-20-2003, and it
          5     emotionally ~ you were too emotionally overwrought?        5      said that you failed this exam; is that correct?
          6   A. Not that I couldn't handle it, but it was very            6   A. Yes,sir.
          7     disturbing.                                                7   Q. Okay. Did you file a workers' compensation case
          8   Q. Is it true that it caused you some anxiety and            8      against the City of Oak Park?
          9     depression?                                                9   A. Workers'compensation? It would be — what do you
         10   A. No.                                                      10      apply for after you are terminated? Unemployment is
         11   Q. You didn't seek any treatment for that at that time?     11      whatI filed for.
         12   A. No.                                                      12   Q. Never workers' comp?
         13   Q- Did you talk to a counselor from the Qty of              13   A. No.
         14        Detroit ~                                              14   Q. Did the Qty of Oak Park contest your unemployment?
         15   A. No.                                                      15   A. No.
         16   Q. ~ for anxiety and depression that you were suffering     16   Q. The medical first responders test that I just showed
         17        as a result of working in the child abuse unit?        17      you, did you ever end up passing that test?
         18   A. No.                                                      18   A. They said that they lost our scores and then we had to
         19   Q. So you left Detroit after six-and-a-half years.          19      retake it
         20     roughly late 2002; is that correct?                       20   Q. And you failed that again, didn't you?
         21   A. Yes.                                                     21   A. I believe so.
         22   Q. Okay. And where did you go after you left Detroit?       22   Q. So you never passed it; correct?
         23   A. The City of Oak Park.                                    23   A. Well,they lost our original scores,so they didn't
         24   Q. Okay, And you were offered conditional employment        24      know if we had passed or not
         25     with the Oak Park Public Safety Department in December    25   Q. So the only record that the City of Oak Park has, the




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          1      one I showed you, is that you failed.                       1   Q. Okay. And you were given failing marks for
          2   A.  Right                                                      2        interpersonal communication; is that right?
          3   Q. Okay. The second tab I have Is a memo,and this              3   A. Yes.

          4     appears to be disciplinary action against you by the         4   Q. What did you understand that to mean?
          5        Oak Park Police Department. Do you recognize this         5   A.   That I wasn't communtcadng very well.
          6        document?                                                 6   Q- Okay. And why did you not communicate well?
          7   A.    Yes,I do.                                                7   A. I was advised that when you're on probation, that you

          8   Q- Okay. And, In fact, you did receive discipline on           8        should be quiet, and I was advised thatjust because
          9      December 5th, 2003; Is that correct?                        9        you come from another department and had experience.
         10   A. Yes.                                                       10        you have to, basically, humble yourself and allow them
         11   Q. And that was for failure to properly report private        11        to reteach you their way because every department does
         12      property?                                                  12        things differently, so I was doing as I was told.
         13   A. Yes.                                                       13   Q. Okay. But even when Lieutenant Pousak spoke to you.
         14   Q. Motor - motor vehicle accident?                            14        you refused to even look him in the eye; isn't that
         15   A. Yes.                                                       15        true?
         16   Q. Okay. The final paragraph - we won't go through the        16   A. Yes.

         17        entire thing. The final paragraph says.                  17   Q. So how do you explain that? Was it just belligerence
         18        "Officer Howlett stated that she then placed the         18        on your part or you didn't iike Lieutenant Pousak?
         19        damage on her log sheet and was going to report it to    19        What ~ what was it that made you do that?
         20        this officer or Sergeant Bernard. Officer Howlett        20   A.   He didn't like me,I feK; and,so,I didn't know how
         21        stated that she did not report the Inddent               21        to be on probation and also stand up for myself.
         22        Immediately because she was scared, espedally after      22   Q.    You've seen some of the FTO comments that were made

         23        hearing at role call that Officer Knapp had been         23        and evaluations that were made of you in Oak Park;
         24        terminated. Officer Howlett stated that she and          24        correct?

         25        Sergeant Bernard were scheduled for an exam at 45B       25   A. Yes.




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          1        District Court on 12-4-03 at 9:00 and she was going to    1   Q. You had deficiencies that were noted In safe work
          2        mention it then, but Sergeant Bernard was" in ~ "was      2      practices; is that right?
          3        not there.                                                3   A. Maybe one.

          4                Officer Howlett stated that she came In           4   Q- Okay. You refused to sign the evaluation; correct?
          5        early to speak with this officer and Sergeant Bernard,    5   A. Yes.
          6        but Sergeant Bemard was scheduled off and this            6   Q. Why did you refuse to sign it?
          7        officer was not available. This officer's                 7   A. Because I was being attacked personally.
          8        recommendation regarding the above private property       8   Q. By whom?
          9        MVC Is ttiat Officer Howlett receives disdpilne.          9   A. Pousak.
         10        Respectfully submitted. Lieutenant Cooper."              10   Q. And why do you think Lieutenant Pousak was attacking
         11                Do you see that?                                 11      you personally?
         12   A. Yes, sir.                                                  12   A. Because there was so many things that didn't even
         13   Q. Would you agree that you failed to be honest with the      13        pertain to my job as a police officer, like going to
         14     Oty of Oak Park Police Department regarding this            14     make lunch runs or staying on patrol too long, and
         15        inddent?                                                 15     that shouldn't be a negative, it should be a positive.
         16   A.   I didn't give fuli disclosure.                           16   Q. Why do you believe Lieutenant Pousak would have
         17   Q. Right. Because you said you were scared; is that           17     singled you out or had some axe to grind against you?
         18     light?                                                      18   A. I have no idea.
         19   A. Yes.                                                       19   Q. Ms. Howlett, do you have a bit of a complex ~ a
         20   Q. Okay. The next tab I have is from October 2, 2003.         20      martyr complex where you believe that everybody Is
         21     It would be where the next paperdip Is. This is a           21        after you wherever you go?
         22        memo to Major Smith from Lieutenant Pousak, October 2,   22   A.    Absolutely not
         23        2003. This Is Officer Howletfs performance review.       23   Q. But hasnt that happened at every department you've
         24        Have you seen this before?                               24         been at?
         25   A. Yes.                                                       25   A. No.




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          1   Q. Didn't you tell Oak Park Police Department, I left         1   A. Yes.
          2        Detroit because of how I was treated?                    2   Q. Who did you meet with after Lieutenant Randall, If you
          3   A. No.                                                        3        know?
          A   Q. And Oak Park, you are saying the lieutenant had It out     4   A.    My background was done by Lieutenant Galtasso.
          5        for you, and Warren, you're saying people had it out     5   Q. Okay. And Lieutenant Gallasso felt that you were a
          6        for you. Do you think maybe thafs something more         6        qualified enough candidate to work for the Gty of
          7        psychological than fact?                                 7        Warren; is that right?
          8   A. No.                                                        8   A. Yes.

          9   Q. Okay. You ultimately did not pass probation in the         9   Q. And Lieutenant Gallasso is white; correct?
         10      Gty of Oak Park Police Department; correct?               10   A. Yes.
         11   A. Correct                                                   11   Q. Okay. And then after Lieutenant Gallasso, who did you
         12   Q. You never became a full-fledged police officer in         12         meet with?
         13     Oak Park; correct?                                         13   A.    I had to go to school up In KIrkland to get my
         14   A. Correct                                                   14        recertlflcation.
         15   Q. So let's fast-forward to your employment with the Qty     15   Q. Right. And why did you have to get recertified?
         16     of Warren P.D., which is the reason we're here. When       16   A. Because after you haven't been a police officer for a
         17        did you first become empioyed with the Gty of Warren    17        certain amount of years, you lose your certification.
         18        Police Department?                                      18     You have to get recertified.
         19   A.   It would have been August of 2006.                      19   Q. Okay. So that brings me to another question. You
         20   Q. How did you becxime aware of a job opening at the Gty     20        left Oak Park in '03; is that right?
         21        of Warren P.D.?                                         21   A. Yes.

         22   A.   I used to read articies in the paper and also look on   22   Q. But you didn't start with the Gty of Warren until
         23     the Internetfor job postings for a police department       23     later in 2006; correct?
         24   Q. Okay. So once you read about an opening, did you          24   A. Yes.
         25     submit an application?                                     25   Q- So what did you do with that three-and-a-half-year


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          1   A. Yes.                                                       1        gap? What did you do with your time?
          2   Q. And you were called in for an interview; is that           2   A.    Worked multiple jobs.
          3     right?                                                      3   Q. Whatjobs did you work?
          4   A. Yes.                                                       4   A. General Motors would have been one, Detroit Medical

          5   Q. And who called you for an Interview?                       5        Center, and then I worked security for ~ rm trying
          6   A. I think it was Randall. He passed away.                    6        to think of this Federal Court building down here ~ I
          7   Q. Would Randall be a last name or first time?                7        think It was called Knight Security — and also Armor
          8   A. Last name.                                                 8        Guard Truck,trucking company.
          9   Q. Would he be a lieutenant, or...                            9   Q. Okay. Did you work the jobs simultaneously or did you
         10   A. I think it was Thomas Randall.                            10     work one, leave; work one, leave; work one, leave;
         11   Q. Okay. Was he a commanding officer, as you understand      11        work one, leave?
         12        it?                                                     12   A.   Some of them overlapped, yes.
         13   A. Yes.                                                      13   Q. Okay. Where did you work for General Motors?
         14   Q- Okay. And was Lieutenant Randall white?                   14   A.   The plant on Van Dyke In Flint, Michigan.
         15   A. Yes.                                                      15   Q. What did you do there?
         16   Q. Okay. And he indicated that the interview went well;      16   A.    Assembly.
         17     is that right?                                             17   Q. Do you recall from when to when you worked there?
         18   A. Yes.                                                      18   A. No,sir.
         19   Q. And he sent you for a second interview. Is that           19   Q. Okay. Do you recall approximately how long you worked
         20        accurate?                                               20        there?
         21   A. There were quite a few different steps —                  21   A. Four months.
         22   Q. Right ~                                                   22   Q- Four months. Why did you leave?
         23   A. — I had to go through, yes.                               23   A. Because I was also working at DMC,and In order to
         24   Q. -- there were. But at each step, you met with             24        drive the hour between cities and work an eight-hour
         25     different individuals; correct?                            25        shift and then a ten-hour shift, it was just a bit




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                                                               Page 45                                                           Page 47
          1        much.                                                    1   A.   I dont know what — what year.
          2   Q- Okay. And what did you do for DMC?                         2   Q- Were you offered a position as a deputy?
          3   A. Security.                                                  3   A. Yes.
          4   Q. How long did you work for them?                            4   Q. And why didn't you take it?
          5   A. Two years,I believe.                                       5   A.   Because the pay wasn't much differentfrom Detroit.
          6   Q. Were you at any one particular location?                   6   Q. Do you remember vdno you interviewed with at the Wayne
          7   A. It would have been Harper Hospital.                        7        County Sheriffs Department?
          8   Q. And why did you leave DMC?                                 8   A. No.

          9   A. Let me see. DMC,for the job at Warren.                     9   Q. And you dont know exactly when you were offered that
         10   Q. Okay. How long did you work for Knight Security at        10        job?
         11        Federal Court?                                          11   A. No.
         12   A.   That also would have been,like, a sbc- to eight-month   12   Q. Was it just before you applied to Warren?
         13        period, ifI recall.                                     13   A.   I applied for a lot of different departments all at
         14   Q. Why did you ieave there?                                  14        the same time, and so that department,along with
         15   A. I was working thatjob simultaneously with the other       15        Madison Heights, would have all been within the time I
         16        security job,and,so, again. It just became too many     16        was working all those part-time jobs.
         17        hours. I was at, like,90 hours a week.                  17
                                                                                Q. Okay. So, Madison Heights, were you offered a job
         18   Q. Who was your supervisor at Knight Security?               18        there?
         19   A. I don't remember.                                         19   A. Yes.
         20   Q. Knight is K-n-i-g-h-t?                                    20   Q. And do you happen to know approximately when?
         21   A. Yeah.                                                     21   A. No.

         22   Q. Are they based out of Detroit?                            22   Q. Okay. Offered a job as a police officer?
         23   A. Yes.                                                      23   A. Yes.

         24   Q. Do you know who owns them?                                24   Q. And why did you not take it?
         25   A. No, but they were working ~ it's the McNamara             25   A. About $3,000 difference between Detroit and their




                                                               Page 46                                                           Page 48
          1     Building, is the name of the building.                      1     department, also.
          2   Q. Right.                                                     2   Q. So money was more the deciding factor than anything
          3   A. Yeah.                                                      3     else in your desire to act as a police officer in a
          4   Q. Do you remember who your supervisor was at DMC?            4         city, is that fair to say? That money was the
          5   A. DMC, no.                                                   5         motivating factor?
         ■6   Q. The armored car company, what company was that?            6   A.    Benefits and pension, yes.
          1   A.     Guardian.                                              7   Q. Are the pensions better or the same with Wayne County
          8   Q.     Guardian. And Guardian is based out of where?          8      SherifPs Department and Madison Heights as compared
          9   A.     Hamtramck.                                             9         to Detroit?
         10   Q.     Who was your supervisor with Guardian?                10   A.    Almost equivalent.
         11   A.     I don't know.                                         11   Q.     Do you know, off the top of your head, what the
         12   Q.  Do you know how long you worked there?                   12         pension scale is in Detroit?
         13   A. About a year.                                             13   A.    No.
         14   Q. During that three-and-a-half-year time frame that         14   Q.    Is it similar to Warren?
         15      we're talking about when you worked those jobs, were      15   A.    Less.
         16      you applying to other munidpal police departments?        16   Q.     Did you apply to any other police departments during
         17   A.    Yes.                                                   17        that time frame, that three-and-a-half-year time
         18   Q.     Can you give me some of the police departments that   18        frame?
         19         you recall applying to?                                19   A.    It would have been Bloomfield.
         20   A.     The sheriffs department for Detroit.                  20   Q. Bloomfield Township or West Bloomfield?
         21   Q. Wayne County?                                             21   A. I believe the Township.
         22   A.    Yes.                                                   22   Q. Okay. Did Bloomfield Township offer you a job?
         23   Q.     Did you get an interview with Wayne County Sheriff?   23   A.    No.
         24   A. I was offered the position.                               24   Q.    Any other ~
         25   Q. And when were you offered the position?                   25   A.    I think I applied out in ~ not Wixom, but it would




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          1        have been — it will come to me in a second. There's       1        College."
          2        one other place that I applied. I cant think of it        2                And you Indicated you did complete that
          3   Q- Okay. If you happen to think of It along the way,           3        recertification at Kirkland; correct?
          A        just let me know.                                         4   A. Yes.
          5                So we'll again fast-forward to your               5   Q. Okay. The second page is a personnel order, Qty of
          6        employment with Warren. Did either Lieutenant Randall     6        Warren Police Department. It says, "Subject:
          7        or Lieutenant Galtasso ask you why there was a            7        Promotions." It's dated August 10th, 2006 - strike
          e        three-and-a-half-year gap between your having acted as    8        that.
          c
                   a police officer?                                         9                Dated August 23rd. It says,"The following
         10   A. Yes.                                                       10        promotion is effective as indicated and provisional
         11   Q. And you were able to explain It sufficiently enough        11        dependent upon satislactorY performance of below-named
         12        that they passed you along In the Interview process?     12        personnel during the probation period and Police
         13   A. Yes.                                                       13        Officer Candidate Oesheila Howlett promoted to police
         lA   Q- After Lieutenant Gallasso, who did you meet with?          14        officer." And Ifs signed by Police Commissioner
         15   A.   After I came back from that certification school,they    15        James Vohs. Do you see that?
         16        put us in a"like a one-week tutorial kind of thing       16   A. Yes.

         17        to get acclimated with Warren's process, and then we     17   Q- Did you meet witti Police Commissioner Vohs?
         18        started our FTO program,                                 18   A. I don't recall.
         19   Q- Did you meet with the current or then police chief or      19   Q. But you at least recall receiving this letter?
         20        police commissioner?                                     20   A.   Yes, sir.
         21   A. I dont recall.                                             21   Q. Okay. Commissioner Vohs was white; is that right?
         22   Q. You were offered a job as a police officer at some         22   A. Yes.
         23      point; correct?                                            23   Q. How long was your probationary period?
         24   A. Yes.                                                       24   A. One year.
         25   Q- And did you meet with either the commissioner or           25   Q. And you were in the FTO program during the entirety of


                                                                 Page 50                                                             Page 52
          1        deputy commissioner at that time when they extended       1        the probation; is that right?
          2        the offer of employment?                                  2   A.    No.
          3   A. I don't recall.                                             3   Q. For how long during the probationary period were you
          4   Q- Do you recall what commanding officer said to you,          4      in the FTO program?
          5        Deshella, we're happy to offer you this job as a          5   A.  It's generally four months.
          6        police officer?                                           6   Q. Okay. You were the only black police officer at the
          7   A. No.                                                         7      Oty of Warren Police Department when you were
          8   Q- You remember meeting with someone, though, other than       8      appointed; is that correct?
          9        Randall and Gallasso?                                     9   A. Yes, sir.
         10   A.    Probably so, yes.                                       10   Q. You were proud of that fact; is that right?
         11   Q. I'm going to hand you what I'm going to mark as            11   A. Yes, sir.
         12      Exhibit 2. This is your personnel file from the Oty        12   Q- You indicated that to a number of people at ttie Qty
         13        of Warren.                                               13        of Warren Police Department; correct?
         14                MR. ACHO: Here's one for you, Counsel.           14   A. Yes.
         15                MR. MUNGO: Thank you.                            15   Q- And, in fact, these individuals at the City of Warren
         16                MARKED FOR IDENTIFICATION:                       16        told you they were proud to have you; right?
         17                DEPOSITION EXHIBFT 2                             17   A. Yes.
         18                11:00 a.m.                                       18   Q.    Yes?
         19   BY MR. ACHO:                                                  19   A. Some, yes.
         20   Q- So you were extended - if we look at the first page.       20   Q- Okay. Well, specifically, the people that hired you.
         21        dated August 3, 2006, second paragraph Indicates that    21   A. Yes.
         22        you will begin work as a police officer candidate fOT    22   Q- Okay. Lefs look at the FTO program. The third page
         23        the City of Warren on Thursday, August 10th. And it      23      says it's called the "limbo phase." Have you heard
         24        goes on to say that, "provided you complete              24        that term before?
         25        recertificabon training at Kiddand Community             25   A. Yes.




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                                                                   Page 53                                                            Page 55
          1   Q-  What does Limbo mean, as you understand ft?                 1
                                                                                  A.    Probably.
          2       You're kind of fluctuating.                                 2
              A.                                                                  Q. And you indicated earlier that you would joke with
          3   Q- Fluctuating in what -- in what regard? I don't --            3      each other; right'
          <   A. You're a police candidate and you're not a police            4   A.    About certain things, yes.
          5     officer yet, so you're being reviewed and graded.             5   Q. So why, eight years later, is this in your lawsuit?
          6   Q. Got it. You're continually being evaluated throughout        6   A.    Because it's an accumulation of all the things.
          7      the process.                                                 7
                                                                                  Q- Okay. The KKK piece is something your attorney wrote;
          8   A.    Yes.                                                      e      is that right? That's not something Taylor said.
          9   Q- Okay. In August 2006, your first FTC training officer        9   A.    No, that's just how I understood It, what I understood
         10         was Scott Taylor; is that right?                         10        It to mean.

         11   A. Yes.                                                        11   Q. Well, correct me if I'm wrong, when I hear hood, I
         12   Q. You passed the FTO step under Scott Taylor; is that         12        don't think clan, I think Inner dty. What do you
         13      right?                                                      13        think of when you hear hood?
         14   A. Yes.                                                        14   A.   In the context that he said it, KKK.
         15   Q- That would have been approximately when,                    15   Q. How did you know that?
         16      September 20th of 2006?                                     16   A.   If a white person is talking to a black person and
         17   A.    It's generally a month, yes —                            17        they're saying, yeah, you're getting complaints from
         18   Q- Right.                                                      18        other black people, and by the time you get up to five
         19   A. -- like 30 days each.                                       19        complaints, we'll •• we'll nominate you an official
         20   Q. Got it. Did you used to joke around with Scott              20        hood award,then It's not hoodie or ghetto hood.
         21        Taylor?                                                   21   Q- Okay. So did you say to him, hey, Scott, that comment
         22   A. We had a relaxed environment.                               22        bothers me?

         23   Q. So he would joke, you would joke, sort of play off          23   A.    No.

         24        each other?                                               24   Q- Did you tell him that you were offended in any way?
         25   A. Yes.                                                        25        You didn't, did you?



                                                                   Page 54                                                            Page 56
          1   Q- I'm going to come back to this document, but I want to       1   A.    No.

          2      hand you what I'm marking as Exhibit 3. This is your         2   Q. Why not?
          3        Rrst Amended Complaint.                                    3   A.    Again, you're on probation at another department and
          4                MARKED FOR IDEmTRCATlON:                           4        you just really don't complain or can't complain.
          5                DEPOSITION EXHIBIT 3                               5   Q. Is It your understanding that If there is something
          6                11:03 a.m.                                         6      unlawful or that runs afoul of policy, that you are
          7   BY MR. ACHO:                                                    7        somehow precluded from complaining simply because
          8   Q. Now, one of your allegations -- and I'd like to look         8        you're on probation?
          9     at - most of them are under 13,1 believe. Page 10,            9   A.    Policing, It's different from any other job, any other
         10        if we look at subsection (s), your allegabon in your      10        atmosphere, and,so, if you make complaints or tell on
         11        Complaint against Scott Taylor is, "Defendant Sergeant    11        people, It just doesn't fare well.
         12        Scott Taylor, another one of plaintiffs field             12   Q- Okay. So you would agree, you did not make any type
         13        training officers, told plaintiff that she would be       13        of complaint about Scott Taylor's alleged comment to
         14        nominated for a 'hood'(KKK award) after plaintiff, a      14        you to anyone; correct?
         15        female African-American, received five citizen            15   A.   Right.
         16        complaints from African-American citizens."               16   Q. All right. You didn't go to human resources and
         17                Do you see that?                                  17      complain?
         18   A. Yes.                                                        IB   A.    No.
         19   Q- Can you tell me exactly what happened with this             19   Q. You knew, at the time, where HR was; correct?
         20      conversation? Because you indicated that you two used       20   A. Yes.
         21        to joke with each other. So tell me your recollecbon      21   Q- Because you had previously been introduced ti)them
         22        of how this conversabon went down.                        22        when you were hired.
         23   A.   That if five black citizens complained against me,I       23   A. Yes.
         24        would basically be nominated into the club.               24   Q- You didn't say anything to Scott Taylor's supervisor.
         25   Q. Okay. Was he joking with you?                               25      did you?




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                                                                      Page 57                                                                Page 59
          1   A.    No.                                                          1   A. No.
          2   Q. So after you completed your FTO training program,               2   Q- But if I told you he did, you have no reason to - or
          3        Isn't it true that Scott Taylor came to your home and         3        basis to dispute that.
              >
          6        helped you change a tire?                                     4   A.    Right.
          5       z
              A. Yes.
                      p
                                                                                 5   Q. Who else was your FTO trainer for phase 1 of the
          6   Q. And you asked him to come to your home; correct?                6     program?
          7   A. Yes.                                                            7   A.   I ended up with seven or eight different FTO trainers.
          e   Q. So If he was some racist Individual, do you think he            S        so I had Ross --
          9        would have come to your home to change your tire?             9   Q- Let's stop there. I'm not trying to cut you off, its
         10   A. I don't know.                                                  10        Just - we'll Just go piecemeal. So William Ross
         11   Q. Isn't It true that he doesn't belong in this lawsuit?          11        would have been the next FTO trainer?
         12   A. If there's ~ if I'm asked offensive things that were           12   A.   I don't know ttie spedfic order, but —
         13        stated to me over a span of time, then that would have       13   Q- Fair enough.
         14        been included In one of the things.                          14   A. — he's one of them,yes.
         15   Q. If you felt offended by somebody, or you felt, you             15   Q. Fair enough. I know you don't have instant recall.
         16        know what, this person just might not like black             16        Let's assume William Ross, on September 21, 2005, took
         17        people, why would you ask him to come to your home to        17        over as your FTO trainer. You would have no reason to
         18        help you with your car?                                      18        dispute that.
         19   A. In my time of working there, there are people who have         19   A. True.
         20        offended me, but I have to continuously move forward.        20   Q. Okay. And is Mr. Ross named in your Complaint?
         21        as they say, let go and let God,so thafs what I              21   A. Yes.
         22        continuously did. I continued to just move forward           22   Q. Okay. I'm going to look at the Complaint. Your
         23        with everyone.                                               23        allegation against Officer Ross was that he said.
         24   Q. Including asking him to come to your home to help you?         24        you'll pass because you're black; is that right?
         25   A. Yes.                                                           25   A. Yes.




                                                                      Page 58                                                                Page 60
          1   Q. Okay. Did you have any other contact with Scott                 1   Q. Okay. What prompted this - I'd like to know exactiy
          2     Taylor after the FTO program was concluded?                      2        what he said and In what context this was said, where
          3   A. Intermittently, yes.                                            3        you were at and how this came about.
          4   Q. Okay. And that back and forth was always pleasant;              4   A.   I recall one time we were, like. In the lobby of the
          5         correct?                                                     5        police department —
          6   A. Yes.                                                            6   Q. Okay.
          7   Q. You always had a good relationship with him?                    7   A. " and In passing he just let me know that, whether 1
          8   A. Yes.                                                            8        was good or bad,it didn't matter, they were going to
          9   Q. Do you have any other allegations against Scott Taylor          9        pass me through.
         10         other than this one isolated comment?                       10   Q. Because he knew that the City of Warren wanted a black
         11                                                                     11        police officer.
         12   Q. He never retaliated against you in any way, did he? I          12   A. Yes.
         13      mean, he passed you at least through his portion of            13   Q. Okay. And Ross is white?
         14     the FTO program.                                                14   A. Yes.

         15   A. Yes.                                                           15   Q- Okay. And did you have a good relationship with him?
         16   Q. Do you know if Scott Taylor has harassed anyone else?          16   A. Yes.

         17   A. 1 wouldn't know.                                               17   Q. Casual comments back and forth, casual conversation?
         18   Q. Okay. Do you know how long Scott Taylor has been an            18   A. Yes.

         19         FTO trainer?                                                19   Q. Okay. You got the feeling that Ross felt he could be
         20   A.    No.                                                         20     open with you, speak person to person?
         21   Q. Do you know how many Individuals he passed or did not          21   A. Yes.
         22         pass?                                                       22   Q- Okay. It's fair to say, when white people and black
         23   A. No.                                                            23        people have a reiabonship where they communicate,
         24   Q. Do you know that he has failed a number of people, but         24        that - strike that. I'm going to come back to that.
         25         he passed you through? You don't know that?                 25                So when Ross makes this comment to you, was




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          1      it in response to you saying, I don't ioiow if I'm          1   A. No.
          2      going to pass the FTO program? You had some concerns        2   Q. You didnt make a complaint to anyone at the time;
          3      about your performance?                                     3        correct?
          4   A. Well,I had one Instance with one FTO person,so out          4   A.    No.
          5      of the eight,I only had one problem with one.               5   Q. And you didn't go to HR?
          6   Q. But you brought it up to Ross, which prompted him to        6   A. No.
          1      say, don't worry about it, you're going to be aii           7   Q. Do you have other allegations against Officer Ross?
          e      right, they want a black officer here; is that fair?        8   A. Just that he let me know that after my first, second.
          9      A fair characterization?                                    9        third,fourth and fifth year, they all thought that I
         10   A. Yes.                                                       10        was going to sue.
         11   Q. Okay. So Ross wasn't saying it in a mean or                11   Q- They thought you were going to sue.
         12      belittling way, was he?                                    12   A. Yes.
         13   A. Well, it is belittling if it doesnt matter how you         13   Q- And, in fact, he was right. You did sue; right?
         14      do.                                                        14   A. Uh-huh.
         15   Q. Isn't it more a statement on progression, that the         15   Q. Yes?
         16      department wants an African-American officer there?        16   A. Yes.
         17   A. Even if they're not worthy of It?                          17   Q. So thafs not a complaint, thafs him being accurate;
         18   Q. Isn't that how Ross meant it? Isn't that how you took      18        right?
         19      it when he said it?                                        19   A.   Six years later, yes.
         20   A. I took it that it didn't matter If I was complete          20   Q. So he was off by a year.
         21     garbage or great,that I was going to pass either way.       21             MR. MUNGO: He's not a very good prophet.
         22   Q. I get that. I'm saying, when you took what Ross ~          22   BY MR. ACHO:
         23      his inflection, his tone, his comment to you, speaking     23   Q. By the way, Ross passed you at phase 1, step 1;
         24      to you as somebody he had this type of communication       24        correct?
         25      with, you didn't take it as him trying to belittle you     25   A. Yes.



                                                                  Page 62                                                         Page 64
          1       or demean you; right?                                      1   Q. Do you know if Ross has failed other candidates?
          2              MR. MUNGO: Objection, Counsel, that has             2   A. No.

          3       been asked and answered.                                   3   Q. Are you aware that he had failed a number of other
          4                 MR. ACHO: I'm sorry, I don't remember.           4        candidates in the FTO program, at least his portion.
          5   BY MR. ACHO:                                                   5        but he passed you?
          6   Q. So if you can just tell me again. You didnt take it         6   A.  You don't — you're not privy to other people's
          7      as though he was trying to belittle you; right?             7     scores, so you don't know.
          8   A. Belittle me? 1 just didn't think It was fair.               8   Q. Fair enough. So if I told you he had, in fact, failed
          9   Q. I understand that. And it might be and it might not         9     other individuals but passed you, you would have no
         10       be. I'm just talking about Ross's comment to you.         10      reason to dispute that?
         11       You didn't take it as he was coming at you from a bad     11   A. True.

         12       place or being mean to you or trying to demean you,       12   Q. Ail right. Did you have any other contact with
         13       did he?                                                   13     Officer Ross after the FTO training program?
         14   A. No.                                                        14   A.   We worked the same shifL I was on day shift for —
         15                 MR. MUNGO: Objection. Objection, asked          15        with him for a while.
         16       and answered.                                             16   Q. And you had a good relationship with him, didn't you?
         17   BY MR. ACHO:                                                  17   A. Yes.
         18   Q. All right. Did you say to him, hey, Ross, I don't          18   Q. No reason to complain about him; right?
         19       like that kind of talk, I don't like that comment?        19   A. No.

         20   A. No.                                                        20   Q. Treated you like any other fellow officer; right?
         21   Q. Did anyone witness this conversation?                      21   A. Yes.

         22   A. I don't recall.                                            22               MR. ACHO: Can we take a very short break?
         23   Q. Did you go to Ross's supervisor and say, hey, you          23        Maybe you could use a short break?
         24      know, Ross made an offhand comment that I dont care        24                 MR. MUNGO: What paragraph were you
         25       for?                                                      25        speaking from, the First Amended Complaint, Counsel,




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          1        regarding Ross?                                         1   A. Yes.
          2               MR. ACHO: I -1 don't know offhand,               2   Q. Okay. Exhibit 5 Is another general order from the
          3        but --                                                  3      City of Warren Police Department, and this is dated
          4                   MS. RAE-O'DONNELL: Paragraph 13.             4      February 28, 2014, and It is titled Rules of Conduct.
          5                   MR. MUNGO: 13?                               5      You received and reviewed this policy, as well;
          6                   MR. ACHO: Yeah, 13 is where the bulk of      6      correct?
          7        the daims are.                                          7   A. Yes.
          8                   MR. MUNGO: It was at 13 what? I should be    S   Q- These are the conduct standards and the code of ethics
          9        able to find it.                                        9      for the Oty of Warren Police Department; correct?
         10                 MS. RAE-O'DONNELL: (C).                       10   A. Yes.
         11                 MR. ACHO: (C), yep.                           11   Q. On page 5, it discusses conduct toward fellow
         12                 VIDEO TECHNICIAN; Off the record, 11:17.      12      employees, and It discusses, under subsection 4,
         13                 (Off the record at 11:17 a.m.)                13      accountability, responsibility and discipline. And It
         14                 (Back on the record at 11:40 a.m.)            14      states, under section 4, "that any complaints against
         15                 VIDEO TECHNICIAN: Back on the record.         15      any member of the department are to be reported to a
         16        11:40.                                                 16      supervisor"; correct?
         17   BY MR. ACHO:                                                17   A. Yes.
         16   Q- When we left off, I had asked you about William Ross     18   Q. All right. You signed for this order, as well; is
         19      and we discussed the comment and I asked you If you      19      that right?
         20      had complained to HR or anyone about Ross, and you       20   A. Yes.
         21      Indicated you had not; Is that correct?                  21   Q- All right. And if we look, going back to Exhibit 2,
         22   A. Yes.                                                     22      which is your personnel file on page 4, there is a
         23   Q. All right. You did sign acknowledging that you           23      page where you signed and Initialed for the receipt
         24      received training on departmental rules prohibiting      24      and review and training on numerous departmental
         25        discrimination and sexual harassment in the rules of   25      policies. Do you see that?


                                                            Page 66                                                           Page 68
          1        conduct and procedure; correct?                         1   A. Yes.
          2   A. Yes.                                                      2   Q. Okay.
          3                 MR. ACHO: Okay. I'm going to mark two          3                 MR. MUNGO: I'm sorry. Counsel, what page
          4        orders as Exhibits 4 and 5.                             4       was that?
          5
                            MARKED FOR IDENTIFICATION:                     5                 MR. ACHO: That was page 4 of the personnel
          6                 DEPOSITION EXHIBIT 4-5                         6      file.
          7                 11:40 a.m.                                     7                 MR. MUNGO: Of the personnel file. You
          8                 MR. MUNGO: Was the Complaint 3, Counsel?       B       havent marked that as an exhibit?
          9                 MR. ACHO: Good question. Yes.                  9                 MR. ACHO: I did.
         10   BY MR. ACHO:                                                10                 MR. MUNGO: Which one?
         11   Q- Exhibit 4 Is an Order dated January 10, 2003. It's a     11                 MR. ACHO: Exhibit!.
         12      City of Warren Police Department Order on                12                 MR. MUNGO: Exhibit 2. And that was
         13        Discrimination and Sexual Harassment and the           13       page 5, you said?
         14        Prohibition of same, do you see that?                  14              MR. ACHO: Page 4.
         15   A. Yes.                                                     15              MR. MUNGO: Did you see that?
         16   Q. And you received this as part of your training;          16                 THE WITNESS: Uh-huh.
         17        correct?                                               17   BY MR. ACHO:
         18   A.   Yes.                                                   18   Q- All right. So you were passed on from step 1 of the
         19   Q- You were advised that the City of Warren does not        19       FTO program to step 2; correct?
         20      tolerate or condone harassment of any sort or            20   A. Yes.
         21      discriminatory behavior of any sort; correct?            21   Q. And you passed step 2 of the FTO program with no
         22   A. Yes.                                                     22     Issue; is that corretJ?
         23   Q- You were advised that, as an employee, you had a         23   A. Yes.
         24      responsibility to report these matters to management's   24   Q. You're not making any allegations of dlsaimlnation at
         25        attention; correct?                                    25     the step 2 level of the FTO, are you?




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          1   A. No.                                                         1   A.    Yes.

          2   Q- All right. Who were your step 2 FTO trainers, do you        2   Q. And he's a darker-skinned individual; Is that right?
          3        remember?                                                 3   A.    Yes.
          4   A.    It would have been Springer.                             4   Q. His complexion would be more along the lines of some
          5   Q. And would Bonnet have been another?                         5        African-Americans as opposed to Arabs, would you say?
          6   A. Yes.                                                        6   A. Yes.

          7   Q. Okay. And Bonnet and Springer are both white;               7
                                                                                 Q. Other than the one comment that you allege he said
          8        correct?                                                  8        ttiat women shouldn't work, do you have any other
          9   A. Yes.                                                        9        complaints against Khan?
         10   Q- They indicated in their report that you had solid or       10   A.    He said that America was better off prior to 1940,
         11        good knowledge of the policies and procedures 3.02 and   11        1941, when all the men went off to war and then the
         12        3.01, the orders we just looked at. They Indicated       12        women started working jobs, and, basically, our
         13        that you had good knowledge of the policies; correct?    13        society declined due to the women entering the
         14   A. Yes.                                                       14        workforce, so now there's nobody to tend to the
         15   Q- And you asked questions for clarification when you         15        children.

         16        didn't understand; correct?                              16   Q- Where were you when he said that? Were you in a
         17   A. Yes.                                                       17        vehicle with him?
         18   Q- So you were then passed on to phase 3; is that right?      16   A. Yes.
         19   A. Yes.                                                       19   Q. Okay. Desaibe the rapport that you had with
         20   Q- All right. Now, your step 3 FTO trainer was /tfiwar        20        Officer Khan.
         21      Khan; correct?                                             21   A.    He wouldn't talk, and if he did talk, he would kind of
         22   A. Yes.                                                       22        yell. We went to an Arabic restaurant and I wasn't
         23   Q. And Uiat was roughly 11 years ago; is that right?          23        femiliar with the menu, and so I tried to order, like.
         24   A. Yes.                                                       24        a chicken soup, or something, and then he basically
         25   Q- Fair to say it was November of 2006?                       25        told me"he could tell that I didn't care for it, so



                                                                 Page 70                                                              Page 72
          1   A. Yes.                                                        1        then he told me that he would give me a passing grade
          2   Q- And you named Officer Khan as a defendant in your           2        if I said I liked the food.

          2        lawsuit; is that right?                                   3   Q. He would give you a passing grade in the FTO
          4   A. Yes.                                                        4     training -
          c
              Q. All right. What are your allegations against               5    A. Yes.

          6        Officer Khan?                                             6   Q. ~ if you said you liked the soup at the Arabic
          7   A.   It's more so about being a female police ofTicer. He      7        restaurant?
          8        doesn't feel that women should work, let alone be         8   A. Yes.

          9        police officers.                                          9   Q. All right. I don't recall reading that claim In your
         10   Q. Why do you say that?                                       10        Amended Complaint. Is there any particular reason
         11   A. Because he said it to me.                                  11        why?
         12   Q- Okay. Are you aware that his own wife works as a           12   A.   It just came to mind.
         13        nurse?                                                   13   Q. Okay. Is it fair to say that Officer Khan was joking
         14   A.    He told me that she had a degree in it, but that she    14      when he made that comment to you?
         15        didn't actually work the hours.                          15   A.   I have no Idea. He didn't joke.
         16   Q- Okay.                                                      16   Q. Did you honestly believe that he would pass you in the
         17   A.   She was a stay-at-home mom.                              17        FTO program if you said you liked the soup?
         18   Q. If I was to tell you that she has worked continuously      18   A.    Well, he said he would give me a passing grade for
         19        for the last ten years as a nurse at a hospital, would   19        that day.
         20        you have any reason to dispute that?                     20   Q- All right. Did you say you liked the soup?
         21   A.   Well, that's just not what he told me.                   21   A.    No.

         22   Q- Okay. Officer Khan, do you have any complaints about       22   Q- How come?
         23      him regarding race?                                        23   A. Because I didn't like it.

         24   A.   No.                                                      24   Q. So you will do things even If It doesnt mean
         25   Q-    Officer Khan is of Arabic descent?                      25        promotion if you think ifs the right thing to do;




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          1         right?                                                        1   Q- So he may have Intended to leave and go to law school
          2   A     Yes.                                                          2      anyway; right?
          3
              Q     Okay. But I asked you earlier why you didn't                  3   A.   I guess so.
          4        complain, and you said that that's not something that          4   Q. Have you spoken to him?
          5
                    you do in order to, sort of, protect your job.                5   A.    No.

          €   A.    Saying that you like a food that you don't like is a          6   Q. Okay. Give me some examples, though, where officers
          7        He, but complaining against other officers is a                7        complained about the treatment of them by fellow
          8        different type of offense --                                   8        officers where it didn't go well.
          9   Q     Okay.                                                         9   A.   Khan punched another officer In the head and command
         10   A.    — that suffers a different type of, you know...              10        had heard about it, and then they asked him if he
         11   Q. Even if it means not complying with orders that say             11        wanted to file a complaint, and the officer said no.
         12         you have to report complaints about other officers?          i:        because you can't The general rule is, you don't
         13   A.    It's just not done.                                          11        complain on one another. So even though the command
         14   Q. By you.                                                         14        knows about It they don't do anything unless you make
         15   A. By anyone, really.                                              15        an actual complaint against another officer.
         16   Q- So nobody - so it's your testimony that nobody                  16   Q. Who was the officer that you allege Officer Khan
         17      complains to HR or supervisors about conduct of other           17        punched?
         18        officers?                                                     IS   A.   Twardesky.
         19   A.    Hardly ever.                                                 19   Q- Do you know the first name of Officer Twardesky?
         20   Q- And what do you base that on'                                   20   A. 31m.

         21   A.    Different examples of seeing when a person did               21   Q. Okay. Is Officer Twardesky still in the department?
         22        complain,the things that happened to that person. It          22   A. He's a detective, yes.

         23        just doesn't fare very well. And the times that I've          23   Q. Do you know the type of relationship that Khan and
         24        complained, nothing better. If anything, it just              24     Twardesky had?
         25        makes everything worse.                                       25   A.   He was his FTO at one point



                                                                      Page 74                                                            Page 76
          1   Q- Okay. Well, give me some examples of officers who                1   Q      Do you know if they were friends or are friends?
          2        have complained to supervisors or HR about other               2   A     No,I'm not sure.
          3        officers' tiehavior and it didn't fare well for them.          3   Q      Okay. I have what I'll mark as Exhibit 6, your
          4   A. lohn Adams.                                                      4         Answers to Interrogatories.
          5   Q- Okay. Who's John Adams?                                          5                 MARKED FOR IDENTinCATION:
          6   A. He was a police officer witit ttte City of Warren.               6                 DEPOSITION EXHIBIT 6
          7
              Q. Okay. And is he sbil?                                            7                 11:52 a.m.
          B   A.    No.                                                           8   BY MR. ACHO:
          9   Q. Okay. Tei! me about what you know about                          9   Q     And without belaboring it and going through all of it,
         10        Officer Adams.                                                10         I ask ~ Ms. O'Donnell and I ask, on a number of
         11   A.    His issue or complaint was about officers being              11        occasions, to provide any type of written
         12        heavy-handed.                                                 12        documentation or any documentation supporting any of
         13   Q- Okay.                                                           13        your allegations, and your response was that you don't
         14   A. And he went Into command staff to report it, and then           14         possess any documentation; is that right?
         15        it got back to the people that he was complaining             15   A. Yes.
         16        about, and then they started calling him a P word and         16   Q- Is that because you didn't file any type of complaint?
         17        a snitch and nobody wanted to work with him.                  17   A.   The only complaints that I recall, I made one with
         18   Q- When was this?                                                  18        Mark SImlar regarding a dispatcher and the final
         19   A. I'm not exactly sure.                                           19        complaint with Barb Beyer.
         20
              Q- Was It around the time you were hired? Was It in the            20   Q. Okay. The Complaint that you made with Mark Simlar
         21      last couple of years?                                           21        regarding a dispatcher, who was that dispatcher?
         22   A.    He and I were hired on together, so it would have been       22   A. Dawn.
         23        quite a few years ago, because he left to go to law           23   Q.    Dawn?

         24        school and stuff like that, so I don't remember               24   A. McLane.

         25        exactly.                                                      25   Q. Okay. And when was this complaint to Mark Simlar?




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                                                                      Page 77                                                             Page 79
          1   A.    I believe 2010 or'11,somewhere In there.                     1        correct?

          2   Q- All right. Now, Mr. Simlar is present here today;               2   A.   In the fact that you're not given the proper
          3        correct?                                                      3        Information and that It shows tiiat when I did complain
          4   A.    Yes.                                                         4        nothing happened, so...
          5   Q. What Is his position, If you know?                              5   Q. How do you know nothing happened?
          6   A.    Human resources department.                                  6   A.    Because they usually type it up on a memo and they put
          7   Q- And you believed he was the Individual to complain to?          7        It In an email to everyone of discipline that's been
          8   A.    Well,they had me meet with him,so...                         e        given.
          9   Q- Who's "they"? Let -- I'll tell you what. Lefs                   9   Q- So other officers that have been disciplined, that
         10        back - backtrack a little bit. Tell me about the             iO        memo is disseminated to everybody in the department?
         11        Incident with Dawn McLane and then take me from there.       11   A. Yes.

         12   A.   I was sent to a man with a gun run, and there was no         12   Q- Can you give some examples of officers that have been
         13        information given, no description of the person, no          13      disciplined where It was disseminated to everybody?
         14        vehicle, no Information regarding the gun, no color of       14   A.   If people get days off or get suspended or something
         15        clothing, and I was in very close proximity to where         15        like that, they'll put an email out.
         16        that run was,so the odds of me getting there first           16   Q. For officers?
         17        were very great. So I waited for her to give more            17   A.   Yes.

         18        Information, and at the point that no more information       10   Q- Can you give some examples?
         19        came through, I went on the air and asked for further        19   A.   So many.
         20        Information, if there was any, and she was just very         20   Q. There's "so many" because Warren takes a lot of
         21        belligerent and never give me any further Information.       21      disciplinary acCon against officers?
         22        So after X finished the run, I came Into the station         22   A. From time to time.

         23        and I decided to make a complaint.                           23   Q. If things are reported, they'll take action; right?
         24   Q- Okay. And what was your complaint, that officer —              24   A. From time to time. It depends on who It Is.

         25     that Dispatcher McLane was difficult or didn't provide          25   Q. Do you think they're selective?



                                                                      Page 78                                                             Page 80
          1        more Information?                                             1   A. Yes.

          2   A.    On a serious run, yes.                                       2   Q- And what is the selectivity based on?
          3   Q- Okay. Since you are familiar with the police culture.           3   A.    If you are on special teams,special assignments, like
          4        would you agree with me that sometimes things get             4        the special response team,things like that. If
          5        heated between dispatchers and officers?                      5        you're In different units, the rules don't apply to
          6   A. Sure.                                                           6        everyone the same.
          7   Q. Dispatchers have a highly, highly stressful job?                7   Q. Were you ever on any special units?
          a   A. Yes.                                                            8   A.    No.
          9   Q. Especially in a city the size of Warren.                        9   Q- Okay. Getting back to Dawn McLane, you don't know ffir
         10   A. Yes.                                                           10        certain tiiat she did or did not receive any
         11   Q. Okay. What did Mr. Simlar do with the complaint                11        disciplinary action; correct?
         12        regarding Ms. McLane?                                        12   A. No.
         13   A. I have no Idea.                                                13   Q. Also, when I asked you about how do you know when
         14   Q. Okay. Who was It that told you to meet with                    14        officers were disciplined, you said, when police
         15      Mr. Simlar? Who did you complain to Initially?                 15        officers received discipline, there's usually a memo
         16   A. It would have been whoever was in the office at that           16        and it goes out to the department. But Dawn McLane Is
         17        time, but I don't --1 don't remember.                        17        not a police officer; correct?
         IB   Q. All right. But you didn't have any reason to believe           18   A. Correct.
         19        that Ms. McLane withheld Information from you because        19                 THE WITNESS; There It goes.
         20        of your race or your gender, did you?                        20                   MR. MUNGO: That's okay. That's okay. No
         21   A.    No.                                                         21        problem, no problem, no problem. No biggie. No
         22   Q- Okay. It was just butting heads, a personality                 22        problem. Got it. We got it. No, no, no,I got it. I
         23      conflict with another employee; right?                         23        got it. I got It. Ifs okay.
         24   A. Yes.                                                           24                   MR. ACHO: All right. No biggie because
         25   Q- I mean. It's nothing that gives rise to your lawsuit;          25        your copies are good, so we've got them in.




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          1              MR. MUNGO: Thank you, sir. No problem.              1        Information needed for prosecution?
          2      All right. Ifs nothing but water.                           2   A. Yes.

          3              MR. ACHO: Are we still on the record?               3   Q. Do you recall that he was critical that you completety
          4      Okay.                                                       4     failed to process an OWI report, did not Include
          5   BY MR. ACHO:                                                   5        DataMaster or sobriety task information?
          6   Q. So regarding Dawn McLane, isn't It true that you went       6   A. Yes.
          1      up to the jail and you saw Mr. SImlar and you told          1
                                                                                 Q. You would agree those are key pieces of evidence for
          8      him, regarding Dawn McLane and discipline, when             8      prosecution; correct?
          9      Mr. SImlar asked you, what would you like us to do.         9   A. Yes.

         10      you said, you guys do whatever you want? Do you            10   Q- Khan had to do the report for you, didn't he?
         11      recall that conversadon?                                   il   A. Yes.
         12   A. Probably, because I would either say that or, don't do     12   Q- And Khan was also critical of your safety procedures,
         13      anything.                                                  13        the fact that you put yourself In danger; correct?
         14   Q. Okay. So let's go back to Officer Khan. If you can         14   A. Yes.

         15      look at this packet. Exhibit ~ you have It,                15   Q. Khan Indicated that you walked Into a home where a man
         16      Exhibit 2. That should be It. Nope. It should be in        16        removed a semiautomatic weapon and pointed It and you
         17      here. If you turn those over. It should t>e In there.      17        did not pull out your weapon and he had to take over.
         18      There you go. No, this Is It. If we look at Officer        18        do you recall that?
         19      Khan's evaluation of you during the FTO program --         19   A.   I undipped my holster, but I did not draw my weapon.
         20              MR. MUNGO: Which one is that. Counsel?             20   Q. Okay. And Khan was critical of you for It; correct?
         21              MR. ACHO: Exhibit 2,1 beiieve.                     21   A. Yes.

         22   BY MR. ACHO:                                                  22   Q. You would agree that failing to take care of that
         23   Q. "you would agree that OfTicer Khan is extremely            23     situation put both you and Khan's lives In danger;
         24      critical of your performance; correct?                     24        correct?
         25   A. Yes.                                                       25   A.    Negative. The man's son was present at the time and I


                                                                  Page 82                                                             Page 84
          1                THE wriTJESS: I don't know what page he's         1        did not feel that he was trying to shoot or harm us.
          2       on.                                                        2        He was just letting us know that he had a weapon and
          3   BY MR. ACHO:                                                   3        he was presenting it to us in a safe way.
          4   Q. For instance, there was an Instance where an                4   Q- Okay. Officer Khan noted that you had difficulty
          5       individual received an OWI and you felled to read him      5      using LBN and SOS; correct?
          6       his rights before the PPB was administered. Do you         6   A. Yes.
          7       remember that?                                             7   Q. That you were not comfortable with it; correct?
          8   A. No.                                                         6   A.    Yes.
          9   Q. You don't remember that happening?                          9   Q. At some points, Officer Khan noted when your
         10   A. Not offhand, no.                                           10        performance Improved, did he not?
         11   Q. But if he said it happened, you would have no reason       11   A.   I think rarely, but yes.
         12       to deny It, would you?                                    12   Q. So that would indicate that he was trying to be fair
         13   A. No, sir. What page are you on?                             13      with you; correct?
         14   Q. I'm just going through - I made notes regarding the        14   A.    No.
         15       documentation.                                            15   Q- If he was deliberately unfair, why would toere be
         16   A. Okay.                                                      16        certain days where he would Indicate, Desheila's
         17   Q. But I was asking if you recall that Incident --            17        performance Improved?
         18   A. No.                                                        18   A.    Well, if you do a hundred negative things and then
         19   Q. -- and him being critfcai of you for it.                   19        throw in two good things, it doesn't really weigh
         20   A. I recall him being critical overall, yes.                  20        itself out.
         21   Q, Do you recall him being critical of the fact that you      21   Q. Is it fair to say that Khan Is known as a pretty stern
         22      would draw up crash diagrams Incorrectfy?                  22        taskmaster?
         23   A. Yes.                                                       23   A.   When It comes to female officers, yes.
         24   Q. Do you recall him being critical that when you would       24   Q. Isn't It true that he's failed a number of male
         25     draw up a crash diagram, you would leave out pertinent      25        officers In FTO?




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          1    A. And also passed some for things that would be               1        you to puii your vehicle off the roadway and you had
          2      considered, you know —                                       2        not?
          3    Q. That's not my question. My question is, isn't it true       3   A. No.
          A         that he has failed a number of male officers in the       4   Q- Do you recall him telling you h)run the passengers of
          5       FTO program?                                                5        the vehicle through LEIN and you failed to do so?
          6              MR. MUNGO: If you know.                              6   A. No.
          7    A. I only know about the female officers.                      7   Q. Was he critical of your directional skills? I'm not
          8    BY MR. ACHO:                                                   8        referring to mapping, I'm talking about directional
          9    Q. How is it you only know about the female?                   9        skills.

         10    A. Because we would all share a locker room.                  10   A. Yes.

         11    Q. So you never heard that he failed male candidates in       11   Q. He indicated that you - strike that.
         12         FTO?                                                     12            He indicated that he was alarmed that you
         13    A. No.                                                        13        did not have a basic sense of direcbon as an officer.
         14    Q. If I told you that he had failed many male candidates      14   A.    It's called cross-triangulation, I was having problems
         15       In FTO, you would have no reason to dispute diat,          15        with.

         16       would you?                                                 16   Q. Okay. And he noted those concerns: correct?
         17    A. No.                                                        17   A. Yes.

         18    Q, Could it be just that Khan is a very stern and             18   Q- He also noted concerns that you had with orientabon
         19       demanding FTO officer?                                     19      and geography of the city; correct?
         20    A. I believe it's a little more than that, though.            20   A.    Which is the same thing, yes.
         21    Q. All right. Do you recall that Khan was cribcal when        21   Q- All right. As a result of these deficiencies, you
         22       he was explaining the civil eviction process to you,       22        were given a performance improvement plan; correct?
         23       he wrote that you turned your head, you did not want       23   A. Yes.

         24      to hear what he had to say?                                 24   Q- All right. And the performance Improvement plan was
         25    A. No,I don't recall that.                                    25        to be for no more than 15 days; correct?


                                                                  Page 86                                                             Page 88
          1   Q. Do you recall him indicating on muitipie occasions           1   A. Yes.

         2         that you had difficuity in accepting constructive          2
                                                                                  Q- Who put you on the performance improvement plan?
          3        criticism?                                                 3   A.    Whoever was in charge of that back then. I believe It
          4   A. Sure.                                                        4        was Aherns was over the FTO program.
          5   Q. Okay. Do you recaii not calling out iocabon when             5   Q- And how do you spell Aherns?
          6        doing a pat down of a citizen?                             6   A. A-h-e-r-n-s, Aherns.

          7   A.    No.                                                       7   Q- You had no reason to dispute the PIP, did you?
          8   Q. Do you recall him being critical of you for that?            e   A.   I thought it was personal, but 1 went along with it
          9   A. No.                                                          9   Q. You recognized that there were, in fact, numerous
         10   Q. Officer Khan noted multiple times thafs still, toward       10     areas where you were deficient and needed Improvement;
         11        the end of the FTO phase, you were not calling out        11        correct?

         12        every run, do you recall that?                            12   A. Yes.

         13   A. No.                                                         13   Q. Other than the comment regarding women not being
         14   Q. Do you recall going to the wrong address on muitipie        14        able -- strike that.
         15        occasions?                                                15                  Other than the comment where you allege
         16   A. My mapping was the hardest thing for me,learning a          16        Khan said women shouldn't work, or words to that
         17        large city like that,so yes.                              i7        effect, do you have other daims against Officer Khan?
         18   Q. And he was aitical of you for Wiat; correct?                19   A.    He failed Krystal -- her name was Gogo at bie time.
         19   A. Yes.                                                        19        but now It's Krystal Gill — In the third phase, and
         20   Q. Do you think Ifs fair that an FTO officer should            20        then he also failed Makowski, Shannon Makowski [ph].
         21        expect a candidate to know the boundaries and             21        in the third phase. And Matt Nichols purposely told
         22        territories and the mapping of the city?                  22        Khan to take Makowski in the third phase, projecting
         23   A. Yes.                                                        23        that he would fall her, because they had a personal
         24   Q. Do you remember a traffic safety stop of a vehicle          24        conflict
         25        with a broken headlight where Officer Khan had warned     25   Q- How do you know that?




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          1   A.    Matt told me.                                            1        referred to Officer Khan as a sand nigger in front of
          2   Q.    And who is Matt Nichols?                                 2       other officers.
          3   A.    Right now, he's the deputy chief.                        3                 MR. MUNGO; Objection, asked and answered.
          i   Q. And how is it Matt Nichols would have the occa^n to         4    BY MR. ACHO:
          5        make such a comment to you?                               5    Q. You did, didn't you?
          6   A.    We were having a conversation and he let me know that    6                 MR. ACHO; She didn't answer it.
          7        Shannon gave him a ticket when she worked at another      7                 MR. MUNGO: Asked and answered.
          B        police department, before she came to our department,     8                 MR. ACHO; She did not answer it.
          9        so...                                                     9                 MR. MUNGO: She said that --
         10   Q- Shannon's last name Is what?                               10                 MR. ACHO; She said Derek Scott.
         11   A. Makowski.                                                  11                 MR. MUNGO: Yeah, right,
         12   Q- Okay. Do you have a relationship today with Matt           12                 MR. ACHO; I understand. But she's not-
         13      Nichols where you speak to each other?                     13       I'm asking her pointblank if she referred to him as a
         14   A.    Not since ~ not since February.                         14       sand nigger, because multiple officers told me she
         15   Q- Not since February. What happened in February?             15        did.
         i6   A. IlefL                                                      16    BY MR. ACHO;
         17   Q- Okay. Prior to February, what kind of relationship         17   Q, You don't deny that, do you?
         16      did you have with Deputy Chief Nichols?                    18   A. Maybe I did. I don't recall.
         19   A. Confidant.                                                 19   Q. All right. Did you ever tell Officer Khan that you
         20   Q.    Confidant'                                              20      and Jeff Steinberg would make the ultimate baby
         21   A.    Uh-huh.                                                 21      together?
         22   Q. Can you tell me what you mean by that?                     22   A. Jeff Steinberg?
         23   A.   1 would talk to him about my struggles and things that   23    Q. Yes.
         24        were going on in the department for my entire duration   24   A. No.
         25        of time of being there.                                  25    Q. Ids true that you found a couple of the officers at


                                                                 Page 90                                                           Page 92
          1   Q- And Matt Nichols was always receptive and willing tii       1      Warren P.D. sexually attractive; yes?
          2      listen to whatever you had to say; correct?                 2   A. Yes.

          3   A. Yes.                                                        3   Q. And you made your opinion about their sexual
          4   Q- And Matt Nichols - Deputy Chief Nichols wanted to see       4      attractiveness or worthiness clear to other people;
          5      things go well for you; correct?                            5      correct?

          6   A. Yes.                                                        6   A. I had relationships with officers.
          7   Q. He iiked you.                                               7   Q. Sexual relationships.
          8   A. Yes.                                                        8   A. No.

          9   Q- Isn't it true that you referred to Officer Khan             9   Q. But you wanted to have sexual relationships with a
         10      multiple times as a sand nigger?                           10      couple of officers; yes?
         11   A. No.                                                        11   A. There were a couple of people that I liked as people.
         12          You never said that?                                   12      yes.
              Q-
         13   A.    I know who did say It, but I didn't.                    13   Q. All right. Did you ever refer to white people as
         14   Q. Well, who said it?                                         14      aackers around other officers?
         15   A. Derek Scott                                                15   A. No. Again, Derek explained to me what ~ where —
         16   Q.     Derek Scott?                                           16      where the meaning came from in the steel mills of
         17   A. Yes.                                                       17      people cracking corn to make liquor out of, because I
         18   Q- Isn't it fair to say that more than one person could       18      didn't know what the meaning of it was,so he just
         19         make such a comment?                                    19     kind of educated me on the history of the word.
         20   A.    He told me that they're either sand niggers or dune     20   Q, Have you worked with Officer Khan since the FTC phase?
         21        coons.                                                   21   A. I'm sure we had overlapping runs from time to time.
         22   Q. Okay. But if multiple officers were to say that you        22   Q. What is your relationship -- strike that.
         23      referred to him as a sand nigger, would they be tying?     23               Prior to February of this year, what was
         24   A. Like I said, Derek had that conversation with me.          24      your relationship like with Officer Khan?
         25   Q- 1 understand that. I'm asking you pointblank if you        25   A. He would eye glare, stare, no speaking at all, kind of




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          1        look down at the feet when we pass each other. I was         1   Q. And where does that knowledge come from?
          2        on my way to a run and he pulled me over. At that            2   A.    Sergeant Eldt.
          2        time,I was a detective so I was in an unmarked car,          3   Q- Sergeant Eldt?
          4        and I explained thoroughly to him why I was in a rush        4   A.    Yeah.
          5        to get to the run, and then he proceeded to go Into          5   Q- And how Is that spelled?
          6        the station and make — try to make a complaint When          6   A. E-l-d-t.

          7        I came back from the run, my supervisor told me that         7   Q- And what did Sergeant Eldt tell you about that?
          8        he was trying to get me written up.                          8   A. That Khan tried to get me written up,

          9   Q. You were going to Warren Fitzgerald High School;               9   Q. And that he was shot down by Eldt?
         10        correct?                                                    10   A.   Or who he Initially gave the complaint to. I would
         11   A.    Yes.                                                       11        assume that he complained to whoever his supervisor
         12   Q. You were going to a foottall game?                            12        was,and then that supervisor must have contacted my
         13   A. No.                                                           13        supervisor, which is Sergeant Eldt.
         14   Q- What were you going there for?                                14   Q. In total"and I know you told me you share a locker
         15   A.    A teacher was having sex with students.                    15      room with the female officers, but In total, do you
         16   Q. Okay. Artd that required you to go 30,40 miles an             16        know how many FTO recruits that Officer Khan has had
         17      hour above the speed limit?                                   17        In &e past and how many he has either failed or
         18   A.   I wasn't going 30, 40 above the speed limit hut what        18        recycled versus how many he has passed?
         19        it is is this: Evidence tech calls out he's at my           19   A.    No,sir.
         20        scene, teacher is having sex on the desk with the           20   Q- Okay. You sort of lumped him In with one of your
         21        student I need to get there to let him know what I          21      complaints with an Officer Labin,
         22        need tech'd. But I heard him call out prior to me,so        22   A. Labln.

         23        I was just trying to hurry up and get there.                23   Q- Labin. That Is page 5 of your Complaint, which Is
         24   Q- All right You were in your own personal car;                  24      Exhibit 3, and it says, subsection (b), "Defendant
         25        correa?                                                     25        Anwar Khan and Danin Labln, white male, approached


                                                                     Page 94                                                            Page 96
          1   A.    My detective car.                                           1        another white police officer who was a friend of the
          2   Q- Your detective car. But Khan didn't know that was a            2        plaintiff and Inquired of him whetiier he had engaged
          3      department-issued vehicle; correct?                            3        In sexual relations with plaintiff and whether he had
          4   A. I would assume noL                                             4        a threesome with plaintiff and another female."
          5   Q. All right. And as soon as you flashed your badge to            5                 You see that?

          6        him, he said, hey. Just slow down, and let you go;           6   A. Yes.
          7        right?                                                       7   Q- Okay. Why Is there a - why Is that Complaint part of
          3   A.    No.                                                         8        this lawsuit?

          9   Q. Well, tell me what the conversation was.                       9   A.    Because Khan Is against women working, being in
         10   A. I thoroughly explained that I was on my way to                10        policing, and it wasn't a racial thing between him and
         11        Fitzgerald and that 1 was trying to get there because       11        I. He was always coming at me from a sexist
         12        an evidence tech had already called out. And he ~ I         12        standpoint, I felt, and to Inquire to other people
         13        remember getting back In his car and he made, like, a       13        whether I've had sexual relations with them or not is
         14        skirting sound, when you,like, drag the tires, and          14        not appropriate.
         15        the parking lot that we were In, It made all the            15   Q. Well, would you agree that It's not appropriate to
         16        employees turn to look because he left In such a, you       16        publicly state that you would like to have sexual
         17        know, hasty way.                                            17        relations with multiple police officers?
         18   Q- Okay. You said he died to make a complaint about              18                 MR. MUNGO: Objection, assuming facts that
         19        you. Isn't it true. If he wanted to have made a             19        are not in evidence.

         20        complaint about you, he would have?                         20                 MR. ACHO: You've got to let me finish my
         21   A.    Supervisors don't always take complaints If they don't     21        question. And she already admitted to It. What are
         22        feel whatever about it.                                     22        you talking about? She already said on the record
         23   Q- So do you have any knowledge that he attempted to make
                                                                               23        that she's told people she wanted to have sex with a
         24      a complaint and was shot down?                                24        couple of officers.
         25   A.    Yes.                                                       25                 MR. MUNGO: That - that's




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                                                                 Page 97                                                                   Page 99
          1      mischaracterlzlng --                                       1   Q      Was it Khan or Labin? Because they're both lumped in
          2                MR. ACHO: It is?                                 2         there. Who made the comment?

          3                MR. MUNGO: ~ her testimony. Yes, sir.            3   A      My understanding Is, the officer was in the urinal
          4      She did not say ••                                         4         using the restroom and that he was flanked by both of
          5                MR. ACHO: We can go back and have her read       5        these officers, one on the left side, one on the
          €      It, but, I mean, I think it's in the record,               6        right, and in the middle of his urinating, was asked
          1              MR. MUNGO: That's not what She said.               7        if we were together.
          8              MR. ACHO: All right.                               S   Q      All right. So this comment wasn't made to you or
          9              MR. MUNGO: And, Counsel, I may also object         9         within your earshot.
         10      to the fact that it's not relevant. It is not             10   A.     No,just to someone who associates with me.
         11      proportional to the defense of the allegations in this    11   Q      All right. Who - who told you that this comment was
         12      Complaint at all and it is designed and has the effect    12         made?

         13      of harassing and upsetting my client.                     13   A.     Matt Nichols.

         14               MR. ACHO: Okay. First of all, if she's           14   Q      Matt Nichols, all right. And how did Matt Nichols
         15      upset, it's certainly not my intention, but nobody is     15         broach this with you? Was It said In the context of.
         16      harassing her. I'm allowed to ask certain questions.      16         hey, FYI, this was said, you should sort of watth what
         17      She's already admitted to certain things, so I need to    17         you say, or, hey, get a load of this, in a funny way?
         18      determine her veracity.                                   18         How did you take It?
         19              MR. MUNGO: Well, Counsel, you know that -         19   A.     He felt bombarded — because why would you talk to
         20              MR. ACHO: And relevance Is not a proper           20        somebody when you're in the middle of peeing in a
         21      objection in a deposition and you know this, so -         21        restroom? And I just asked him,I don't know, in a —
         22              MR. MUNGO: Well --                                22         you know, not in — in the restroom or whatever, and
         23              MR. ACHO: It's not. So let me ask--               23        then he said that they just kept digging into our
         24              MR. MUNGO: But-but--                              24        relationship.
         25              MR. ACHO: Go ahead.                               25   Q      Digging Into yours and Mati Nichols relationship?


                                                                 Page 98                                                              Page 100
          1             MR. MUNGO: - Counsel, If the Inquiry Is             1   A. Yes.

          2     not designed to elicit information -                        2   Q- All right. I'll come back to that. Is that the only
          3             MR. ACHO: It is designed.                           3      claim that you have against Darrin Labin?
          4             MR. MUNGO: - that is--that is                       4   A. And about whoever made the comment that Marlene Kerr

          5     proportional, that is proportional.                         5        would have been the other officer with a threesome of

          6             MR. ACHO: She has a claim here.                     6        us.

          7             MR. MUNGO: Just as in interrogatories and           7
                                                                                Q-    Marlene Kerr?

          8     request for production of documents, the information        G   A. Yes.

          9     that's being requested must be proportional to the          9   Q. K-e-r-r?
         10     defense --                                                 10   A. Yes.

         11             MR. ACHO: Sir, your client-                        11   Q. Marlene Kerr is a current officer at Warren?
         12             MR. MUNGO: Counsel -                               12   A. Yes.

         13             MR. ACHO:       told fellow officers that she      13   Q. Are you friends with her?
         14     would make the perfect baby with a couple of them, and     14   A. Yes.

         15     now she's saying here, it was inappropriate to ask         15   Q. Did you have any type of romantic relationship with
         16     about sexual relations, and I'm saying, it's not           16        her?

         17     inappropriate if that door has been opened.                17   A. No.

         18             MR. MUNGO: TTiat - first of ail, that's an         IB               MR. MUNGO: Objection, Counsel. Again,
         19     objection because that Is mischaracteiizing her            19        that Is not proportionate, ifs not relevant and its
         20     testimony.                                                 20        not proportional ••
         21             MR. ACHO: Okay.                                    21               MR. ACHO: Relevance is not appropriate--
         22             MR. MUNGO: But go ahead. Go ahead.                 22               MR. MUNGO: - to your defense in this
         23     Counsel.                                                   23        matter and its designed to harass and intimidate and
         24             MR. ACHO: Ail right.                               24        embarrass and humiliate my client.
         25   BY MR. ACHO:                                                 25   BY MR, ACHO:




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                                                           Page 101                                                                Page 103
          1   Q. Do you feel intimated by my asking you the question?      1   A. Correct

          2   A. It's kind of peculiar, buti don't know.                   2
                                                                               Q. What was Matt Nichols' rank at the time of this?
          3   Q. Weii, you know what I find peculiar, guys, is that        3   A. Probably a sergeant,I believe.

          4      report that you handed me from Shiener says that you      4   Q- Ai! right. In paragraph 13 of your Complaint, you
          5      are married to a woman, but you have an ongoing           5        state that you were, "denied privileges to enjoy
          6      relationship with another woman. It says it right In      6        rights and benefits of simliariy situated white police
          7     that report that I was just handed today.                  7        offices"; correct?
          8   A. No.                                                       8   A. Yes.

          9   Q. Is that not accurate?                                     9   Q. And specificaiiy, you dairn you were denied light-duty
         10   A. No.                                                      :o      opportunities; correct?
         11   Q. Did you find that peculiar when you read it?             li   A. Yes.

         12                 MR. MUNGO: That is not in that - that is      12   Q- All right. Can you expound a little bit on that
         13       not in that report.                                     13      claim? What are you referring to?
         14                 MR. ACHO: Oh, it isn't?                       14   A.   In 2011 when I was hit by the drunk driver en route to
         15                 MR. MUNGO; No.                                15        work, my understanding Is our contract says that we're
         16                 MR. ACHO: Someone hand it to me. I'm          16        carried to and from work. So after being off for four
         17       going to read to you what it says, specificaiiy.        17        months and being In physical therapy for eight months,
         18               MR. MUNGO: And if that is in there, that's      18        I tried to come back to work at the three-month marker

         19       inaccurate.                                             19        and I was denied. They said that they didn't have any
         20   BY MR. ACHO:                                                20        light-duty positions available, so that I couldn't
         21   Q. It says, "She currently lives with her wife. She is      21        come back until I could come back full duty, so 1
         22      in a committed relationship with another woman."         22        returned the following month.
         23     Thafs what it says. Now ~                                 23   Q- All right. Your acddent was an off-duty or non-duty
         24                 MR. MUNGO: Then thafs - then thafs            24      accident; correct?
         25       actually inaccurate.                                    25   A.   Off duty, but en route to work, yes.



                                                           Page 102                                                                Page 104
          1               MR. ACHO: Weii, how do you know? This is         1   Q- But off duty.
          2      his •• this is his evaluation of your client, not you.    2   A. Right
          3      You weren't in the room with her.                         3   Q- All right. And you're aware that for light duty or
          4               MR. MUNGO: Let me see it.                        4      desk duty, that preference, pursuant to policy, Is
          5               MR. ACHO: How do you know that?                  5        only given for on-duty accidents or injuries; correct?
          6               MR. VINSON: What page is that?                   6   A.    Based on that's what the paper says, but that's not
          7               MR. MUNGO: My - my client knows that             7        how they apply it in practice.
          8               MR. ACHO: You want your client to know           e   Q. But that is what the policy is.
          9      that.                                                     9   A. Right
         10   BY MR. ACHO:                                                10   Q- All right. Are you aware of white officers who were
         11   Q. Do you have any idea why Dr. Shiener would put that in   11      not involved in on-duty accidents that were given
         12      a report?                                                12        light duty?
         13   A. It could be a typo.                                      13   A.    Yes, sir.
         14   Q. Thafs -- wow. Thafs an awfully peculiar typo to say      14   Q- Okay.
         15      you're in a committed relationship with another woman.   15                 MR. MUNGO: Counsel, after your next
         16      but okay. Anyways, moving on.                            16        question, we need to take a break,
         17              Do you have any other claims against Darrin      17                 MR. ACHO: Okay. I suppose you want to
         18      Labin?                                                   18        call Shiener.
         19   A. No.                                                      19                 MR. MUNGO: I'm sorry?
         20   Q. All right After Matt Nichols relayed this comment to     20                 MR. ACHO: I suppose you want to call
         21      you, this alleged comment to you, did you take any       21        Shiener?
         22     type of acOon by way of a complaint?                      22                 MR. MUNGO: No. You -
         23   A. No.                                                      23                 MR. ACHO: I would.
         24   Q. You never filed a complaint with HR or anyone else;      24                 MR. MUNGO: No, no. You just dont know
         25      correct?                                                 25        how to read.




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                                                           Page 105                                                     Page 107
                            MR. ACHO: I don't?                               Maybe.
                          MR. MUNGO; No, you dont. That was                  All right. So who's me next one?
                  describing her relationship -                                        MR. MUNGO: Take the-
                          MR. ACHO: I don't know how I got through                     MR, ACHO: Are there many more?
                  law school.                                                Yes.

                          MR. MUNGO: That was describing her                MR. ACHO:

                  relationship with her wife. Either you don't know how      Can you remember them and we li come back to this?
                  to read or ~                                                       MR. ACHO: Go ahead,
                            MR, ACHO: Weil, in fairness -- in                        VIDEO TECHNICIAN: Off the record, 12:26.
                  fairness, you handed it to me moments before the                   (Off the record at 12:26 p.m.)
                  deposition. It's a long document.                                  (Back on the record at 12:49 p.m.)
                          MR, MUNGO: Weil, well, well, you still                     VIDEO TTCHNICIAN: Back on the record,
                  need to know how to read. But in any event -              12:49.
                            MR. ACHO: I do know -                           MR. ACHO:

                          MR. MUNGO: --ask your question--ask                When we left off, you were telling me about white
                  your question so that we can ~                            officers that you believe were given light-duty or
                            MR. ACHO: I do know how to read. I read         desk-duty positions or benefits that you were denied,
                  to you what it says. I'm looking at it right now. It      and the first person you gave me was William Ross, who
                  says...                                                   had claimed mental ^bgue, we said. We don't know if
                         MR. MUNGO: Then you need a - then you              it was job related or not, but it might have.
                  need a course in grammar.                                         And then you said you had a lot of other
                         MR. ACHO: In grammar?                              individuals to name, so I'm wondering who those other
                            MR. MUNGO: Go ahead. Go ahead,                  people are.
                          MR, ACHO: I was a journalism major. Now I          We go by last names a lot, so I'm stating the last
                  feel bad, I don't know how I got my degree.               names, Reichling.


                                                           Page 106                                                     Page 108
                         MR, MUNGO: No, Counsel, you okay, you              Raglind?
                  okay. You just -- you just got a little overzealous.      Reichling.
                            MR, ACHO: You think so?                         How do you spell that?
                            MR. MUNGO: That's ail. Yeah, you got a         Should be, like, R-e-l-c-h-l-l-n-g.
                  little overexcited about something that shouldn't have    And what was Officer Reichling's injury?
                  exdted you, Oiafs ail.                                    He was off duty and his motorcycle was falling over in
                            MR. ACHO: Weil, I think he needs to issue      his garage,so he reaches out to grab It and his arm
                  an amended report.                                       was snatched out of the socket

                            MR. MUNGO: It was wishful thinking.             So he came back to work at some point?
                  Counsel.                                                  Light duty, yes.
                            MR. ACHO: Ail right. All right. Okay.           Ught duty. And what was he doing?
                            MR. MUNGO: But I can relate.                    Working the desk.
                            MR. ACHO: All right,                            Okay. When you heard that Reichling had received desk
             BY MR. ACHO:                                                  duty for an off-duty Incident, did you complain to
             Q. So who are the white officers that received these          anyone?
                light-duty privileges that you did not receive?
             A. William Ross would be one.                                  Who else was given light duty?
             Q, Okay. Now, let's stop there. What was Officer Ross's        Let's see. Light duty was also given to
                  claim for injury?                                        Officer Booms.

             A. Mental fatigue.                                             Boom?

             Q,   Mental fatigue from on the job; correct?                  Booms, B-o-o-m-s.
             A.   He wanted to study for the promotional exam.              Booms. And what was Officer Booms' Injury?
             Q.   Right. But he had mental fatigue on the job; correct?     He had a cast on his foot so I don't know if it was a
             A.   I don't know if it wasjob related or not                 torn ligament or what.
             Q.   But it might have been; correct?                          Do you know if it was work related?




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          1   A.    It wasn't work related, and he was on crutches.          1        to her. So again, nothing changes, and then you just
          2   Q- What was the injury from, <}o you know?                     2        lose people.
          3   A.    Huh-uh. And they put him in the property room.           3   Q. Okay. What officers did you complain to that you felt
          4   Q- But again, you don't know if it was --                      4        were offending you that started treating you a certain
          c
              A. It's my understanding that It wasn't work related, no.      5        way?
          6   Q. Who told you it wasn't?                                     6   A. Bamhill.

          7   A.    Everybody was talking about It.                          7
                                                                                 Q. Okay. And Is that Kevin Bamhill?
          B   Q. Okay. Did you complain at that time that                    e   A. Yes.

          9        Officer Booms was given light duty?                       9   Q. And what Is it that you said to Bamhill, or what Is
         10   A.    No.                                                     10     It that he said to you?
         11   Q. Okay. Anyone else?                                         11   A.   There had been 10 or 11 occasions where he constantly
         12   A.    Also there was an officer on the midnight shift, his    12        reminded me that I was black, and so after I realized
         13        name was Mays.                                           13        that he was never gonna stop and that every time he
         14   Q-    M-a-y-s?                                                14        runs Into me he has to acknowledge that I'm black, I
         15   A.    Yes. And because he was getting close to retirement.    15        told him that It was offensive. And then other people
         16        he didn't really want to use any sick time,so they       16        that heard me directly talking to him said, see.
         17        allowed him to work with a cast on his hand. And then    17        ffiat's why I don't talk to her.
         10        I'm trying to think who had a pulled groin muscle from   18   Q. Okay. The comments that you're referring to regarding
         19        playing softball that was on the desk.                   19        Bamhill, you allege in your Complaint that -- on
         20   Q. While you're thinking of that, did you complain to         20        page 5 and 6,13(d}, and are these the allegations
         21        anyone that Mays was given desk duty?                    21        that you're referring to?
         22   A.    No, because all of these people mostly were prior to    22   A. Yes.

         23        me getting injured, so I just thought It was like a      23   Q- It says, "Defendant Kevin Bamhill, white male, always
         24        rule of thumb that they took care of us In that way.     24      spoke to plaintiff In a derogatory, stereo-typed
         25        And so once I got injured, you know,I found that It's    25        fashion using a slave voice."



                                                                 Page 110                                                           Page "112
          i        not a given that you get light duty, so...                1                What is a "slave voice"?

          2   Q. Okay. But you don't have any information or evidence        2   A.    If you watch a movie and they have people during
          3     that you were denied desk duty or light duty because         3        slavery time, they're talking very slow or very
          4        you were a female or African-American, do you?            4        jumbled or gibberish kind of thing.
          5   A.   I was just — like I said, me as an Individual was         5   Q- And he would talk to you like that?
          6        denied the opportunity to come back until I could come    6   A. Yes. His tone would change.
          7        back full duty.                                           7
                                                                                 Q- All right. "Saying things like, 'sister guri," and,
          8   Q. All right. Did you, at any time, go to HR or anyone         8     'whattup, doe', employing mimicking, stereotypical and
          9        else and file a complaint over the fact that you were     9        demeaning portrayals of African-Americans."
         10        not given light duty?                                    10   A. Yes.

         11   A.    No.                                                     11   Q- Is that right?
                                                                            12
         12   Q- Why not?                                                        A. Yes.

         13   A.   Again,filing complaints doesn't seem to ffire well.      13   Q. All right. How many times did Officer Bamhill speak
         14        and then --                                              14        to you in that fashion?
         15   Q. Okay.                                                      15   A.    By the time 1 addressed the problem to him. It was —
         16   A.   — If I — If I complain or make comments about things     16        he was on the 10th or 11th time of doing It.
         17        that are unjust. It just always gets worse for me.       17   Q. All right. And when was this?
                                                                            18   A. I don't" I don't have a timeline.
         18   Q. Okay. When did you make complaints and things got
         19        worse for you?                                           19   Q. Okay. Would this have occurred in a matter of months
         20   A.   There was a complaint made for me,and the fallout of     20     or over a full year?
         21        that is people basically stopped talking to you or       21   A.   It was a great span of time, yes.
         22        they make you the problem even If you haven't done       22   Q. All right. Is it after you started working there?
         23        anything. There's been times where I talked to other     23   A. Yes.

         24        officers that are hurting or offending me,and other      24   Q- Okay. How is It you would interact with Kevin
         25        people go,see, that's why I don't associate or talk      25      Bamhill? Were you partners?




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                                                                Page 113                                                           Page 115
          1   A.    We would overlap at runs. I would talk to him. I        1   A.    He's very inappropriate. I mean, he was caught
          2        encouraged him to study for promotional exam.            2        stalking a lady on her terrace, you know.
          3
              Q. Okay. So you and Bamhill were friends, were you not?       3   Q. When was this?
          4   A. I would think that we were associates, yes.                4   A.    Some years back. He ran her plate, got her personal
          5   Q. No, thafs not what I said, "assodates." I said, you        5        information and showed up at her house. So that's not
          6        guys were friends.                                       6        very pastoraliy.
          7   A.    No. Friends, you hang out with after work and things    7
                                                                                Q. Was he disciplined for that?
          8        like that.                                               8   A. I would assume so.
          9   Q. That's the only way you can be a friend?                   9   Q. How do you know about that incident? Did he tell you
         10   A.    Again, we were associates at work,yes.                 10        about it?
         11   Q. If you are encouraging somebody to study and do well      11   A.    No. Just how a lot of people would talk about it, how
         12        on a test, Isn't that a friendly gesture?               12        crazy it was for an officer to be caught — another
         13   A.    Again,I continued to extend myself to him.             13        police department to be calied on an officer and a
         14   Q. I get it.                                                 14        officer to be accused of B&E, which is breaking and
         15   A. Yeah.                                                     15        entering.
         16   Q. What I'm saying is, you guys were friends, weren't        16   Q- So it didn't happen in Warren?
         17     you?                                                       17   A. No.

         18   A.    Not friends, no.                                       18   Q. Okay. Is it possible that Bamhill was just joking
         19   Q. All right. Did you feel like you could speak openly       19      with you and not trying to demean you?
         20        to him?                                                 20                 MR. MUNGO: Objection, assuming a fact not
         21   A.    I tried, yeah.                                         21        In evidence.
         22   Q. You felt comfortable prodding him on to study and do      22   A. I'm not sure.
         23     well on exams; right?                                      23   BY MR. ACHO:
         24   A. Yes.                                                      24   Q. So it's possible.
         25   Q. And is it fair to say Barnhill felt comfortable around    25   A. Anything's possible, yes.




                                                                Page 114                                                           Page 116
          1        you?                                                     1   Q. Pair to say, based on your experience of 40-pius years
          2   A.    Maybe too comfortable.                                  2        as an African-American, that sometimes when you
          3                MR. MUNGO: Objection, assuming a fact not        3        encounter white people who you may be on a friendly
          4        In evidence.                                             4        basis with, they may come off as awkward or not
          5   BY MR. ACHO:                                                  5        necessarily know how to know ~ act or joke around
          6   Q. Okay. Do you believe that Bamhill felt comfortable         6        people of color?
          7        around you?                                              7   A.    You're asking me their state of mind? What they
          8   A. Yes.                                                       8        think?
          9   Q. Okay. So if Bamhill felt comfortable around you.           9   Q. No. I'm just asking you, in your experience, isn't it
         10        he's making comments probably in a joking fashion,      10     fair to say that a lot of white people, when you
         11        fair to say?                                            11        encounter them,are awkward or goofy and not
         12   A.   Just treat me like a human being.                       12        necessarily trying to hurt you, but just don't know
         13   Q. Was he not treating you like a human being?               13        how to really come off as funny?
         14   A.   1 mean, you don't have to remind me that I'm a black    14                 MR. MUNGO: Objection, assuming a fact not
         15        person. I know already.                                 15        in evidence.
         16   Q. Did he say, hey, you're a black female?                   16   BY MR. ACHO:
         17   A. But he's speaking how ghetto black girls speak. When      17
                                                                                Q. It's no fact. I'm just asking you in your experience.
         18        I'm not speaking that way,there's no need to address    18   A. But a lot of white people don't

         19        me that way.                                            19   Q. I know a lot of white people don't, but isn't it fair
         20   Q- Is it true that Bamhill used to be a pastor?              20     to say that a lot of white people do?
         21   A. Yes.                                                      21   A.   Act awkward,sure.
         22   Q. Is It true that he conducts himself in a Chiisb'an        22   Q. Okay. And couldn't it just have been that Barnhill
         23        fashion?                                                23        was awkward and not trying to hurt you, per se?
         24   A. No.                                                       24   A.   After so many years of being there and having so many
         25   Q. Why do you say that?                                      25        conversations,there should get to a point where the




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                                                                  Page 117                                                          Page 119
          1        awkwardness ceases.                                        1   A.    I addressed Derek Scott.
          2   Q     Well, how many -- strike that.                            2   Q     Okay. Derek Scott, is he named as a defendant?
          3                You testified earlier that once you                3   A.    No.

          4        addressed it with Barnhill, that you felt the 10 or 11     4   Q     How come?
          5        times that he had joked or made comments, that you         5   A.    Because our disagreement wasnt race based.
          6        addressed it with him, that it stopped after that.         6   Q. All right. What was your disagreement with
          7   A.    That's why I addressed it because I wanted it to stop.    7        Derek Scott?
          8   Q. And it stopped; right?                                       8   A.    He had a good relationship with a lot of dispatchers
          9   A. Yes.                                                         9        and they would, basically, let him have free days and
         10   Q- Because you told him, hey, it bugs me. And so what          10        they would send me to his area to do runs while he's
         11        did he tell you?                                          11        not doing any runs.
         12   A.    I don't recall him saying anything.                      12   Q- But you didn't have any reason to believe that was
         13   Q. Didn't he say to you, you know what, Desheila, it was       13        because you were a woman or African-American.
         14      never my intent to hurt you, I was joking around?           14   A.    No.

         15   A.    Again,I don't remember him saying anything.              15   Q. How Is it you are able to delineate when something is
         16   Q. Is It possible that he said that to you?                    16        prompted by your race or your gender and when
         17   A.    It's possible.                                           17        something Is not?
         18                MR. MUNGO: Objection, asked and answered.         18   A.    Some things, it's because of the tone that they're
         19   BY MR. ACHO;                                                   19        saying it in or they're mocking things that black
         20   Q- Did you ever make any type of notes or memorialize          20        people say or do or they're specifically asking me
         21        anywhere when Barnhill would make comments to you?        21        questions as a black person, like, Desheila, what is
         22   A. No.                                                         22        the meaning of this? Desheila, why do you-all do
         23   Q. Did you ever write down In a journal, you know,             23        that? They're specifically coming to me, but then you
         24        Barnhill spoke In a slave voice on this date, or          24        never have a conversation or talk to me at any other
         25        something?                                                25        time until you need the breakdown or definition on all



                                                                  Page 118                                                          Page 120
          1   A.    No.                                                       1        things black.
          2   Q. Nothing tike that? And you never complained about            2   Q. Okay. But the light-duty jobs, you said you were
          3        Barnhill to HR or any supervisor, did you?                 3     denied because of your race; right?
          4   A.    No.                                                       4   A.   Because, to my knowledge,I'm the only person that
          5   Q- Do you believe you were treated differently by some of       5        wasn't allowed to work the desk when needed.
          6      your fellow officers after you addressed your issues         6   Q. Okay. But with Derek Scott, you were able to
          7        wlUi Barnhill?                                             7     delineate that that"s not because of your race or your
          B   A.   People have a tendency to shut down or not really know     8        gender. I just -- I'm trying to figure out how you
          9        what to say,so they just don't speak at all.               9        determine what actions are based on race In general
         10   Q. Okay. And who are you referring to?                         10        and which aren't.
         11   A.   I can't remember exactly who was standing around at       11   A.   Again, they address me        specifically ask me things
         12        that time, but It just»there's always, like, this         12        pertaining to all things black.
         13        period of adjustment, if I speak out or adjust or say     13   Q. I understand those people. I'm referring more to the
         14        anything, where I kind of get shunned for a period of     14        light duty. There was no comments made to you
         15        time,so...                                                15        regarding light duty, was there?
         16   Q- So is It your testimony that you were shunned after         16   A.   Well, the Derek thing ~ again, it's just a
         17        you addressed It with Kevin Barnhill?                     17        misunderstanding or me trying to address the fact that
         18   A. Yes.                                                        18        he's at work and he's not working and that I'm doing
         19   Q- Can you name anybody, as we sit here, who shunned you?      19        my job and his job.
         20            MR. MUNGO: Objection, asked and answered.             20   Q. All right Who did you complain to about the
         21   A.   No.                                                       21        Derek Scott situation?

         22   BY MR. ACHO:                                                   22   A. To Derek.

         23   Q. You've said, every time I speak up. Other than the          23   Q- Is Derek a supervisor?
         24        BamhIII Incident, what other times have you spoken        24   A.   No.

         25        up?                                                       25   Q. Okay. You knew that, under the policies, you were




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                                                                   Page 121                                                         Page 123
          1        supposed to report things to KR or a supervisor;            1        the individual as an individual that was doing
          2        correct?                                                    2        something inappropriate or improper,it would just
          3   A. Yes.                                                          3        become an overall quietness.
          i   Q. And you chose not to, for whatever reason, but you            4   BY MR. ACHO:
          5        went to Derek himself; correct?                             5   Q. I know you said that. You've said that.
          6   A. Yes.                                                          6                MR. ACHO: Counsel, she's not answering my
          7   Q. And you beiieve you were shunned after that?                  7        question.
          8   A.    He told — we made up and then he told me that, when        8   BY MR. ACHO:
          9        he got in the locker room a lot of the guys were like.      9   Q. Just referring to Derek Scott, you address him in
         10        see,that's why I don't talk to her.                        10        front of a room full of people, people ~ none of
         11   Q. All right. How is it you made- you made up?                  11        which you can name as we sit here. Did any of these
         12   A.    We decided to move forward. He acknowledged that he       12        people shun you?
         13        was goofing off.                                           13   A.   I"I felt tension after speaking my — my mind or my
         14   Q. And then after you made up, he went and told other           14        peace or trying to get my point across.
         15        officers that you had approached him?                      15   Q. From whom did you feel tension?
         16   A.    No. He told me that when they got In the locker room      16   A. The peopie on my shift
         17        at the end of shift, he could overhear them saying.        17   Q. Okay. Who are these people that you felt tension
         18        see,that's why I don't talk to her.                        18        from?
         19   Q. How would they know?                                         19   A.   What wili happen is, you just come to work and
         20   A. Because when I addressed him. It was a room full of~         20        everybody is iike ~
         21   Q. Oh,so-                                                       21                MR. MUNGO: He wants to know who.
         22   A. -- people.                                                   22   A.   — more quiet or reserved.
         23   Q. - you addressed him in front of other people?                23                MR. MUNGO: He wants to know who the people
         24   A. Yes.                                                         24        are.

         25   Q. What other people were there, do you recall?                 25   A.   This is so many years ago,I —


                                                                  Page 122                                                          Page 124
          1                MR. MUNGO: Objection, asked and answered.           1                    MR. MUNGO: Okay.
          2                MR. ACHO: It has not been.                          2   A. — I don't know.
          3   A.    No,I don't know everybody that was In the room at the      3                    MR. MUNGO: You've got to say that.
          4        time.                                                       4   A.     Okay.
          5   BY MR. ACHO:                                                     5   BY MR. ACHO:
          6   Q. Can you name anybody that was in the room?                    6   Q- So you don't know who?
          7                MR. MUNGO: Same objection, asked and                7   A. No.
          8        answered.                                                   8   Q. All right. You mentioned somebody earlier. You said
          9                MR. ACHO: It has not been.                          9         police officers don't complain about each other
         10   A. You can ask Derek because he would know who was              10         because you'll suffer some type of adverse
         11        talking about it in the locker room,the male locker        11         treatment- my words, not yours, but you said It
         12        room.                                                      12         doesn't fare well. And I asked you, well, what other
         13   BY MR. ACHO:                                                    13         officers, and you gave me the name of a John Adams;
         14   Q- 1 will ask him, but —                                        14         correct?
         15   A.   Okay.                                                      15   A. Yes.
         16   Q. - as we sit here - when you said you complained to           16   Q. Isn't it true that John Adams came back to the City of
         17        him in front of a room full of people, as we sit here      17         Warren Police Department while he was finishing his
         18        today, you can't remember anyone else that was there?      18         law degree?
         19   A. No.                                                          19   A.    Temporarily.
         20                MR. MUNGO: Objection, asked and answered.          20   Q. But he came back; light?
         21   BY MR. ACHO:                                                    21   A. Yes.
         22   Q. Did anybody that was in that room shun you, as you           22   Q. And now he's employed as an attorney here In town;
         23        have stated?                                               23         correct?
         24                MR. MUNGO: Objection, asked and answered.          24   A. Somewhere. I don't know where, yes.
         25   A.   Every time that I spoke up for myself and addressed        25   Q. Are you aware that he's attended the last couple of




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                                                               Page 125                                                            Page 127
          1        Christmas parties -- the City of Warren Poiice            1         allowed him to come into your home; correct?
          2        Department Christmas parties?                             2   A. I continued to forgive and move forward with all of
          3   A.   I wouldn't know that, no.                                 3         them, yes.
          4   Q- Okay. Do you still work with Officer -- strike that.        4   Q. So, yes, you allowed him to come into your home?
          5            Prior to February, did you stiii work with            5   A. Yes.
          6        Officer Barnhiii?                                         6   Q. Aii right. You wouid not allow a person in your home
          7   A.    He was assigned to the jail and I was a detective, so    7         that you did not trust, wouid you?
          8        no.                                                       8   A. No.
          9   Q. You wouid pass each other, sort of in passing from          9   Q. And you wouldn't allow a person into your home that
         10        time to time; correct?                                   10      you thought was a hateful person, wouid you?
         11   A. Yes.                                                       11   A. No.
         12   Q. And it was always friendiy?                                12   Q. In 13(k) of your Complaint, page 7, you claim that
         13   A.    He kind of stopped talking.                             13         "Defendants," unnamed here, "repeatedly refijsed to
         14   Q. But he wouid say hello.                                    14         support plaintiff with proper backup"; is that
         15   A.    No.                                                     15         correct?
         16   Q-    Weil, did he ever, again, make any type of what you     16   A. Yes.
         17        caiied stereotypicai or mocking remarks to you after     17   Q. You told that to Kevin DIetz in a Channel 4 interview;
         18        you addressed it with him?                               18         is that right?
         19   A. No.                                                        19   A. Yes.
         20   Q- Aii right. The incident in 2011 when you were in a         20   Q. That Is pretty much the cardinal sin among poiice
         21      car accident, how iong were you off work? You said         21         officers, wouid you agree?
         22        four months; correct?                                    22   A. Yes.
         23   A. Yes.                                                       23   Q. I mean, that's a very, very serious allegation you're
         24   Q. Aii right. And you said you wanted to come back after      24         making; correct?
         25     three, and you had been denied the abiiity to work          25   A. Yes.



                                                               Page 126                                                           Page 128
          1        desk duty or iight duty; correct?                         1   Q. Yes?
          2   A. Yes.                                                        2   A. Yes.

          3   Q. Had you been made any promises at aii that you could        3   Q. You believe that there are officers that deliberately
          4        come back and work light duty or desk duty?               4        wouid not back you up because you're African-American?
          5   A. No.                                                         5   A. Yes.

          6   Q- So nobody made you that promise or guarantee; correct?      6   Q. What officers do you feel wouldn't back you up?
          7   A. Correct.                                                    7   A. I was advised that I needed to slow down and not be
          8   Q. The condo that you rented from Officer Curt Priemer,        8        the first person out at runs and give them an
          9        isn't it true that Officer Barnhiii came and painted      9        opportunity to show up so that I wouldn't be left
         10        your condo?                                              10        alone.
         11   A.   I paid him, yes.                                         11   Q. Who told you that?
         12   Q. But he came and painted the condo; correct?                12   A. A dispatcher who's since retired.
         13   A. Yes.                                                       13   Q. And what is that dispatcher's name?
         14   Q. And this was approximateiy five years ago?                 14   A. Debbie Broach.

         15   A.    Give or take, yes.                                      15   Q. Debbie?
         16   Q- It was iong after you had addressed your issue             16   A. Broach.
         17      regarding some comments; correct?                          17   Q. B-r-o-a-c-h?
         18   A.   I don't believe it was after. It was -• he painted       19   A. Yes.

         19        firs^ prior to.                                          19   Q. Do you stiii communicate with Ms. Broach?
         20   Q. Okay. But you had a good enough relationship with him      20   A.    No.

         21     that you had him come into your home?                       21   Q. Do you know what Ms. Broach based that comment on?
         22                MR. MUNGO; Objection, mischaracteriang           22   A. I was In her office, her cubicle where the dispatchers
         23        her -- her testimony.                                    23        are, and she showed me the screen, and It has a map of
         24   BY MR. ACHO:                                                  24        the city, and all the scout cars are like red circles
         25   Q. You had a good enough relationship with him that you       25        and so you can track the movement of people. And she




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         :         was telling me that they ~ If they do come,they come            Q- What officers in that department do you believe would
          2        slowly or they don't take the most direct route to me      2       deliberately not back you up because of your race?
          3        or they'll call out for lunch,so she just wanted me        3    A.    Can 1 give you an instance?
          4        to be careful so I wouldn't get hurt                       4    Q- You can as long as you agree to come back to my
          5   Q. Did She indicate it's because you're black?                  5       question, but yes.
          6   A.    No.                                                       6    A.    Knowing, based off what she was saying that they would
          7   Q. Could it Just be that officers don't rush to scenes?         1         come, because it's their job to come, but they're
          8   A. Generally, the calvary comes pretty fast so...               s         coming slower,then I have to proceed in a different
          9   Q. But Debbie Broach did not say to you, listen, they're        c.
                                                                                        manner, t have to either not get their as fast or I
         10        not going to back you up because you're                   i:         have to know that I'm going to have to be able to hold
         11        African-American?                                         i:         on and deal with whatever I have to for however long I
         12   A. No,she didn't specify why.                                  12         have to deal with It. Okay?
         13   Q. Don't you think you should have something like that         13    Q- And that -- thafs Debbie Broach's words to you?
         14        pretty concrete before you go on television and make      14    A. No, that's the way I understand It, if she's telling

         15        accusations against a department of such a —              15         me to slow down and don't be Oie first one out to make

         16               MR, MUNGO: Objection ~                             16         sure that 1 have assistance.
         17   BY MR. ACHO;                                                   •7    Q- Okay. Go ahead.
         18   Q. ~ serious nature?                                           18    A.   So,after I got promoted to being a detective, you
         19               MR. MUNGO: Objection, argumentative.               •9         still have to, you know,go out of the office.
         20               MR. ACHO: It's not argumentative.                  20         Detective Chisholm and I were going to ~ oh,that
         21   A. 1 understood what she was trying to warn me about my        21         same teacher that was having sex with the underage
         22        safety, and If I'm the only person of a race, what        22         students at Fit2ger3ld, he was at Twelve and Ryan, the
         23        else would It be?                                         23         behavioral clinic for attempted suicide. So we have
         24   BY MR. ACHO:                                                   24         an arrest warrant for a person who's a criminal sexual
         25   Q. My question is, don't you think you should have had         25         conduct,first-degree person, and Chisholm called



                                                                  Page 130                                                            Page 132
          1         something more concrete before you go out publicly and    1         dispatch and asked if we could have pab'oi meet us
          2         make such a serious allegation ••                         2         there because we're In plain clothes. You have to
          3                 MR. MUNGO: Objection.                             3         have a patrolled officer •• you know, a uniformed
          4   BY MR. ACHO:                                                    4         officer visible, whatever.
          5   Q. - against the department?                                    5                And we get there, and we're In the car
          6   A. It's not the only —                                          6         waiting, and It was about ten minutes before the guy
          1                 MR. MUNGO: Objection, asked and answered.         7         was going to be released and a car has not been
          B                 MR. ACHO: It's not asked and answered,            e         dispatched to us. So we start to notice the radio
          9                 MR. MUNGO: You've got to let me get my            9         traffic, that all the runs that they're sending people
         10         objection.                                               10         to are not high-priority runs, It's like assist a
         11                 Objection, asked and answered.                   11         motorist or something like that.
         12                 MR. ACHO: It has not been.                       12                So prior to us leaving the office, I
         13   BY MR. ACHO:                                                   13         happened to look at the patrol schedule to see who was
         14   Q. Don't you think you should have had something more          14         working that day, and Officer Dylan happened to be In
         15         concrete?                                                15         a two-man In that area of Twelve and Ryan.
         16   A. No.                                                         16    Q. How do you spell Dylan?
         17   Q. Would you agree with me that if officers did not back       17    A.    D-y-l-a-n, Dylan.
         13      up another officer just based on race, that that would      18    Q. Okay.
         19         be a terrible human being?                               19    A.    And so since dispatch hadn't dispatched our run and
         20   A. It would be problematic.                                    20         the guy is almost about to get out, I asked Chisholm
         21   Q. Problematic?                                                21         if he had Dylan's number. He physically called Dylan
         22   A. Yeah.                                                       22         on the phone and asked him to come back us up, and
         23   Q. That person would be completely bereft of any moral         23         Dylan agreed. Dylan goes over the air and
         24         fiber, would they not?                                   24         specifically states, I'm in my route — I'm on my way
         25   A. I don't know.                                               25         to Twelve and Ryan. And dispatch goes, where? Ten




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          1        and Ryan? Because they had another run over at Ten         1   Q     Do you need a break?
          2        and Ryan. And he said, no, Twelve and Ryan.                2                Are there any witnesses that would say you
          3              So they get there in the nick of time and            3        were not backed up by police officers In the
          4        it aii inevitably worked out, but it's just the fact       4        department?
          5        of how — how is it that you're sending people to ail       5   A.    Debbie Broach. Derek Scott could possibly attest to
          6        these little things and we've got the biggest thing        6        some of the situations.
          7        going right now and nobody is being dispatched to our      7   Q- Is Derek Scott sb'ii employed as a police officer In
          B        aide. We shouldn't have to call on our personal ceil       8        Warren?
          9        phones to get help.                                        9   A. Yes.

         10   Q- But you did receive help.                                   10   Q. Okay. Debbie Broach, you Indicated, retired?
         11   A.   Thanks - yes.                                             11   A.    Yes. Matt Nichols was aware of a lot of the personnel
         12   Q. Okay. So you told me about that scenario. What              12        Issues with me and other people.
         13        Instances do you have where you were repeatedly -         13   Q- How SO? Did you go speak to him?
         14        your words, repeatedly not provided backup?               14   A. Yes.

         15   A.    By the time she toid me to slow down, after that point   15   Q- And did you tell him that you did not want anything
         16        in time, I started making sure that I wasn't the first    16        done?
         17        one out so that I wouldn't be alone, but there's times    17   A.    Yes. He was about to be promoted and I didn't want
         18        when detectives, who normally don't make runs, would      18        his promotion to be blocked.
         19        show up just to make sure that I was okay because it's    19   Q. Why would his promotion have been blocked?
         20        like crickets, radio silence. They know nobody is         20   A. Because you're standing up for one person and you're

         21        coming for me.                                            21        going against the grain of everyone else.
         22   Q. But detectives did show up for you.                         22   Q. So you told him at diat time, don't do anything
         23   A. I know, but I'm talking about patrolmen.                    23      regarding my complaints or regarding these issues?
         24   Q- Can you give me some of those Instances? I'm trying         24        Yes?
         25      to document, as I assume you would have documented          25   A. Yes.




                                                                 Page 134                                                             Page 136
          1        when these Instances happened. You would agree with        1
                                                                                  Q- All right. After he was promoted and - what was he
          2        me that there could be nothing more serious than If        2      promoted to, lieutenant?
          3        you feel your life Is at risk because you're not being     3   A.    Deputy chief.
          4        backed up. That would t>e something you would              4   Q- Deputy chief. When was this?
          5        document; corect?                                          5   A. February or January. In January.

          6   A.    You can't document and survive at the same time.          6   Q- Of this year?
          7   Q. Okay. You value your life, do you not?                       7   A. Yes.

          8   A. Yes.                                                         8   Q. Okay. After he was promoted, did you tell him, okay.
          9   Q-    Did you value it enough to go complain to anyone, HR      9        now that you've been promoted, can you do something
         10        or any supervisor, that, hey, I'm not being backed up?    10        about this?

         11   A. I felt that it would make it worse for me.                  11   A.    He wasn't promoted until after I left It was, like.
         12   Q. So the answer Is, no, you never complained?                 12        within a week later or so.

         13   A. No, I didn't complain about it. I just changed how I        13   Q. All right. At the time you spoke to him, Matt
         14        did my job.                                               14        Nichols, prior to becoming deputy chief, he was a
         15   Q. Didn't you think that If you felt your life was In          15        high-ranking command officer, though; correct?
         16        danger, that is something worth going to HR or a          16   A. Yes.

         17        supervisor over to complain about?                        17   Q. But you still did not want him to do anything with
         18                MR. MUNGO: Objection, asked and answered.         18        what you had told him; correct?
         19                MR. ACHO: I agree, but I'm asking In a            19   A.    He toid me that the mayor had diosen him for deputy
         20        different way.                                            20        chief but that nobody else In the building knew it, so
         21                MR. MUNGO; It's the same question.                21        he knew that his promotion was coming, so that was the
         22        Counsel. Objection, asked and answered.                   22        context of the conversation. I said, well, you know,
         23                You've got to answer.                             23        make sure you getyour spot first, because I didn't
         24   A.    It would be worse for me if I spoke out.                 24        want them to not give it to him.
         25   BY MR. ACHO:                                                   25   Q. You Indicated tfiat Matt Nichols had been a long time




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          1        friend; correct?                                         1        What Is It you believe Derek Scott would tell me?
          2   A. Yes.                                                       2   A.    About how he was treated and being associated mth me
          3   Q- So prior to lanuary wtien he was a commanding officer      3        and -
          £        for a number of years —                                  4   Q. I'm sorry, its my fault. I should have been more
          5   A. Yes.                                                       5        specific. What is it you believe Derek Scott would
          6   Q. — which he was; correct?                                   6        tell me regarding specifically officers not backing
          7   A. Yes.                                                       7        you up based on race?
          E   Q. You never told him to do anything with your Issues.        8                 MR. MUNGO: Objection, assuming facts not
          g     In fact, you didn't complain to him, did you?               9        In evidence.
         10   A.   I would call it conversation, venting my frustrations   iO   BY MR. ACHO:
         11        about how things were going, and then he would tell     11   Q- Let me go back. I asked you what witnesses could tell
         12        me. In response, how other officers would address him   12        me or speak to officers not backing you up, and you
         13        due to the fact that we were associates.                13        said Debt»e Broach and Derek Scott; correct?
         14   Q- But he still continued his communication with you;        14   A. Yes.

         15        correct?                                                15   Q- All right. You already toid me what Debbie said.
         16   A.    Until February, yes.                                   16      What Is It — If I were to depose Derek Scott, what do
         17   Q. Because he wanted to see you do well in the               17        you believe Derek would tell me regarding that?
         IS     department, both as a high-ranking command officer and     10   A.    Different conversations about safety and us deciding
         19        as a friend; correct?                                   19        to work together whenever possible and his experienra
         20   A.   He even asked me to go to his class and speak to the    20        in how I was treated or reacted to or things that were
         21        class about my unique position and the lack of          21        stated, that there was a difference between me and
         22        diversity in the police department.                     22        other people, other officers.
         23   Q. Because warren wanted to have black police officers;      23   Q- Okay. 1 asked you about complaints. I'm not
         24        right?                                                  24      referring to complaints with HR or a supervisor. You
         25                 MR. MUNGO: Objecbon, assuming 3 fact not       25        told me earlier, when you had a problem with, I



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          I        in evidence.                                             1        believe it was Barnhill, that you confronted him In
          2   BY MR. ACHO:                                                  2        front of a roomful of other officers; right?
          3   Q. Well, they made It clear that they wanted you; yes?        3   A.    No,that was Derek Scott.
          4   A. Yes.                                                       4   Q- Derek Scott, forgive me. But there have been times
          5   Q- Okay. And never at any time did you want Matt Nichols      5      where. If you have an Issue, you had no problem
          6     to do anything with what you discussed with him;            6        talking about that beef with an officer In front of
          7        correct?                                                 7        other officers; correct?
          8   A.  I told Matt that I didn't want to bum a bridge.           8   A.    It would probably be one time every hundredth time.
          9   Q- All right. I know what you said about your                 9   Q- All right. Here's my question. Did you ever address
         10      Inteipretatlon about Debbie Broach's comments, but as     10        fellow ofTicers In a room and say, guys, I feel like
         11      we sit here, nobody in the department stated to you at    11        I'm not being backed up and I feel like It's because
         12      any time that you weren't being backed up because of      12        of my race?
         13      your race, did they?                                      13   A.    No.
         14              MR. MUNGO: Objection, asked and answered.         14   Q. And why not?
         15   A. No.                                                       15   A.    If every time you address something small or to an
         16   BY MR. ACHO;                                                 16        individual you get backlash or you get shunned or not
         17   Q. Can you think of any other factors that contributed to    17        talked to or not Invited to lunch, and you're already
         18        slow response time for runs?                            18        so isolated, why would you continue to poke the bear,
         19   A. No.                                                       19        as they say?
         20   Q. Do you know if any white officers have complained         20   Q. Because you're saying your life could have been on the
         21        about slow response time from fellow officers?          21        line. This Isn't something small. This Is ••
         22   A. No.                                                       22                 MR. MUNGO: Objection. Objection, Counsel,
         23   Q- You've never heard that before?                           23        that's argumentative. And, Counsel, you've asked her
         24   A. No.                                                       24        that question more than - more than three or four
         25   Q. What Is It you believe - you told me Debbie Broach.       25        times.




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                        MR. ACHO: I m clarifying for her.                   Come on.
             BY MR, ACHO:                                                              MR. MUNGO: The award to me would be that
             Q. This is not a small, isolated incident. This is a           you understand what the objection is.
                very - arguably, no bigger deal that you could have                MR. ACHO: I get what you're saying-
                encountered. I don't understand why you wouldn't have              MR. MUNGO: I have to say more and more ~
                broached the subject with your fellow officers -                   MR. ACHO: •- but I have to approach
                       MR. MUNGO: Objection,                                this --
             BY MR. ACHO:                                                           MR, MUNGO: No, Counsel, I have to say more
             Q. - if you really felt your life was in danger.               and more each time because you don't seem to be
                        MR. MUNGO: Counsel, first of all, that's            getting the objection.
                argumentative. And secondly, she's asked and answered               MR. ACHO: Okay. All right,
                the question more than three or four Umes, and I'm                  MR. MUNGO: And my dient -- my dient has
                about to tell her not to answer that anymore.               been under treatment for some while, and, you know,
                        MR. ACHO: You had this deposition                   this is ••
                videotaped. I didn't. There must be some reason, and                 MR. ACHO: Meaning what? Meaning what?
                your reasons are your own, but I'm going to approach                 MR. MUNGO: This is a difficult experience
                this as if we are at trial, and so I'm going to ask         for her emotionally,
                her the questions.                                                     MR. ACHO: I understand. But she has filed
             BY MR. ACHO:                                                   a very serious lawsuit making very serious
             Q. Because I would want a jury to know, if you really          allegations, so guess what? I have, you know, the
               felt your life was on the line, that officers aren't         opportunity to delve into it, and that"s what I'm
                going to back you up, I would think virtually anyone        doing.
                would speak up and say something, but you didn't, and                MR. MUNGO: She has been very seriously
                I'm trying to figure out why,                               >riolated. Counsel, you've got to ask questions --
                        MR. MUNGO: Counsel, that question-                             MR, ACHO: Seriously violated?


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                objection, asked and answered. Counsel, you've asked                MR. MUNGO: Yeah, yeah. You have tt)ask
                that question over and over. She's given you the same       questions. Counsel.
                answer, and that answer has been over and over, that                MR. ACHO: All right.
                she's afraid to speak up because she's treated                      MR. MUNGO: And - and, by the way,
                differently.                                                Counsel, you have asked her for her driver's license,
                         Counsel, that's clearly on the record more         and I believe that she has already provided that to
                than three or four times, and It's getting to the           you, but there is a copy right there, if you want
                point where this is constituting harassment, and my         to"if you want it, before we forget.
                dient, as you can see, is having great difficulty                   MR. ACHO: Okay,
                answering questions that she's required to answer in                   MR. MUNGO: You wanted to see her driver's
                accordance wltti the court rules and the rules of           license.
                discovery, and to go beyond that pale. Counsel, is                     MR. ACHO: I did. So let the record
                just not feir. It's not fair to my dient.                   reflect the driver's license number is
                        Now,if you've got a question that you               H XXX XXX XXX XXX. Thank you.
                haven't asked already, you know, please ask It, or any   BY MR. ACHO:
                other question that's appropriate, but to continue to    Q. In your Complaint --
                ask her why she hasn't made reports ~                              MR, MUNGO: And by the way, I'm a little
                        MR, ACHO; Do you realize you're repeating          concerned about her driver's license number being put
                yourself three or four times In your objection, which      on that record there. Counsel, can you just make a
                Is now a soliloquy?                                         note ~

                         MR. MUNGO: Well ••                                         Can you strike that, ma'am, from the
                         MR, AOHO: Are you expecting a Tony award?          record, her driver's license number?
                I don't know what you're doing.                                     Counsel, can you just write It down in your
                         MR, MUNGO: Well --                                 notes"

                         MR, ACHO: Just state It and let's move.                       MR. ACHO: Sure.




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          1                 MR. MUNGO: - please?                              1   Q. I don't know.
          2                 MR. ACHO: Will do.                                2   A.    Okay.
          3                 MR. MUNGO: Ma'am, did you strike that for         3   Q. Who is the partner that should have been concerned
          A        the record? All right.                                     4     about his life being in danger because he had you as a
          5   BY MR. ACHO:                                                    5        partner?
          6   Q     On page 8 of your Complaint, under section (M),           6   A. Chisholm.
          7      subsection (M), "Plaintiff was repeatedly demeaned and       7   Q. Chisholm. Like ~ spelled like Shirley?
          8      disparaged by defendants' supervisors and white              8   A. Yeah.
          9      coworkers who suggested to her white partner that he         9   Q. What is Chisholm's first name?
         10      should be concerned about his life being in danger          10   A.    He's a detective, and I can't remember now.
         11      because he had an African-American police officer as a      11   Q- Did he tell you he was afraid for his life?
         12      partner due to the Oty of Warren Police [Jepartment's       12   A.    No, but he told me that he was asked if he was
         13      custom, policy and practice of not providing timely         13        concerned about having to be my partner.
         14      backup to plaintiff due to her race and gender."            14   Q. Did he say, having a female partner? Not because you
         15              All right So we have to go through this             15      were black, ifs because you were female?
         16      sort of piecemeal. It starts out that you were              16   A.    No. My understanding was he was — we used to work
         17      repeatedly demeaned and disparaged by defendants'           17        together on patrol, then I was promoted to detective.
         18      supervisors and coworkers. Let's stop there.                18        He was the next detective to come up. So the question
         IS              What supervisors repeatedly demeaned and            19        that he kept getting asked is, man, how do you feel
         20      disparaged you?                                             20        about having to go up there and work with Howlett?
         21   A. I was told that I was used as an example in the             21        Just me specifically.
         22     promotion interviews when they asked how the                 22   Q. And that could have just been a personality thing, not
         23     candidates felt about affirmative action, and my             23     because you're black; right?
         24     supervisor called me In his office and was excited to        24                MR. MUNGO: Objection.
         25     tell me how he was able to use me as an example              25   A. I don't know.




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          1        because he's the only person in the department with a      1   BY MR. ACHO:

          2        black employee,and he said that he told them that 1        2   Q. You don't know. In fact, you were promoted to
          3        was a — she's even a hard worker,as if it's some           3     detective; correct?
          4        type of anomaly and those two things dont go               4   A. Yes.

          5        together,so...                                             5   Q. Do you think the department. If they had this
          6   Q. Who is this supervisor?                                      6        tremendous avarice against you, would have promoted
          7   A. Sergeant Mills.                                              7        you to detective?
          8   Q. Sergeant Mills?                                              8   A. Ifs based on scores.

          9   A. Yes.                                                         9   Q. But they could have found a way to prevent promoting
         10   Q. You said Sergeant Mills was excited to tell you.            10        you if they wanted to, couldn't they?
         11        Wouldn't that suggest to you that he wasn't trying to     11   A. I'm not sure.

         12        demean or disparage you, that he was being                12   Q. Who promoted you to detective?
         13        complimentary?                                            13   A.   I would say the City as a collective.
         14   A.   By saying that black people work hard?                    14   Q. But weren't you called In by one of your commanding
         15   Q. Tm just asking you. You said he was excited.                15        officers and told, hey, you're being promoted to
         16   A. Again,I think that he was trying to compliment me.          16        detecbve?
         17        but it's not complimentary.                               17   A.   I just remember being on a list and they just go by
         18   Q- Because he's awkward and goofy because he doesn't know      18        number,so... by the time they got to my number,I
         19      how to act around a black person probably; right?           19        don't even think I was In town at that time.
         20               MR. MUNGO: Objection, assuming a fact not          20   Q- Well, how did you find out that you were to show up In
         21        in evidence.                                              21      plain clothes and report to the detective's office?
         22   A. He told me —                                                22   A.   Somebody called me. I was out of town and they were
         23   BY MR. ACHO:                                                   23        going to have a promotion ceremony on a certain date
         24   Q. Isn't that what a lot of this is, is awkward ~              24        and they were wondering If I would be back In time for
         25   A. After ten years?                                            25        that, but 1 don't remember who the call was from.




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          1   Q. Were you back in time?                                           1   Q. Okay. Did you ever talk with Houtos about your shared
          2   A. Yes.                                                             2     experiences at the Detroit P.O.?
          3   Q. So you were at the promotion ceremony and awarded at             3   A.    We talked about •• he got promoted prior to me,so I
          A        the promotion ceremony with your promotion to                  4        would ask him a lot about techniques to study.
          5        detective; correct?                                            5   Q. Did you ever sort of swap war stories from De&oit?
          6   A. Yes.                                                             6   A. I dont recall that
          7   Q- And the police commissioner was there; correct?                  7   Q- Okay. When did you work with Sergeant Houtos?
          8   A. Yes.                                                             B   A. He was never my direct supervisor. He just came and
          9   Q- All right. And the commanding officers were present;             9        specifically asked me this question.
         10        correct?                                                      10   Q. Did you ever work with him in invesUgations?
         11   A. Yes.                                                            11   A.    He was assigned out. We worked on two different
         12   Q. All of them white males; correct?                               12        sides.
         13   A. Yes.                                                            13   Q. Okay. Was he ever your sergeant?
         14   Q. And all of them congratulated you, did they not?                14   A. No.
         15   A. Yes.                                                            15   Q. All right. This blue-black and red bone comment, do
         16   Q. Did you believe they were happy that you had been               16        you know the context in which it came up?
         n         promoted?                                                     17   A. He told me that his wife works with a lot of black

         18   A. I don't know.                                                   18        people and they're using slang or saying certain
         19   Q. They expressed that to you, though; correct?                    19        terminology, and so they wanted clarification or a
         20   A. Yes.                                                            20        definition of those terms.
         21   Q. When Chisholm allegedly told you that people were               21   Q. Okay. Isn't it true that Houtos was working a case
         22        telling him that he should be worried about having you        22     and the term "blue-black and red bone" came up In the
         23        as a partner, how did you respond to Chisholm?                23        context of a case he was investigabng?
         24   A.    Chisholm directly said, right after that, they don't         24   A. No.
         25        even know that you and I used to work together,so he          25   Q. All right. Didn't- a victim didn't describe a


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          1        already had a rapport, and then that was it                    1        suspect as blue-black and Houtos was asking your
          2   Q- So Chisholm blew it off, in essence?                             2        advice as to what that meant?
          3   A. Yes.                                                             3   A. No.
          4   Q. Did you ever hear within your earshot or did anyone              4   Q- You would agree that Houtos was Just asking for your
          5     ever say to you, hey, you're putting your partner's               5      help in this situation?
          6        life in danger?                                                6   A.    My help as a black person, yes.
          7   A.    No.                                                           7   Q- Yes. Because as a white person, he didn't know what
          S   Q. After Chisholm made that comment to you, you did not             8      blue-black meant; right?
          9        go to HR or any supervisor and report it, did you?             9   A. Yes.

         10   A.    No.                                                          10   Q- You didn't have any reason to believe that Houtos was
         11   Q. And again, you know the policies and procedures and             11      trying to insult you or demean you, did you?
         12      code of conduct for the department; correct?                    12   A.   I just know that we don't have conversation, and I
         13   A.    Yes.                                                         13        don't want to be asked everything regarding a race of
         14   Q. On page lO of your Complaint, l3(q), that's                     14        people. I'm not the source on that, you know.
         15     "Sergeant Paul" — is It pronounced Houtos?                       15   Q. I get that you don't want to be the source or the
         16   A.    Houtos?                                                      16        token or any of those things, but couldn't it be that
         17   Q- -- "Houtos asked plaintiff, what Is up with this
                                                                                 17        these people aren't trying to insult you or demean
         18        blue-black thing and is it similar to red bone."              18        you, they Just don't know any other way to ask and
         19                First of all, you knew Sergeant Paul Houtos           19        maybe it just comes off as awkward, but Uiere's no
         20        because you both came from Detroit P.O.; correct?             20        real intent to be mean?
         21   A.   I didn't know him from Detroit, but, yes, we botii came       21   A.   You can Google it.
         22        from Detroit.                                                 22                 MR. MUNGO: Objection, assuming a fact not
                                                                                 23        in evidence.
         23   Q. But you didn't ever interact with him when you were in
         24        Detroit?                                                      24                 Go ahead, you can answer.
         25   A.    No.                                                          25   A.   There's so many resources for information. You can




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                                                               Page 153                                                             Page 155
          1        Google things, you know.                                  1         or ~

          2   BY MR. ACHO:                                                   2                 THE WITNESS: Huh-uh.
          3   Q. So Houtos asked you, what's this blue-black mean.           3                  MR. ACHO: Well, you know what? Lefs sort
          4        What was your - what was your response to him?            4        of"
          5   A. I told him it's about skin color.                           5                  MS. RAE-O'DONNELL: Take a quick break.
          6   Q- Okay. And you weren't angry when you answered, were         6                  MR. ACHO: Yeah, and sort of ~
          7      you?                                                        7                  VIDEO TECHNICIAN: Off the rerord, 1:44.
          8   A.   Again, you don't express anger, discontent, anyttiing.    8                 (Off the record at 1:44 p.m.)
          9        You just get through each moment and you survive that     9                 (Back on the record at 2:04 p.m.)
         iO        moment until the next thing.                             10                  VIDEO TECHNICIAN: Back on the record,
         11   Q. Houtos had no reason to believe that you were angry or     11        2:04.
         12        upset at him asking you, did he?                         12    BY MR. ACHO:
         13   A.   No.                                                      13    Q. Ms. Hewlett, in your Complaint on page 6, 13(g), you
         14   Q. All right. You didn't say to him, hey, Paul, you           14      allege ~ and these allegations are regarding Shawn
         15        know, why are you asking me?                             15      Johnson - you allege that when he was a sergeant,
         16   A.   No.                                                      16      that he only allowed white officers to come into his
         17   Q. You just answered; right?                                  17      office to use a color copier, and that he told you to
         18   A. Yes.                                                       18      go somewhere else to make color copies; is that
         19   Q- So Houtos wouldn't have thought there was anything         19        correct?
         20      wrong; correct?                                            20    A. Yes.
         21   A.   No.                                                      21    Q. Is that your only allegation against Shawn Johnson?
         22   Q. And you never went to HR or any other supervisor and       22    A. Yes.
         23     complained about Paul Houtos, did you?                      23    Q. Isn't it true that you and Sergeant Johnson were in
         24   A.   No.                                                      24        separate units?
         25   Q- Isn't it true that Houtos gave you helpful studying        25    A. Yes.



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          1        Bps when you were preparing for the corporal exam?        1   Q. Isn't It true that you were not In the same ^>ecial
          2   A.    He basically told me to not study like you do when       2      investigative unit with Sergeant Johnson?
          3        you're In college because this is not the same.           3   A. True.

          4   Q- But he was trying to be helpful in his remarks to you;      4   Q. You were close to his unit, but you wee not in the
          5      right?                                                      5      same office; correct? Yes?
          6   A.    Right.                                                   6   A. Yes.

          7
              Q. And he came up to you and complimented you when you         7   Q. And It's true you had a color copier for your special
          8     did well on the exam, didn't he?                             8      unit; correct?
          9   A. Yes.                                                        9   A. No.
         10   Q. Did Houtos ever discipline you in any way?                 iO   Q. You did not?
         11   A. No.                                                        11   A. No.

         12   Q. Have you told me all of your allegations against Paul      12   Q. Where did that unit make color copies?
         13        Houtos?                                                  13   A. Family investigations was where 1 was assigned, and we
         14   A. Yes.                                                       14      didn't have our own color copier.
         15   Q. There's no other allegations against Houtos?               15   Q. At one point, you were using the color copier in
         16   A. No.                                                        16      Sergeant Johnson's; correct?
         17   Q- He didn't make any other remarks to you that you           17   A. Yes.

         16      believe were based on your protected status as a           10   Q. And he told you that the color copier was not for
         19        female or African-American, did he?                      19      other units; correct?
         20   A. No.                                                        20   A. No. He just asked if there was somewhere else that I
         21                VIDEO TECHNICIAN: I have to switch tapes.        21      could go to make copies.
         22                MR. ACHO: Well, quick or-                        22   Q. But didn't he tell you that his unit had private and
         23                MR. MUNGO: Potty break.                          23      confidential information that should not be ^red
         24                MR. ACHO: Yeah, yeah, we want to keep            24      vwth other units, and he ddnt want anyone from other
         25        going. How do you feel? You need something to eat        25      units coming in there?




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          1   A.    No.                                                       1                 VIDEO TECHNICIAN; Off the record.

              Q- He never told you that?                                      2                 (Off the record at 2:09 p.m.)
          3   A.    No.                                                       3                 (Back on the record at 2:10 p.m.)
          A   Q. Is it true that Sergeant Johnson could restrict which        4                 VIDEO TECHNICIAN: Back on the record,
                   investigation units had access to the equipment for        5        2:10.
          6        his unit?                                                  6   BY MR. ACHO:
          1   A.    Not to my knowledge. It was common practice for           7   Q. The allegations regarding Sergeant Johnson and the
          &        people to go in there because you're on a floor with       8        color copier, how long ago was this?
          ?        only two copiers, so people would just use the two         9   A.    Within the last two years.
         IC        copiers, the two color copiers.                           10   Q- Okay. The allegations •• and I know we're stepping
         u    Q- Ail right. What facts or evidence do you have that          11      back, but regarding Paul Houtos, how long ago - the
         12     Sergeant Johnson did not aiiow you to use the color          12        blue-black, red bone comment, how long ago was that?
         13        copier from his unit because you are African-American?    13   A.    Same time frame, round about two to two-and-a-half
         lA   A.   The fact that all my coworkers who are white would go     14        years.
         15        n and didn't — they were never asked not to use it.       15   Q- Okay. So Paul Kelly and Dale Maiesh, you Indicate,
         16        and I am the only person that he asked to go elsewhere    16      would continuously approach you with exfreme sexual
         11        to make my copies.                                        17        overtones and asking you to go on dates; is that
         18   Q. Okay. Did you go to HR or a supervisor and complain         18        right?
         19        about this?                                               19   A. Yes.

         20   A. No.                                                         20   Q. Okay. When Is the last time you ever worked with
         21   Q. Are there any witnesses that would testify that they        21        either Raul Kelly or Dale Maiesh?
         22      were all able to make color copies from that special        22   A.    Because I was assigned to the jail and then promoted
         23        unit and you were not?                                    23        to detective, I didn't work with them one on one, but
         24   A.   They should all be able to testify that they were able    24        I would just see them In passing.
         25        to use it.                                                25   Q. Okay. But you haven't seen them in years; correct?



                                                                Page 158                                                               Page 160
          1   Q      Okay. When Sergeant Johnson said to you, look, you       1   A.    Well, Paul Kelly, yes, but not Dale Maiesh, no.
          2         can't use this color copier, what was your response to    2   Q. Dale Maiesh has not worked for the City of Warren
          3         him?                                                      3        Police Department in over six years; correct?
          4   A I just stopped going in when he was there.                    4   A.    Well, what happened, he had a position where he wasn't
          5   Q Did you say to him, hey, look, other officers from my         5        technically a Warren police officer anymore, but he
          6         unit are able to use this copier, why aren't I?           6        was assigned to the schools as a retired police
          7                                                                   7        officer —
              A      No.
          B   Q      Why not?                                                 8   Q. Okay.
          9   A      Never trying to be confrontational.                      9   A. — and that's when I would see him.

         10   Q      So you have no documented complaint as to this          10   Q. So when's the last time you have seen him?
         11         allegation?                                              11   A.   It's probably been three - three or so years, yeah.
         12   A      No.                                                     12   Q. Okay. And when's the last time you've had
         13   Q      Do you have any other ailegations regarding Sergeant    13      conversations with Paul Kelly?
         14         Johnson, any other comments he made to you based on      14   A.   I would just bump Into Paul in the main office area of
         15         race or sex?                                             15        the lobby of the police station or coming In and out
         16   A      No.                                                     16        of dispatch. Just at different times, we would cross
         17   Q      Did Sergeant Johnson ever discipline you?               17        paths,
         18   A      No.                                                     18   Q. You never were his partner?
         19   Q      13 •• and these sort of bounce around -- (e),(n), (r)   19   A. We did answer runs together sometimes, but not

         20         and (t), and it's just in that same -- most of your      20        assigned to each other, no.
         21         allegations are contained within 13, so I'm referring    21   Q- You worked in patrol with him?
         22         to Paul Kelly, Dale Maiesh, Officer Dean. You            22   A. Yes.

         23         indicate that Paul Kelly and Dale Maiesh --              23   Q. How long ago would have been the last time you worked
         24                 MR. MUNGQ; Excuse me just a minute. Let's        24      patrol with Paul?
         25         go off the record.                                       25   A.    He actually was assigned to the traffic unit and they




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          1         get assigned to patrol runs. They're, like, our           1   A.   Stieber [ph].
          2         assist where they back us up.                             2   Q. Stieber. Did you send scantily clad photos of
          3   Q      Okay. So how long ago are we talking?                    3      yourself to Stieber'
          4   A     I was detective for almost two years. I was in the        4   A. Stieber text me when I was on vacation. He asked me

          5        jail together before that,so it would have been while      5        what I was doing. I said, I'm sitting poolside, and
          6        I was still on patrol, so maybe four years ago.            6        then he said, send me a picture, and I sent him a
          7          Okay. Now, you said ttiey approached you with,                    picture of me poolside.
              Q
          e        "extreme sexual overtones." I need you to be               e   Q- But did you also send him other photos?
          9         specific. What do you mean by that?                       9   A. No.
         10   A.    Paul wanted to take me flying and asked me to go on      10   Q- That was just the one photo?
         11        lunch dates or go out to the bar with him after work.     11   A. Yeah.

         12        and then he alluded that if I didn't, that he might       12   Q. Did you ever sext - sexually text with him
         13        not be as friendly or continue to show up to a lot of     13        explicitly?
         14         my stuff like he had been doing in the past.             14   A.    No.

         15   Q      But what Is sexual In asking you to go out to a local   15   Q- Did you ever send photos of yourself to any other
         16         bar or tavern as police officers often do?               16        officers?
         n    A.    Well, no, he's married.                                  17   A.    No.

         18   Q     Okay.                                                    18   Q. Did you ever tell Paul Kelly that you wanted to sleep
         19   A. And he would be — it's the tone of it and It's the          19        with Stieber?

         20        leaning into you — you know when a person is trying       20   A.    No.

         21        to address you in a different way that's not just         21   Q. Did you tell other officers that?
         22        social.                                                   22   A. I do recall making a comment about we would make a
         23   Q     Isn't it true that when Paul Kelly invited you out to    23        cute baby.
         24         a local tavern, that there were other officers that      24   Q. Besides that, though, did you ever say, if I was going
         25         were going to be there?                                  25        to blank a white guy, it would be him?



                                                                 Page 162                                                         Page 164
          1   A.    He asked me more than one occasion, so maybe one time     1   A. No.
          2        diere were going to be other people.                       2   Q      Did you ever complain to MR or anyone else about Paul
          3   Q. Did he ever ask you to go out one on one?                    3         Kelly inviting you out?
          4   A. Yes.                                                         4   A. No.
          5   Q. Did he ever say anything to you sexual?                      5   Q      What comments did Malesh make to you?
          6   A.    He talked in a sly manner, like with sexual overtones.    6   A. Maiesh wanted me to come to the school and have
          7   Q. I guess you have to educate me because I don't - 1           7        lunches with him at the school property, told me he
          8        don't understand.                                          8        would buy the lunches If I would just show up from
          9   A.    Well, like, there's one employee there that's half        9        time to time to come eat with him.
         10        Asian and he's like, I'd like to put my other half in     10   Q      How Is that sexual?
         11        her. So it would be those kind of comments, you know.     11   A.    He is just —
         12   Q. He said that about her?                                     12               MR. ACHO: You're writing really large. I
         13   A.    Right                                                    13        hope you're not — you're not doing what I think
         14   Q- But has he said anything like that to you?                  14         you're doing.
         15   A.    Again, the repeated asking me to go out and then         15                    MR. MUNGO: Now you're -- now you're being
         16        etting me know that he was gonna stop helping me If I     16        nosey.
         17        didn't go out with him.                                   17               MR. ACHO: I'm being nosey because it's my
         18   Q. So when he asked you to go out, what was your               18        dep. I hope you're not doing what I think you're
         19        response?                                                 19        doing.
         20   A.   I would always just say no or that I was busy or had      20                    MR. MUNGO: Well, oh, oh, oh, oh, no, no,
         21        other plans.                                              21        no, no, no, no, no.

         22   Q. Do you know an officer that they used to refer to by        22                    MR. ACHO: IVe never saw somebody write
         23        the name of Junior?                                       23        with eight-inch font.
         24   A. Yes.                                                        24                MR. MUNGO: No, no, no. Oh, no, I just -
         25   Q. Okay. What's his name?                                      25                    MR. ACHO: Ail right.




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          1                   MR. MUNGO: You realiy -                        1   A. No.
          2                   MR. ACHO: I'm paranoid, man. I'm a             2   Q. On page 10, 13(r), you reference an Office' Dean.
          3        lawyer. I stay Jaded.                                     3       Who's Officer Dean?
          4                  MR. MUNGO: Thafsokay.                           4   A. Dean Toward.
          5   BY MR. ACHO;                                                   5   Q. So Dean is his first name?
          6   Q- What ••                                                     6   A. Yes.
          7            MR. MUNGO: Go right ahead. Counsel.                   7   Q. How is Toward spell?
          e   BY MR. ACHO;                                                   8   A. T-o-w-a-r-d.
          9   Q- What about asking you to come to a school and have          9   Q, And Is Dean Toward sHIl employed with the City of
         10      lunch at a school In a public setting Is sexual?           10       Warren, as you know?
         11   A.    He also asked me to go out after duty, when we're not   11   A. Not anymore.
         12        working. He always wanted me to stop by the office.      12   Q. Where is he at?
         13   Q- Let me stop you there real quick. Isn't It true that       13   A. I don't know.
         14        officers at Warren Police Department and other police    14   Q. Do you know the circumstances by which he left Waren?
         15        departments go out for a beer after or go to happy       15   A. I think It was a lawsuit.
         16        hours --                                                 16   Q. He sued Warren?
         17                  MR. MUNGO; Objection, assuming —               17   A. Yes.
         18   BY MR. ACHO:                                                  18   Q. Do you know what the basis of the lawsuit was?
         19   Q. — as you know?                                             19   A. Something about a whistlebiower kind of thing. I
         20            MR. MUNGO: Objection, assuming a fact not            20       don't know all the details.
         21        In evidence.                                             21   Q. You assert that Officer Dean Toward asked you your
         22   BY MR. ACHO:                                                  22       level of education so he would know how to speak to
         23   Q. Based on your experience, don't officers fraternize?       23       you.
         24   A. Some officers fraternize and some officers date each       24   A. Yes.
         25        other, yes.                                              25   Q, When was this comment allegedly made?


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          1   Q. All right. So If officers ask you to come out to a          1   A. It was early on in my career, after I was out of the
          2        bar for happy hour, there's nothing sexual In that        2      FTO program and whenever I got assigned to the same
          3   A.    When we go as a group, no.                               3      shift as him, which would have been day shift.
          4   Q. Isn't It fair to say that you complained about being        4   Q. So It could have been seven, eight years ago?
          5     shunned, but then when certain officers would go out         5   A. Yeah.

          6        of their way to make you feel Included, you would         6   Q. Where were these comments allegedly made?
          7        rebuff their attempts?                                    7   A. We were on the street.
          8   A.    No, because it's In a sexual manner. I can't be your     8   Q. Were you working?
          9        friend unless we're having sex? That's the                9   A. Yes.

         10        difference.                                              10   Q. Were there any witnesses to this comment?
         11   Q. Did anyone ever say that to you?                           11   A. No.
         12   A. That's what I'm telling you the difference Is, though.     12   Q. Do you know for certain that that comment was based on
         13        of when I'm being asked out versus when I'm not being    13      your race or sex?
         14        talked to at all.                                        14   A. Well, I've heard him say It other times, and he's
         15   Q. So that's your Interpretation of their comments, Is        15      generally talking to black people or people who live
         16        that It was sexual.                                      16      on the south end of Warren. They get treated quite
         17   A.   It's my experience.                                      17      differently, to say the least.
         18   Q- But It's your Interpretation.                              IB   Q. Differently by whom. Dean Toward or other officers?
         19   A. It's my experience.                                        19   A. Dean Toward and other officers.
         20   Q. I understand. But since there Is no sexual words           20   Q. You believe that other officers treat people on the
         21      made, sexual references, you're Interpreting their         21      south side of Warren differently, Is what you're
         22        overtures as sexual.                                     22      saying?
         23   A. Yes.                                                       23   A. Yes.

         24   Q. Did you ever complain to HR or anyone else regarding       24   Q. In what way?
         25        Malesh?                                                  25   A. Just disrespectful, whether cussing or talking to them




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          1        in a demeaning way as If they're less educated or           1        wrote down; correct?
          2        maybe they don't pay as many taxes. Or a lot of them        2   A.    Well, if you were there, you would know he's looking
          3        are renters,so they'll say stuff like you need to go        3        at me,trying to get a response, egging me on,and
          A        back south of Eight Mile, and, you know,just —              4        then he follows me to the next scene and continues
          5   Q- Have you heard officers tell people you need to go            5        with the badgering, you know.
          6      back south of Eight Mile?                                     6                  MR, MUNGO; V/hat badgering?
          7   A.    Over at my time there, yes.                                7   BY MR. ACHO:
          8   Q. And did you speak out?                                        8   Q. I don't know exactly what badgering you mean.
          9   A. No.                                                           9   A.    He's saying -• I'm arresting a black person •- what
         10   Q. Did you ever complain?                                       10        are you trying to do,single-handedly take down all
         11   A. No.                                                          11        blacks or gays, right after the N word.
         12   Q. When Officer Dean allegedly made that comment, did you       12   Q- Give me the context in which that comment was made.
         13        go to HR or anyone else and complain?                      13        What do you single-handedly try - what do you mean?
         14   A. No.                                                          14   A. I~

         15   Q- How long has Officer Toward been gone from Warren, If        15                  MR. MUNGO: Don't talk In code. Tell
         16      you know?                                                    16        him"just spell It out.
         17   A. I'm not sure what his exact date was that he left I          17   BY MR. ACHO:
         18        don't know.                                                18   Q. Right. I mean, I don't -1 don't know the context,
         19   Q. 13(t), which is right under there, you said.                 19                  MR. MUNGO: Spell It out.
         20     "Plaintiffs white male coworker openly and repeatedly         20   BY MR. ACHO:

         21        used and said 'nigger' in front of plaintiff and In        21   Q- Thafs a whole different comment, now, that I'm not
         22        the presence of other white officers."                     22        aware of. Where were you when Jason Booms said, are
         23                 You see that?                                     23        you trying to take down all gays?
         24   A. Yes.                                                         24   A. We were at a run.

         25   Q- Who Is this white coworker?                                  25   Q. Approximately when? Rve years ago? Two years ago?


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          i   A. Jason Booms.                                                  1        Seven years ago?
          2   Q. Jason Booms. And when did this occur and how many             2                  MR. MUNGO: If you recall.
          3        times?                                                      3   A.   I don't recall exactly when, but the black person ttiat
          4   A.   It was back when I was still on patrol again before 1       4        I was arresting had a warrant for their arrest.
          5        went to the jail. We were at different runs together.       5   BY MR. ACHO;

          6        and, like, if someone wrote It on a piece of paper the      6   Q. Okay.
          7        other officers would say, and the N word, but Jason         7   A.   And this Is the run right after he was saying the
          8        would always say the full blast of It, you know.            8        N word stuff. Okay?
          9   Q- So they would actually write the N word In the report?        9   Q- Okay.
         10   A. No. Like, say you get to somebody's house and that           10   A.   This is the very next run and then he says, oh, look
         11        person has written It on a piece of paper. So the          11        at you now,trying to single-handedly take down blacks
         12        other officers would say, the N word,and then Jason        12        and gays. So ••
         13        would get it and just read It and say It full on, you      13   Q.    Well -

         14        know.                                                      14   A.   »the two things back to back. And of course I
         15   Q. I don't really know, What -- who -- why would it be          15        didn't say anything.
         16      written on paper? I don't follow.                            16   Q. Was one of the people gay? Where did that ••
         17   A.   1 don't know why the person wrote It on a piece of         17   A.   The guy had very feminine characteristics.
         18        paper.                                                     10   Q. Fair to say he was joking with you, Jason Booms?
         19   Q. What person, the officer?                                    15   A. I have"no.

         20   A.    No. It would have been a citizen's house that we were     20   Q. Did you have the type of reiationshlp with him where
         21        at It might be on paper at the citizen's house.            21        you would joke back and forth?
         22   Q. And they would write it on paper, and so he would just       22   A.    No.

         23      repeat what they said.                                       23   Q- When Is the last time you worked with Jason Booms?
         24   A. Yes.                                                         24   A. A very long time.

         25   Q. Welt, that's -- that's just him reading what a citizen       25   Q.    Years?




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          1   A. Yes.                                                        1   A.   She was talking about another black man, though.
          2   Q     More than three years?                                   2   Q. Okay.
          3   A. Yes.                                                        3   A. Appropriate?
          4
              Q. Did you ever go to HR or any supervisor and complain        4   Q. I'm going to ask you the questions.
          5        about Jason Booms' comments?                              5   A.   Okay. Go ahead.
          6   A.    No.                                                      6   Q- You guys were friends. Did you have lunch together?
         "

              Q- Barbara Beyer. Barbara Beyer Is no longer a defendant       7   A.   Uh-huh, yes.
          E        In this lawsuit; is that correct?                         8   Q. Did you make a complaint to HR or anyone else about
          a
                            MR- MUNGO: That's correct.                       9        Barb Beyer?
         10   BY MR, ACHO:                                                  10   A.   I talked to Sergeant Mills and Matt Nichols about it.
         11   Q. Okay. Do you know why that Is?                             11   Q. Okay. And was a complaint lodged? There was a formal
         12   A. No.                                                        12        complaint against Barb Beyer; correct?
         13   Q. You Initially sued her; correct?                           13   A. Yes.
         14   A. She was named as a defendant, yes.                         14   Q. Who is no longer a defendant in this case; correct?
         15   Q. Right. And why did you name Barbara Beyer as a             15   A.   Based on you telling me that today, yes.
         16        defendant?                                               16   Q. Based on your attorney confirming that she is not;
         17   A.    Because she was screaming,that nigger,that nigger.      17        correct?
         18        at me.                                                   18   A.   Okay. Yes.
         19   Q. At you, or out loud within your earshot?                   19   Q. But you don't know why she Is not.
         20   A. Out loud within my earshot.                                20   A.   No.

         21   Q- All right. Can you tell me the context of that             21   Q. Okay. Do you know what happened to Ms. Beyer as a
         22      situation, why the woman used that word?                   22      result of the complaint?
         23   A.    I was going around the corner to ask her a question.    23   A.   No.
         24        I had come back from vacation and I couldn't find        24   Q. Do you know that she was given discipline action?
         25        certain documents,so I didn't know if they ever log      25   A. No.



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          1        things or do they just randomly place them on a desk.     1   Q-    You've never tieen told that?
          2        So when I turned the corner,she looked at me and she      2   A.    No.
          3        started screaming, that nigger, that nigger.              3   Q. If she was, in feet, handed disciplinary action, you
          4               So being in police mode,I decide to look           4      would agree that would be the right approach for the
          5        out the glass because I'm assuming there's some type      5      City of Warren Police Department to take for her using
          6        of threat or something that needs to be addressed. I      6     those epithets.
          7        look out the glass and there's no one standing there.     7   A. Yes.
          8        Her office, besides it being encased in glass, there's    8   Q. 13(f), you discuss Officer Roland Bell. You know
          9        a glass door. I look out of the glass door, there's       9        Officer Roland Bell?
         10        nobody in the hallway. So whatever she's talking         10   A. Yes.

         11        about is not current for her level of agitation or       11   Q. You make allegations that, "He asked plaintiff why she
         12        whatever you want to call it.                            12      was walking gingerly after having a fibroid removed,
         13               So when she screams out, that nigger, that        13      and when plaintiff explained to her" -- "when
         14        nigger would have killed me if the glass wasn't there,   14      plaintiff' -• strike that, let me start over.
         15        it threw me, so I kind of fell back. She grabbed a       15               "Roland Bell, white male, asked plaintiff
         15        hold of my arm so I don't, like, fall ail the way        16      why she was walking gingerly after having a fibroid
         17        back, and then she goes,I didn't mean you, not you.      17      removed, and when plaintiff explained, he told her,
         18        I was going to tell you the story anyway.                18     'no, it's because of ail that big, black dick in
         19   Q- And did she tell you the story?                            19      you.'"
         20   A. Yeah.                                                      20               Do you see that?
         21   Q. Okay. Because you and Barb Beyer were friends; right?      21   A. Yes, sir.
         22   A.   I thought. We were friendly. We would bring each         22   Q-    Did he make that comment?
         23        other lunch sometimes and go out.                        23   A. Yes.
         24   Q. Right. So she wasn't using that word against you, was      24   Q. And he made that to you in a total joking fashion, did
         25        she?                                                     25        he not?




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              A. No.                                                              1        just driving at, he was just joking with you, wasnt
          2   Q- You and Roland Bell would joke with each other; right?           2        he?
          2   A. Roland Bell would bring me diapers for my Goddaughter.           3   A.    Okay.
          4   Q- Right. For - in fact, he brought you diapers and                 4                 MR. MUNGO: You — you -- you -
          5     formula when he thought you were adopting that child,             5   A. I said ~
          6        did he not?                                                    6                 MR. MUNGO: He's asking you a question.
          7   A.    Yes, and I also gave him money when his son died.             7        You have to answer.
          e   Q. Five to ten times, though, he and his wife brought you           8   A. I said that I was offended and I said that it wasn't a
          9      diapers and formula, did they not?                               9        joke to me.
         iO   A. Yes.                                                            10   BY   MR. ACHO:
         11   Q. And Roland Bell coaches an all-black footeall team.             11   Q. Ali right. Did you say, Roland, I'm offended by ttiat?
         12        doesn't he?                                                   12   A.    No.

         13   A. Yes.                                                            13   Q. If you had such a relationship with him, why wouldn't
         14   Q. So this Isn't like a white guy that dislikes black              14        you have said that to him if you were, in fact,
         15      people, is It?                                                  15        offended?
         16   A.   It comesfrom the people that are closest to you. The          16   A.   I had become in habit of being offended and not
         17        people who you talk to are the ones that are doing            17        addressing it all the time,just allowing things to
         le        these things.                                                 18        kind of roll off so that I wouldn't hinder the few,
         19   Q. But he was Joking around with you, wasn't he?                   19        you know, occasions that I had to talk with certain
         20             MR. MUNGO; Objection, assumes a fact not                 20        people.
         21        in evidence.                                                  21   Q- Was anyone else present when Bell allegedly made that
         22   BY MR, ACHO:                                                       22        comment?
         23   Q. Let me ask you this: This guy brings diapers and                23   A.   No.

         24        formula to your house five to ten times.                      24   Q- Isn't it true that after that comment, you and Bell
         25   A.    Not to my house, but...                                      25      continued on to be friends and joke with each other?



                                                                  Page 178                                                             Page 180
          1   Q. I'm sorry, to you. Because the understanding In the              1   A.    Yes.
          2     department was that you were adopting a child. Do you             2   Q- And he brought you diapers and formula after that
          3         believe that his comment to you was anything other            3   A.    Yes.
          4         than a joke?                                                  4   Q- And you never complained to HR or anyone else about
          5   A.    Rrst and foremost, working In the jail, 1 needed the          5        this alleged commentfrom Roland Bell; correct?
          6        guys to know that Z wasn't fully fit, that I was               6   A.    No.
          7         hurting that day, so I let them know that I had had           7   Q- He's a good guy, you would agree?
          e        the procedure done to make sure that they are extra            8   A. He has his problems, but he's fine.
          9        aware and pay attention to me on the floor for that            9   Q. 13(h), "Defendant Arthur Gill, white male, former
         10        day.                                                          10     sergeant, removed plaintiff from her day shift in
         11                So in saying that, it's a personal female             11     favor of a similarly situated white female officer,
         12        thing, but If I'm not walking fully brisk and all of          12     despite the fact that the white female officer had
         13        that, so then just leave it at that Why do I have to          13     less seniority than plaintiff who was entitled to fill
         14         be getting banged up by a big, black dick to be              14     that position based upon her higher seniority."
         15        walking tenderly when I just told you I just had a            15              Now, you say Defendant Arthur Gill is a
         16         medical procedure.                                           16     former sergeant. Was he removed as a sergeant or is
         17   Q- Because he was making a joke, wasn't he?                        17      he retired? Do you know?
         18   A. Okay.                                                           18   A.  1 don't know his status, if he fired or quit or
         19   Q- Didn't you and Bell used to joke with each other all            19      retired, but he's just not there at this time.
         20         the time?                                                    20   Q- Okay. And how long ago did Arthur Gill leave the
         21   A.    Not In an offensive manner.                                  21        Warren Police Department?
         22   Q- Didn't you and Bell used to joke with each other all            22   A.    It's been a couple of years.
         23         the time?                                                    23   Q- Okay. This specific allegation, can you tell me about
         24   A.    We had a casual relationship.                                24        this incident?
         25   Q. So you may have Interpreted it as offensive, but I'm            25   A.    That's when I was hit by the drunk driver.




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                                                                 Page 181                                                           Page 183
         :     Q-    In 2011?                                                 1   Q. It was a magnanimous thing for them to do?
          2    A.    5-5 of 2011, Clnco de Mayo,and then I ended up being     2   A. Yes.
          3         off for the four months, and when I came back,I got       3   Q. It was a generous thing for them to do?
          i         put on midnight shift, but Krystal Gill, who used to      4   A. Yes.
          5         be Krystal Gogo, his wife, who has a year less            5   Q. And ifs because they knew that you were dealing with
          6         seniority than me, was allowed to have the day shift      6        this situation with this child.
          1
                    position.                                                 7   A. Yes.

         (     Q. Could it have been simply a case of nepotism and not        8   Q. Do you know whose call that was?
          c
                    anything to do with race?                                 9   A.    No.

         10                 MR. MUNGO: Objection, assuming facts not         10   Q. Did you ever thank anyone for that?
         11         in evidence.                                             11   A. I don't recall.

         12    A. I'm not sure.                                              12   Q. Dawn McLane is listed in your Complaint as a
         13    BY MR. ACHO;                                                  13        defendant There are no specific allegations in the
         14    Q. Do you have any evidence that Gill made that shift         14        Complaint as to Dawn McLane, but I see her listed
         15         change because of your sex or race?                      15        individually. Can you tell me what your specific
         16    A.    No. 1 just know that after X was put on the night       16        allegations are against Dawn McLane?
         17         shift I got hit by a drunk driver, and I would never     17   A.   That was just the first time that 1 had talked to
         18         have been on my way to work if I wasn't bumped off my    18        Mr. Simiar in regards to hostile work environment.
         19         proper shift.                                            19   Q- Okay. Can you give me a little more? Because I still
         20    Q. So did you complain to Art Giii about that?                20        don't know what —
         21    A. No,I talked to Mike Sauger.                                21   A.   That was the situation with the man with the gun run
         22    Q- Sauger, S-a-u-g-e-r?                                       22        where she didn't give me any information and I made
         23    A. Yes.                                                       23        the complaint
         24    Q. And who is Mike Sauger?                                    24   Q- Okay. But that wasn't necessarily based on race, you
         25    A.    Union president                                         25        said.



                                                                 Page 182                                                           Page 184
          1    Q. And what did Mike Sauger say?                               1   A.   I was asked if I thought it was based on race, and I
          2    A.   That basically, even though the language states that      2        said at the time that no, I didn't
                                                                                  Q. Okay. So is there any other reason Ms. McLane is
          •>
                    we're carried to and from, that there was really          3

          4         nothing he could do for me at the time because the        4        listed here as a defendant?

                    City — we didn't have a contract with the City at        5    A. No.
          6         that time,so he really didn't want to, like, go to        6   Q. Speaking of Mr. Simtar, he has always been pleasant to
          7         them and bother them in my defense.                       7     deal with, has he not?
          8    Q. How long were you on that shift?                            8   A. Yes.

          9    A.    Before I got hit, probably about two or three weeks.     9   Q. And has always been willing to do the right thing on
         10    Q. Okay. Did you ever complain to HR or any supervisor        10      behalf of the City and the department; correct?
         11         about the shift change?                                  11   A.    From my experience. I have met him twice,so yes.
         12    A.    No.                                                     12   Q. Okay. But both times, he asked you if you wanted
         13    Q- Okay. Speaking of shifts, around the time that you         13        things done; correct?
         14       were or the City thought that you were going to adopt      14   A. Yes.

         15         a child, didn't command officers reduce your workload    15   Q. And both times you told him you did not; correct?
         16         and your shift time to allow you to spend more time      16   A. In a crying,fearful manner, yes.

         17         with the child?                                          17   Q. Okay. And who were you afraid of?
         IS    A.    Reduce my workload?                                     18   A. Retribution.

         19    Q. Or adjust your shift time to allow you to spend more       19   Q. Do you remember a time when Mr. Simiar set up an
         20         time with the child.                                     20        appointment for you with a psychologist and you did
         21    A.    My times of coming and going may have been different.   21        not show up?
         22         but it still was an eight-hour shift.                    22   A. Yes.

         23    Q. Okay. But they adjusted your going and coming time as      23   Q. Okay. Why didn't you show up?
         24      an accommodation to you; correct?                           24   A.   The psychiatrist that he had call me,or psychologist
         25    A. Yes.                                                       25        she was talking to me over the phone,and she said




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          1      that she couldn't meet with me In person due to the       1   A      Maybe 2011.
          2      fact that she's, basically, hired by the City,and she     2   Q      Okay. 13(0), on page 8 In your Complaint, you make
          3      could tell that I needed to talk to someone and I         3         very specific allegations against Detective Shawn
          4      needed help, but she didn't want to have to document      4         Johnson; correct?
          5      that help if she had met me in person.                    5   A     Yes.
          6             So what she wanted to do,she said, because         6   Q      When's the first time you worked with Shawn Johnson,
          7      she does backgrounds for new hires, for new police        7         if you know?
          5      officers, she wanted to kind of manage the case but       B   A     He was one of my FTOs in the beginning when I got
          ?      then not meet me individually, so she wanted to refer     9         hired on.
         10      me to someone else to go to speak ~ talk to or           10   Q     Okay. Post-FTO, when did you work with him
         11      whatever.                                                11         professionally where you were colleagues?
         12             So in the process of those couple of days         12   A.    Whenever I was assigned to the midnight shift
         13      of her calling all those different times, I ended up     13   Q     Okay. After your promotion Into the detective bureau
         14      getting physically sick and I couldn't attend to her     14         special victims unit, did you work with Johnson?
         15      calls, and I told her that I was sick and that           15   A. Yes.

         16      somebody was coming to check on me, and then she.        16   Q     And what were your job duties there?
         17      basically, stated that if I didn't call her back         17   A.    He was pretty much supposed to show me the ins and
         18      within a 15*minute span of time, she was going to send   18        outs, like a training officer, to speak.
         19      the Warren police to my house, and so I —                19   Q. You say that he did the following things; That he
         20   Q, Because she was concerned for you.                       20        "sniffed you in a sexually suggestive manner;" that he
         21   A. Even though --                                           21        "rubbed his hands through your hair and suggested to
         22             MR. MUNGO: Objection, assuming a fact not         22         you In no uncertain terms that he was the white slave
         23      In evidence.                                             23         master and you were the slave mistress subject to his
         24   BY MR. ACHO;                                                24        sexual whims and desires." Is that true?
         25   Q. Okay. Well, she wasn't going to send them hir a          25   A. Yes.




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          1       crime, was she?                                          1   Q. Okay. You and Johnson had a playful relationship.
          2   A. Well, I told her I didn't need assistance.                2      didn't you?
          3   Q. But they were worried about you; correct?                 3   A.    We had good conversation and we would talk, yes.
          4               MR. MUNGO: Objection, assuming a fact not        4   Q- Did you think that he did those things that I just
          5       in evidence.                                             5      mentioned to be cruel or demeaning, or he was just
          6   BY MR. ACHO:                                                 6        playing with you?
          7   Q. Do you believe that they were worried about you?          7   A.    It was very sexual in nature, the way he was doing it,
          8   A. That she"we're speaking of her.                           3        and I didn't —
          9   Q. And Mark SImlar.                                          9   Q. You - but wouldn't you sexually banter back and
         10   A. Yes, he was very concerned for me.                       10        forth?
         11   Q. And Commissioner Green? Do you remember a meeting        11   A. No.

         12       with Mark Simlar, Commissioner Green and Deputy Chief   12   Q- Comparing you to the gorilla on the label of Gorilla
         13       Gallasso where they were all present?                   13      Glue, did that happen?
         14   A. Asking me if I was being treated a certain kind of       14   A. Yes.

         15      way?                                                     15   Q. Did you make comments to him back about being a
         16   Q, Yes.                                                     16     cracker? I mean, wouldn't you guys sort of bust each
         17   A. Yes.                                                     17        other's chops that way?
         18   Q. And they all expressed concern and they wanted to make   le   A.    No. Actually, I had to educate him on black people
         19     sure that you were being treated fairly; correct?         19        being compared to apes, monkeys, chimpanzees and why
         20               MR. MUNGO: Objection, assuming a fact not       20        it would be so offensive to us, and the fact that
         21       In evidence.                                            21        during the renaissance, you know,the white women
         22   BY MR. ACHO:                                                22        would start to go to the jazz clubs and stuff and the
         23   Q. Correct?                                                 23        men didn't want them to have sex with those black
         24   A. Yes.                                                     24        people, so they used to say that, after dusk dark,
         25   Q. All right. When was this meeting, approximately?         25        tails drop out of our butts. So I thought if I gave




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          1        him a historical reference, he would understand why        1        Department, If you know?
          2        it's not okay.                                             2   A.    Within the last few years. I don't know exactly.
          3   Q. Okay. And what was his response to that?                     3   Q. And did you used to confide In her?
          4   A.    I don't recall him saying anything. The whole office      4   A.    Sometimes.
          5        got quiet because it was — it was a bit much.              5   Q. She's a white woman, I take it?
          6   Q- But everybody listened to what you had to say; right?        6   A. Yes.
          7         Yeah.
              A.                                                              7   Q. Okay. How was it that Miller brought this complaint
          8   Q. You felt respected at that time?                             e        to Warren's attention and not you?
          9   A. No.                                                          9   A.    We were at the retirement party, I was paying my
         10   Q- It says he, "Contlnuaiiy subjected you to racially          10        respects, and she just touched me and she said, how
         11      discriminatory comments by characterizing your style        11        are things going? And I just kind of started to cry
         12        of dress as a black thang, mocking you In a               12        and tell her about all the things, and then I left.
         13        stereotypical African-Amerlan accent, inquiring why       13        And then I was contacted by, I believe, Sergeant Eidt
         14        do you-all name your kids ghetto names like Honey         14        informing me that she had gone over to City Hall and
         15        Brown and Destiny, physically spelling out Destiny        15        filed a third-party complaint for me.
         16        incorrectly, and asking why do black people move to       16   Q. And Sergeant Eidt Investigated what Katiiy Miller told
         17        Atlanta, is It because you don't like living around       17        him; correct?
         18        white people?"                                            18   A. Yes.
         19                   All of those things I just mentioned are       19   Q. And Sergeant Mills was your direct supervisor;
         20        things he said; correct?                                  20        correct?
         21   A. Yes.                                                        21   A.    At one point in time, he was.
         22   Q. Were they also said in a joking tone?                       22   Q. You were advised that even though you didn't make the
         23   A.    No.                                                      23     complaint, that Eidt had to follow up and investigate.
         24   Q. You don't think he was joking?                              24   A.    Yes.

         25   A.    No.                                                      25   Q- As you would expect them to do; correct?


                                                                  Page 190                                                           Page 192
          1   Q. You think he was deliberately trying to be mean to           1   A. Yes.

          2        you?                                                       2   Q. If you're going to foster an environment where there
          3   A. Yes.                                                         3      Is no racial discrimination, certainly you have to
          4   Q. You never filed a complaint yourself against Shawn           4        Investigate such a claim; correct?
          5     Johnson, did you?                                             5   A. Yes.
          6   A.    No.                                                       6   Q. Sergeant Eidt asked you to write out a statement; Is
          7   Q. You didnt go to HR or anyone else and file a                 7        that correct?
          8     complaint; correct?                                           8   A. Yes.

          9   A.    No.                                                       9   Q- And you did on July 7th, 2015; correct?
         10   Q. But Warren and the police department did take               10   A. Yes.
         11        disciplinary or corrective action against Shawn           11   Q- In 2015, It was accurate when you wrote it and signed
         12        Johnson, didn't they?                                     12        It?
         13   A.    My understanding is that a third-party person made a     13   A. Yes.
         14        complaint for me.                                         14   Q- Didn't you advise Sergeant Mills that you did not want
         15   Q. And that woman Is a retired sergeant named Kathy            15     to file a formal complaint?
         16        Miller; correct?                                          16   A. Yes.
         17   A.   Retired, but not a sergeant, yes.                         17   Q- Is It true that you called dispatcher Dawn McLane and
         18   Q. All right. Kathy Miller and you met at a tavem;             18        told her you didn't want to file a complaint against
         19        correct?                                                  19        Johnson, that you just wanted to go out witii ~ for
         20   A.   Yes.                                                      20        drinks with him and hash it out?
         21   Q. The same tavern that Paul Kelly had Invited you to go       21   A.   I wanted to resolve it amongst ourselves, If we could.
         22        to; correct?                                              22        because if a complaint gets filed, then I'm going to
         23   A.   I just know It was Gallasso's retirement party is         23        lose out on everybody, and instead of them thinking
         24        where she and I were at the same time.                    24        that what he was saying was disrespectful. It will be.
         25   Q. When did Kathy Miller leave Che Warren Police               25        Sheila's the problem, Sheila's a race baiter. I even




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          1      offered to take a closet office just so that they        1        and I told him yes, and he said, well, what's the
          2      could feel better every day and not have to talk                  problem?
          3      around me, you know.                                                      So I explained about ~ police officers
          4              I've belittled myself in every way you can       4        call It eye fucking or glaring that he does and how he
          5      to just survive, so, yes, I told her that if we could    5        can't have conversations, how he won't share the work
          6      work it out, I want to, because once I found out that    6        because sometimes our cases overlap ironically and how
          1      somebody else made a complaint, I knew all the guys      -

                                                                                   — so it's just" it's a thing that keeps going,
          e      would think that I complained and that I was a rat       8        so...

          9   Q. Do you need a few minutes?                               9   Q. So you think he was eyebaiiing you?
         10   A. Let's just get done.                                    10   A. I don't think. I know.

         11   Q. So the department investigated your aliegations and     11   Q.    Did he —

         12      Johnson was disdpiined; correct?                        12   A.    And when I would specifically ask him for the work,
         13   A. I know that he was talked to.                           13        he's hollering at me and it's uncomfortable for the
         14   Q. Well, wasn't he given time off?                         14        people that are stuck In between us.
         15   A. Not to my knowledge, no, sir.                           15   Q. At the time you — when did this occur, approximately?
         16   Q. He was moved away from you, wasn't he?                  16      How iong ago?
         17   A. Yes.                                                    17   A.   This was going on October, November, December.
         IB   Q. Were you satisfied that he was moved away from you?     16   Q- Of'16?
         19   A. At the time, until we were put back together.           19   A.   lUght Right before'17.
         20   Q. Is there a reason you were put back together? Weren't   20   Q- Do you know, has Detective Johnson ever harassed any
         21      they reconfiguring your office and there was no         21        other women at Warren P.O.?

         22      choice?                                                 22   A.    Yes.

         23   A. We both were assigned to family investigations          23   Q- He has. Who?
         24      division. Union president comes up on the second        24   A. Dawn McLane.

         25      floor and is advised of — of the bullet points that     25   Q- Dawn McLane. And how do you know that?


                                                           Page 194                                                          Page 196
          1     they made me write out. I hear the union president        1   A.    Matt Nichols told me that he beat her up.
          2     say, I got to come up here and deal with this stupid      2   Q. Matt NitSiols toid you he beat her?
          3     shit. Union president then goes into the office with      3   A.    Yes.

          4     our sergeant, Johnson's and I, Sergeant Eidt, and they    4   Q- Was he married to Dawn McLane?
          3     have some type of discussion.                             5   A.    No.

          c             Union president then leaves the floor,            6   Q. Were they in a reiationship?
          7     never talks to me or asks me anything, but again I        7   A. Yes.
                                                                          a
          8     heard how he feels about having to come up here and           Q- They were in a dating relationship?
          0
                deal with this stupid shit So the next thing that I       9   A. Yes.

         :o     know is that they decide to put Shawn John on criminal   10   Q- And Matt Nichois toid you that Shawn Johnson beat up
         11     investigation side, and even though we're both           11      Dawn McLane. Is that your testimony?
         12     assigned to this side, he's being moved over there.      12   A.    He specifically told me that they got Into a fight and
         13             So sometime later another position becomes       13        that, I guess, Shawn was boot stomping her, and she
         14     available for the criminal side. They ask me If I        14        was cowering like this In a fetal position, trying to
         15     want to take the position, and then I specifically       15        protect her face, and that she wears a lot of rings.
         16     ask, if I do take the position, do I physically have     16        and in some kind of way, he ended up with a busted
         17     to move to that side or Is It okay for me to continue    17        lip, which he was physically at work with a busted
         IS     to stay separate.                                        18        lip.
         19             They tell me, Sergeant Eidt and                  19                And so when she left his house, he called
         20     Sergeant Mills, that, yes, I can continue to stay        2C        the police on her, and so whatever suburb they live
         21     separate since that's working thus far. About two        21        In, they made a police report, but she's, like, the
         22     weeks later, I'm moved to the other side. Lieutenant     22        defendant in the report. So somebody from our job got
         23     Gardner, who's the supervisor at that time, who did      23        in touch with her and said, hey, if you're at home.
         24     not work on the floor when all of this happened, asked   24        get out of there because they're coming to arrest you,
         25     me was It still a problem between Shawn John and I,      25        she leaves.




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          1                 Some kind of way she gets In touch with             1        day —
          2          Matt, like the following morning, and my understanding     2         That was February 1, 2017?
                                                                                     Q
          3          is she's bruised from her •• ail over. Matt calls the      3    A    Is that a Wednesday?
          •;        supervisor at the suburban department,1 think               4    Q    I don't know.

         :           Sterling Heights, and says,I'm bringing in an              5    A    It's a •• It's a Wednesday —
          6         employee. I got two employees that got into a fight         6    Q    Okay.
          7          Can you guarantee me that she won't be arrested,           7    A    — of when I talked to him, when it happened, and then
          S          because there's two sides to the story.                    6        that Thursday I was advised to go meet with
          9                 Matt says that that supervisor then says            9        Mr. SImlar.
         10          that I can't promise you anything, but he then           10     Q    Who advised you to go meet with Mr. SImlar?
         ::          proceeds to bring her in. So in the car ride of him      11     A    Sergeant Mills said that — after I had talked to him
         11'         taking her to make her side of the report, she's         12         ttiat Wednesday about what happened, that he had to
                     explaining how he's boot stomping her and how she —      13         inform other people. So he told Sergeant Eldt,
                     he tried to kick her out of the car when they were       14         because that's Barb's boss, and then he told
         15          driving from wherever.                                   15         Lieutenant Gardner and ttien he must have had a
         16                 So Matt says that when he gets there, the         16         conversation with Chief Green.

         17         supervisor says, hey, evidence tech has to take           17                  So then when 1 got to work Thursday
         18          pictures of her physical injuries, and then the guy      18         morning, he said, hey, we get — we got to go talk to
         19          wanted him to walk in there with her, and he's like.     19         Green. They're going to go send you to talk to
         20         I'm not going in there while my employee gets             20         Mark SImlar, he said, but it's like a secret squiire!
         21          undressed, you know. So all that stuff happened, both    21         thing. They want you to go over •• they don't want
         22         sides got documented, and then we're all at work and      22         you In that building because people will see you In
         23         she's not able to sit completely solid because she's      23         that building, he's going to meet you over on the
         24         so battered and his lip is busted and nothing happens.    24         second floor of the community center, and so on,so
         25                 That's a crime that's committed by an             25         forth.




                                                                  Page 198                                                          Page 200
          1         officer and nothing happens. You know, my                   1                 So en route to the community center     oh,
          2         anbgonizer. Everything is just — nothing is                2         and I was told to slide out, don't let nobody know
          j         happening.                                                  5        where I was going, don't make it obvious that I'm
          i    Q- When was this alleged incident between --                     4        going anywhere. I get over there, I talk to Mark for
          5    A.   In lanuary.                                                 5.       about two hours, but en route to there I called Matt
          6    Q- January'17?                                                  5         to let him know that I was being called In for a
          1    A. I don't know the exact date.                                 7         meeting, Then as soon as I left the meeting, I called
          e    Q. I mean, was it this year?                                     e        Matt to let him know some of the things that were
          9    A.    Oh, 2017, yes,sir.                                         a
                                                                                         discussed and I kind of reiterated that»I kind of
         10    Q. Yeah, sorry. How do you know that there was no              10         told him the ten-year struggle. You know, the history
         11         disciplinary action or anything came of it?               1 1
                                                                                         of everything, you know.
         12    A. Because Matt told me that Internal Affairs doesn't          - 7
                                                                                                  And so Mark suggested that I go home that
         13         have to investigate as long as the two complainants       13         day, and he asked if It was okay for him to give a
         14         dedde not to file against each other. So he's like.       14         psychologist or somebody my Information. He told me.
         15         after everybody got out of their drunky the clown         15         don't feel weak, and It's not a sign of, you know.
         16         stupid mode,they realize, oh, and so they decided not     16         something bad that you need somebody to talk to, so I
         17         to do anything. So even though our department has         17         said okay.
         16         already been Informed and talked to the other             18                  So then that Friday morning, I wake up, I
         19         department, It was their way of not having to do          19         get dressed for work, and I drive to work and I'm
         20         anything.                                                 20         stuck In a parking lot because I can't get out of the
         21    Q- Do you sbll talk to Matt Nichols?                           2:         car. And when Barb had said what she said, I •• I
         22    A.    Again, no.                                               22         started shaking real bad and 1 sweat So then when
         23    Q. When was the last time you spoke to him?                    23         I'm In the car, it's the same thing, and 1 can only
         24    A.   That Wednesday when Barb did what she did, I went down    24         describe It as like an adrenalin dump. So I called
         25         to his office for about an hour, and then the next        25         Sergeant Mills and I said. Sergeant, I'm here, but I




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          1        cant get out the car.                                     1   A.   Psychologist.
                                                                             2
          2               And so he was like, Sheila, I just want you            Q- Psychologist. So she cannot write scripts for meds;
          3        to feel better when you come back to work, so Just go     3        correct?

          4        ahead and go home. So then I called Derek Scott, who      4   A. Correct.
          5        should have been assigned to the jail that day, and he    5   Q. All right. How often do you see Dr. Valivonis and for
          6        just wasn't -• happened not to be there, so I think       6        how long have you seen her?
          1        Marlene Ken* or somebody answered,and literally           7   A.   Since March, twice a week, one hour per session.
          8        that's that.                                              8   Q. Okay. And Is insurance covering that?
          9   Q. You walked off the job in February 2017; correct?           9   A. Yes.
         10                MR. MUNGO: Objection, assuming a fact not        10   Q. Okay. Has Dr. Valivonis diagnosed you with anything
         11        in evidence.                                             11     dinicaliy?
         12   A. I was told to go home, yes.                                12   A. Yes.

         13   BY MR. ACHO;                                                  13   Q. What has she diagnosed you with?
         14   Q. Okay. But you haven't come back, have you?                 14   A. Depression, anxiety and post^umatic stress disorder.
         15   A.    No.                                                     15                MR. MUNGO: And I'm going to object to We
         16   Q. The Qty has never fired you, have they?                    16        extent the client has answered the question, and she
         17   A. No.                                                        17        should, as you posed it to her, but she is not a
         18   Q. And they've never disciplined you, have they?              IB        psychologist, and I ••
         19   A. No.                                                        19                MR. ACHO: Fair enough. I was just
         20   Q. So why haven't you come back?                              20        wondering --
         21   A. Because I'm still In treatment.                            21                MR. MUNGO: •• the medical records--the

         22   Q. Okay. Now, as 1 Indicated at the beginning of the          22        medical records will speak for themselves.
         23        deposition -- and I'm just, once again, reserving my     23                MR. ACHO: No, no, I get it. I just wanted
         24        right to continue the deposition should it t>ecome       24        to know if she had been told any.
         25        necessary -- your counsel handed me a report from        25                MR. MUNGO: And by the way, Counsel, didn't



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          1         Dr. Gerald Shiener. When you say you're still in         1        you get releases for those? Okay.
          2         treatment, you're not referring to Gerry Shiener, are    2   BY MR. ACHO:
          3         you?                                                     3   Q- So, with depression and anxiety, I know frequently
          4    A. No.                                                        4        people will take medication for that Do you take any
          5    Q. Okay. Because he's not a treater; right?                   5        medication?

          6    A. No.                                                        6   A.    Yes,sir.
          7    Q. He's just a guy that you pay for an evaluation and a       7   Q. And what do you take?
          e      report; right?                                              8   A.    Fluoxetine and aiprazolam.
          9    A. Yes.                                                       9   Q- Fluoxetine is generic for Wellbutrin, is it?
         10    Q. Who are you treating with?                                10   A.    Yeah,I think they're all kind of like a -- like a
         11    A. Dr. Valivonis.                                            11        Prozac kind of thing.
         12    Q. Valivonis? Can you spell that?                            12   Q- Right. And aiprazolam Is a generic for Xanax; is that
         15    A. V-a-i-v-i-n-o-l-s, something like that                    13      right?
         14    Q. Valivonis?                                                14   A. Yes.

         15              MR. MUNGO: V-a-l-i-v-o-n-i-s, Valivonis.           15   Q- How often do you take          I assume the fluoxetine you
         16              MR. ACHO: I'm sorry, one more time?                16     take daily?
         17      Sorry.                                                     17   A. Yes.

         IS                  MR. MUNGO: V-a-i-i-v-o-n-i-s.                  18   Q- The aiprazolam as needed?
         19                  MR. ACHO: Valivonis, okay.                     19   A.    Daily.
         20    BY MR. ACHO:                                                 20   Q- You take that daily, as well?
         21    Q. Where is Dr. Valivonis located?                           21   A. Ifs just at night.

         22    A. Birmingham.                                               22   Q. At night. Does it help you sleep?
         23    Q. Is that a he or she?                                      23   A.    The dreams are almost too vivid, I should say. I'm,
         24    A. She.                                                      24        like,jumping out of my sleep,swinging, kicking,
         25    Q. And is she a psychotherapist?                             25        so...




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          1   Q. How long have you been taking the Weiibutrin and          1   A. Absolutely not.
          2      Xanax?                                                    2   Q. Ail right. When you were a child, my understanding is
          3   A. Is that the fiuoxetine one?                               3       your best friend was kidnapped and murdered; is that
          A   Q. Yeah.                                                     4       right?
          5   A. That one, maybe since, like, August, because they         5   A. Not my best friend, my boyfriend.
          6      tried to get me on meds earlier and I wanted to try       6   Q. Boyfriend, okay. Certainly thafs a traumatic event;
          7      to, like, not be medicated,so...                          7       correct?
          8   Q. Do you feel like the medication is helping you?           8   A. Yes.
          9   A. Well, It levels me out a lot better because I was         9   Q. Did you seek any type of professional counseling for
         10      having too many just spikes in the highs and lows, you   10       that?
         11      know.                                                    11   A. No. I became a police officer because of it.
         12   Q. Has Dr. Valivonis Indicated to you that you ate ready    12   Q. Okay. Was your nephew murdered, as well?
         13      to go back to work?                                      13   A. My nephew?
         14   A. No.                                                      14   Q. Did you have a nephew that was?
         15   Q. What has she toid you?                                   15   A. No.
         16   A. She said because it was like getting these baby cuts     16   Q. Okay. How is your relationship with your parents?
         17      over a ten-year span of time ~ because I took It for     17   A. My mother is deceased and my father is ~ he has
         18      so long ~ that by the time I started speaking out and    18      cancer right now, but he's at my house,so...
         19      voicing it and It came out,that it kind ofjust           19   Q. So you have a good relationship with him.
         20      exploded. And I used to like ~ you know how the          20   A. Yes.

         21      Asian people cup the muscles in a sore part, every       21   Q. Tell me about the situation with the child that you
         22      time something would happen,I would just survive each    22       indicated you were the caretaker, and I said that the
         23      instance. So she said by the time it all accumulated     23       City thought you were adopting the child. Can you
         24      and I got past the point of, oh,it's going to get        24       tell me about that situation?

         25      better in time, and I realize ifs never getting          25   A. Her mother died when she was 35 days old. Upon her


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          1       better, that I just had a meltdown,I guess,is how        1      mother dying,the father was not around,so my
          2       you would say It.                                        2      Godmother, being the grandmother of the baby, had her
          3               MR. MUNGO: Okay. You still got to answer         3      day in, day out. She ended up having to go back to
          4       his question. He needs a yes ~                           4      work after, you know,you have a little bit of leave
          5               MR. ACHO: That*s okay. 1 was able to puli        5      for bereavement,or whatever,and she needed somebody
          6       one out.                                                 6      to help baby-sit So the baby would come to my house
          7    BY MR. ACHO:                                                7      the days that she would go to work,and so she might
          e   Q. You know how you just said, "you know how the Asian       8      work 8,9,10,11,12 hours, whatever the case might
          9      people," if I told you I was offended by that, would I    9      be,and the baby was in my care for about nine months.
         10      be legitimately offended, do you think?                  10      And then after she would get off work,she would come
         11   A. Would you be?                                            11      pick her up and take her home,so she never stayed the
         12   Q. Or do you think I think you're just trying to make a     12      night technicaiiy.
         13       comment?                                                13   Q. Did you ever move for custody of the child through the
         14                MR. MUNGO: Objection, argumentative.           14      courts?
         15                MR. ACHO: Fair enough.                         15   A. No.

         16                MR. MUNGO: Argumentative.                      16   Q. Do you know who Greg Murray is?
         17                MR. ACHO: It is. I was just making a           17   A. Yes.

         18       point.                                                  18   Q. Weil, you teii me who he is.
         19   BY MR. ACHO:                                                19   A. He got hired as a ~ like a diversity coordinator or
         20   Q. Ail right. I want to ask you this, and I dont in any     20      something of the sort
         21      mean ~ in any way mean to embarrass you or anything      21   Q. Exactly, diversity coordinator. And he was prior to
         22     like this, but is it fair to say that you are somebody    22      your leaving Warren; correct?
         23     who has had traumatic experiences a number of times in    23   A. I believe he was hired in January and I left in
         24     life and that is what has caused you to be in this        24      February, butI had never met him personally, no.
         25       state?                                                  25   Q. And he's African-American; correct?




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          1   A. Yes.                                                      1   A     No. Lieutenant Gardner told me,like on a Monday,
          2   Q. And you're aware that the City has made attempts to       2        that I needed to move my desk by that Friday, Is what
          3      become more culturally diverse? Yes?                      3        happened.
          <   A. I would assume so.                                        4   Q     Okay. And you were never asked if you were okay with
          5   Q. In fact, didn't Mayor Fouts publicly acknowledge you      5        It?

          6      at a dinner or luncheon?                                  6   A     Only If the problem still had continued, and I stated
          7   A. Yes, with explanation.                                    7        that it was still continuing because he was still
          8   Q. Okay.                                                     e        hollering at me,still doing the glare/stare thing and
          9   A. It's like a dog and pony show when you have your one      9        It was still — he wasn't sharing his work with me.
         10      black employee stand up and say, look at how diverse     10   Q     All right. So I asked you about your psychologist and
         11      we are. One doesn't equal diversity. So I asked my       11        whether or not she feels you're ready to return to
         12      supervisors if I could not continue to have to go to     12        work, and you indicated that she has not told you to
         13      these things to be announced because it's taking from    13        go back to work; Is that right?
         14      my work, and they pay the $25 or 50 or whatever it was   14   A. Yes.

         15     for dinner. He had me sitting with senators and such      15   Q     Has she given you any type of prognosis, like when you
         16     so that when the TV Warren thing is scanning across,      16        might be able to return to work?
         17      I'm in front, and all my coworkers of higher rank and    17   A.    She said I can't go back into poilcing at all.
         10     stature are sitting over there snarking and making        18   Q     At all? So what are your plans?
         19     comments that this is garbage that I'm over here being    19   A.    To Start all over, try to go into a different field.
         20      paraded.                                                 20        I'm probably going to have to get schooling because
         21   Q. The mayor was complimentary of you, though, was he       21        all my training is in poilcing.
         22      not?                                                     22   Q     What are you looking for from this lawsuit?
         23   A. Yes.                                                     23   A.    I would love for each person to be able to walk in
         24              MR. ACHO; Give me a couple of minutes.           24        that building and literally do a good job and nothing
         25              VIDEO TECHNICIAN; Off the record at 3:06.        25        else matter. It not, you know, be about race or



                                                              Page 210                                                             Page 212
          1              (Off the record at 3:06 p.m.)                     1        gender or any of that,just treat each other like
          2              (Back on the record at 3:29 p.m.)                 2        human beings, you know. And so I thought that if I
          3              VIDEO TECHNICIAN: Back on the record at           3        just lasted, endured, in time they would get to know
          4      3:29.                                                     4        me for me, and it didn't happen and doesn't happen.
          5   BY MR. ACHO;                                                 5        So, you know, as an officer, you're, like, on a team
          6   Q. Ms. Hewlett, I just want to go back and clear up one      6        with people. You need to feel like the team is equal.
          7      area, and that Is with Shawn Johnson. When he was         7        And so even forgiving everybody over and over and over
          8      moved away from you, and then he was moved back.          8        again for all those things is because trying to
          9      didn't you have a discussion with Sergeant Mills about    9        survive In it.
         10      the reason that Shawn Johnson was going to be moved      10   Q- I appreciate that, but 1 asked you, what do you want
         11      back with you?                                           11        from this lawsuit?

         12   A. No. It was a conversation with Lieutenant Gardner.       12   A.   I want ^ings to get better there, the Qty of Warren,
         13   Q. Okay. But do you remember Lieutenant Gardner asking      13        the department.
         14      you If you had a problem with it and you saying you      14   Q. Okay, And how do you propose that we accomplish that?
         15      did not?                                                 15   A.    Well, first you have to acknowledge ^at it's
         16   A. No,sir. I specifically asked not to be put back with     16        happening.
         17      him. I wasn't going to take the promotion,the            17   Q. That what Is happening?
         IB      position. If we had to sit together. So after I was      IS   A.   The hostile environment, the racist stuff, the gender
         19      told that we didn't have to be back together, a couple   19        bias, all these things. How can you fix it if nobody
         20      of weeks later, we were put back together.               20        admits to doing it?
         21   Q. I understand. But a couple weeks later, wasn't there     21   Q. Okay. So If the City of Warren took some type of
         22      a reconfiguration of the building where they were        22        proactive measure whereby they say, we're taking this
         23      remodeling and Sergeant Mills said to you, listen.       23        step to ensure that these type of things don't happen,
         24      this remodeling Is going on, we've got to put Shawn      24        you would be satisfied?
         25      back with you, do you have a problem with that?          25   A.   The City of Warren,from my experience, says what




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          1        needs to be said for the media or for things to appear    1                 MR. MUNGO: Objection, argumentative.
          2        a certain way,and at the end of the day,nothing           2   BY MR. ACHO:
          3        happens,nothing changes,they just articulate that         3   Q. Warren hasn't taken your policing career from you.
          4        they're going to do this and that                         4     have they?
          5   Q- You live in Warren; correct?                                5   A. Yes.
          6   A. Yes.                                                        6   Q. So what are you looking for by way of compensation?
          7   Q. You bought a home in Warren?                                7   A.    I need to be made whole in whatever way is possible.
          8   A. Yes.                                                        8   Q. All right. And what does making you "whole" Include?
          9   Q. Why do you live In a city that you believe is racist?       9                 MR. MUNGO: Objection, that calls for
         10   A.    Because in the past — again,I thought with time that    10        speculation, and with regard to her - who ~ she
         11        It would get better,so I literally put myself In a       11        who - Counsel, you already know she's relying on
         12        position to be there as a citizen and as a patrolman     12        experts and economists and her therapist and her
         13        and paying taxes there. 1 invested In that city.         13        vocational rehab spedaiist, so, you know -
         14   Q- Why haven't you moved out of the city?                     14                 MR. ACHO: Right But~
         15   A.    I have no Income. In order to qualify for a home        15                 MR. MUNGO: -she's not going to be
         16        loan,I need income.                                      16        abie ~ she's not going to be able to provide
         17   Q. Are you taking any steps at this point to look at a        17        testimony that Is consistent with what's being
         18        different career?                                        18        requested In her Complaint already through her legal
         19   A.    I've gone to a person and — a specialist to see what    19        counsel and her experts, requirements that are set
         20        else could I possibly be Interested in or possibly       20        forth by her experts.
         21        good at to try to reassess what could potentially be     21                 MR. ACHO: Okay.
         22        next;so yes.                                             22                 MR. MUNGO: So ~ but to that extent, but
         23   Q. What about going back into police work in a dty that       23        If you can answer the question.
         24     is more predominantly African-American?                     24                MR. ACHO: Yeah, I don't know what any of
         25   A.    Again,I don't want to be in policing at all, and I      25        that really means.



                                                                 Page 214                                                            Page 216
          1        don't believe that I can,due to all the things that       1   BY MR. ACHO:

          2        have happened. They shun that.                            2   Q. But what are you looking for?
          3   Q. You had issues at Oak Park; right?                          3   A.    Again,to be able to move on with my life and pay my
          4   A. With one individual, yes.                                   4        bills.

          5   Q. And you had issues in Detroit; correct?                     5   Q. Okay. I guess what I'm saying is, is there a certain
          6   A. No.                                                         6     dollar amount that you're looking for?
          7   Q- Do you think maybe at some point you decided you            7                 MR. MUNGO: Objection, asked and answered.
          8        didn't want to be a poiice officer anyway?                8                 MR. ACHO: No,She has not answered that.
          9   A.    Absolutely not.                                          9   A.    No,there is not a certain dollar amount
         10   Q- So you wouidnt be willing to give it a shot in, say.       10   BY MR. ACHO:

         11      Rint or another city like that?                            11   Q. Is there anything that I haven't asked you that you
         12   A.    My police career has ended. It is over.                 12        would like me to know or the City of Warren or the
         13   Q- Okay. So what are you looking for out of this lawsuit      13        Warren Poiice Department to know that we haven't
         14        for yourself besides a guarantee that this doesn't       14        covered?
         15        happen, or wtiatever it is that you had said? What       15   A.   In an attempt to be accepted,I made myself small and
         16        else are you looking for? Anything else?                 16        tried to endure all of the things from all of the
         17   A.   I don't think that it's fair that my career has been     17        different people and would go home and take a nap
         18        taken from me and I have to start all over when I went   18        every day justfrom being exhausted of surviving each
         19        to school for this. I Invested ten years of my time      19        day,and I would start over and forgive and start over
         20        with this corporation,so...                              20        and forgive hoping that; in time,it would just get
         21   Q. But they didn't take your career from you, did they?       21        better, and in all actuality, the longer that I was
         22        They didn't fire you.                                    22        there,the worse it got And,so, you know,I just
         23   A. I had a nervous breakdown because of them.                 23        allowed myself to be dehumanized to the point that I'm
         24   Q. People have nervous breakdowns at work ail the time.       24        broken. And like I said,I just wanted to be
         25     though, don't they?                                         25        accepted,so I allowed a lot of things, you know.




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          1   Q- Okay.                                                       1   A. Not during the time that they were engaged In that
          2                MR. ACHO: I don't have anything.                  2      inappropriate conduct, no.
          3                MR. MUNGO; I do have a few questions for          3   Q. Okay. So how would you describe your relationship
          4        you. Do you need to take a ~ let's take a quick           4      with those individuals if you would not describe your
          5        break, please. Give me about five minutes.                5      relationship as being friendly with those individuals?
          6                VIDEO TECHNICIAN: Off the record at 3:38.         6      How would you ~
          7                (Off the record at 3:38 p.m.)                     7   A. You're with them eight hours a day,and, you know, you
          8                (Back on the record at 3:43 p.m.)                 6      try to just survive the day, endure, you know,and
          9                VIDEO TECHNICIAN: Back on the record,             9      after they do something wrong or hurt me,I just tried
         10        3:43.                                                    10      to start over each day.
         11                        EXAMINATION                              11   Q. Uh-huh. So how do you then - and it's important,
         12   BY MR. MUNGO:                                                 12      Ms. Howlett, that we have a dear record of your
         13   Q. Ms. Howlett, I have just a few questions for you. You      13      understanding of the nature of the relationship that
         14        recall earlier opposing counsel, Mr. Acho, had asked     14      you had with those individuals, the employees at the
         15        you questions regarding the averments in your            15      Warren Police Department, many of whom actually
         16        Complaint where you identified - named specific          16      engaged In verbal and physical conduct that was
         17        employees at the Warren Police Department and various    17      characterized as racist in nature. How would you
         18        verbal and other conduct that they engaged in that you   18      characterize your relationship with them? Explain for
         19        characterized as racist in their nature.                 19      the record, please.
         20   A.   Yes,sir.                                                 20   A. Because ifs a group of people and they have more
         21   Q. Do you recall those questions? And each of those           21     similarities than me,so I'm kind of like an
         22        individuals had engaged in different verbal and/or       22      individual compared to the group. I would put the
         23        physical conduct that you characterized and identified   23      group's needs ahead of my own. So like I said, when I
         24        as being racist in their nature; correct?                24      offered to take a hall doset,I just wanted them to
         25   A. Yes.                                                       25     feel comfortable and better, and since ifsjust one



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          1   Q. Okay. And each one of those individuals- without            1      me,it's easier If I make myself small and try to get
          2     going into detail for each of the individuals that           2     over It than to expect all of them as a collective to
          3        counsel asked you about •• you recall counsel asking      3     change, espedaliy after so much time of being there,
          4        you wh^er or not you were friends with various of         4     so I think I got accustomed to being berated.
          5        those individual employees,some of which are              5             And I would put my headphones on, you know,
          6        defendants in this Complaint?                             6      because they say. If you have the headphones on, you
          7   A. Yes.                                                        7     can't hear some or all these comments, you know, how
          8   Q. Okay. And you remember counsel also asking you, in          8     I'm eating a banana or heating up ribs, when I really
          9        addition to whether or not you were friends with them.    9      have lamb chops for dinner, and ifs just — just a
         10        whether or not you were chummy with them and             10      protective shield.
         11        conversational with them and joked with them?            11            So I was like a - Stockholm syndrome,I
         12   A. Yes.                                                       12     guess,for the most part, where you become just
         13   Q. And you never filed any complaints against any of          13     dependent on them for your survival because, again,
         14     them. Do you recall counsel asking you that?                14     we're police officers. Even as a detective,I still
         15   A. Hardly ever.                                               15      need them to back me up. I still need them to serve
         16   Q. Hardly ever. Okay. With regard to the friendship -         16     warrants with me. You know, you physically need them.
         17        the question as to whether or not you were friends       17            So you can't — you can't — the only way I
         18        with any of those individuals and chummy with any of     18     can explain It is,I isolate myself as much as I could
         19        those individuals and engaged in joking with those       19     as fer as, like, watching what I say and how I say it,
         20        individuals in the course of their engaging in verbal    20     because one of the detectives told me after that
         21        and other physical conduct thafs characterized as        21     bullet point thing I made on Shawn lohn,that they may
         22        radst in nature, is it true that you were, in feet,      22     be fearful that I'm documenting in some kind of way.
         23        friends and chummy and joking with these individuals     23     and that I needed to watch what I said and how I said
         24        while they were engaged in the kind of conduct that      24     it before I spoke every day so that they wouldn't be
         25        you characterized as radst?                              25     taking notes against me. So can you Imagine being at




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          1        work and trying to think before you talk? It's              1   Q     Okay. So you were now back In the environment with
          2        just" I don't know.                                         2        someone who you were separated from because of similar
          3   Q. So then you mentioned that It was like the Stockholm          3        conduct that was also manifested in his violent
          A        syndrome. Could you help us better understand the           4        treatment of Ms. McLane?
          5        character and the nature of your relationship with the      5                MR. ACHO: I'm going to object. What
          6        employees at the Warren Police Department by kind of        6        you're doing Is editorializing. That's not even
          7        expanding on what the Stockholm syndrome is —               7        appropriate. I have to -- please, I let you - gave
          8   A.    For me —                                                   S        you a long — no, no good. Objection.
          9   Q. - and how it related to your experience?                      9                Go ahead.
         iO   A.    For me,Its like I'm dependent on a group of people        10   A.    Yes, sir.
         11        who say whatever they want, do whatever they want and      11   B> MR. MUNGO;

         12        get away with whatever they want, and I can't survive      12   Q. Do you understand my question?
         13        without them, you know. My living, my paying my bills      13   A. Yes.

         U         and, you know, wanting to retire from there,I needed       14   Q- Whet's your understanding of my question?
         15        them more than me as one individual mattered.              15   A. That the remedy to his and I problem was to separate

         16   Q- So to the extent that there was this - as counsel            16        us, but then they put us back together, and then the
         17      described, this friendship or joking, would that be          17        problem continued and actually got worse because he
         18        more characterized as equals shanng In common fun          18        physically assaulted someone.
         19        that was not tearing the other down?                       19   Q. Okay. Did that make you feel more or less fearHil of
         20   A. Yes.                                                         20      being in this environment?
         21   Q- And In what sense? How so?                                   21   A.    More fearful.
         22   A. I mean,there's days where you just have conversations        22   Q. Okay. Okay. You were -- did Shawn, after that point
         23        about whatever is going on in the world or you discuss     23      In time - Shawn Johnson, after that point In time, do
         24        your cases or you discuss family and things like that,     24        anything to you to cause you to feel that you were In
         25        but then at any given time, the conversation could         25        Immediate perl! of physical harm or ongoing



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          1        just veer left, you know. I had a Band-Aid on my            1        harassment?

          2        finger one day and, you know,Shawn was like, what           2   A.   Just the not extending his work. I would go to his
          3        happened? I'm like, oh, my dad's dog snipped me.            3        desk when he would go to workout for an hour and try
          4        He's like, why? I'm like, because I was trying to get       4        to get the document that I needed and make a copy, and
          5        out from under the bed. He was like, oh, he just            5        then 1 would try to sneak it back into his file. And
          6        didn't want to come from under the bed because all          6        then Detective Ron Snyder would be like, hurry up.
          7        what would be going on in your bedroom.                     7        Sheila, he's coming, you know, because you're just
          8                 So It's like you never know what little            8        trying to get around these Impossible things. But
          9        conversation is going to spin into this whole other         9        that's childish not to be able to pass the work and
         10        thing.                                                     10        share the work kind of thing, you know.
         11   Q- Now, is Shawn Johnson the same police officer with the       11   Q. Okay. And so the command knew that you were objecting
         12      Warren Police Department that you testified to earlier       12        all this time to being back In this environment after
         13        in response to counsel's question who beat --              13        having been separated because of his discriminatory
         14   A. Dawn.                                                        14        harassment; correct?
         15   Q. "Dawn"                                                       15   A.   Yes.

         16   A.    McLane.                                                   16                MR. ACHO; I'm going to object. That
         17   Q. "McLane?                                                     17        mischaracterizes the testimony. But go ahead.
         18   A.    Yeah.                                                     IB   BY MR. MUNGO:

         19   Q. Is that the same one?                                        19   Q. Is that correct?
         20   A.    Yeah.                                                     20   A. Yes.

         21   Q. And did this beating of Dawn McLane by Shawn John            21   Q. Okay. And you indicated earlier that Shawn Johnson
         22     occur prior to or after Shawn and you were separated          22        had made some comments in ~ within the office,
         23        tiecause of Shawn's discriminatory conduct against you?    23        racially, sexually, possibly, discriminatory comments
         24   A.    It occurred after we were separated, but after we were    24        to you, out loud, within the office, and others were
         25        put back together again.                                   25        there and heard It. You recall that testimony




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          1      earlier?                                                       1    Q. No? So they knew that it was going on; correct?
          2   A. Yes, sir.                                                      2                MR. ACHO: I'm going to object. You're ~
          3   Q. Okay. Approximately how many other individuals were            3        you're speculating. You don't know what their
          A      in the office at that time? You probably don't                 4       knowledge was. You don't even know what they heard.
          5      remember the exact number, but if you can - if you             5               But go ahead.
          6      do, fine, but approximate.                                     6               MR. MUNGO: Haven't you heard, Counsei, I'm
          7   A. The other detectives would be Detective Newman,                7       a prophet?
          8      Detective Ron Snyder, Detective\Twardesky. Yes.                8               MR. ACHO: Just iike that guy predicted
          9   Q. Okay. And what was it that Shawn Johnson said at that          9       that she was going to sue. You're both close.
         10      time?                                                         10               MR. MUNGO: Okay.
         11   A. Which time?                                                   11                MR. ACHO: You can answer.
         12   Q. If you recall, out loud when these other                      12                MR. MUNGO: So ~ so let the ~ let the
         13      individuals - the other detectives were there and             13       record reflect there's laughter in the room here for a
         14      heard him.                                                    14        moment. Okay.
         15   A. Mainly the comment about the Gorilla Glue because.            15    BY MR. MUNGO:
         16      like I said, I tried to take the time to explain it.          16    Q. So none of these individuals ever voiced any concern
         17      They would hear him asking me what 1 was having for           17      or objection to Shawn's verbal discriminatory conduct
         18      lunch, was it chicken or ribs. They would hear him            18      towards you?
         19      talking about my color combinations and how he would          19    A. No. Itjust seemed like people were physically
         20      announce. Sheila had on burgundy today. Sheila has on         20       uncomfortable.
         21      purple today,and thafs ~ and the way she's                    21    Q. Okay. But no one ever said anything?
         22      matchy-matchy,that's a black thing, kind of thing.            22    A. No.
         23      they would hear that.                                         23    Q. Over this four-month period of time, is it iikeiy to
         24              And then he would go on vacation and he               24       you ~ is it Iikeiy to you that the command was not
         25      would come back, and when he would sit at his desk.           25       aware of Shawn Johnson's verbal discriminatory conduct


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          1      something would be gone or missing and he would turn           1      and/or physical conduct, discriminatory conduct
          2      around and go, really. Sheila, you took whatever. So           2      towards you?
          3      then I would say,ifs always got to be the brown                3   A. Sometimes the supervisors walk in and they overhear
          4      person that steals, and then everybody would just kind         4      the conversation or that somebody is resaying
          5      of grimace.                                                    5      something that someone else said and they get wind of
          6   Q. Okay. Did he do this all in one day or did this occur          6      it that way.
          7      over a period of time?                                         7   Q. Okay. So is it iikeiy to you ~ is it iikeiy, based
          8   A. A span of time.                                                8      upon your experience and observations during this
          9   Q. What span of time would you say?                               9      period of time In which Shawn was engaged in these
         10   A. From the time 1 got promoted, really, until the               10      consistent discriminatory ~ radaliy discriminatory
         11      complaint came about. I think it was like a — about           11      and sexually discriminatory and demeaning comments
         12      four months of, you know...                                   12      toward you, is It iikeiy that command was not aware?
         13   Q. Just ongoing.                                                 13              MR. ACHO: I'm going to object again as to
         14   A. Yeah.                                                         14      speculating as to their knowledge. They may have
         15   Q. And was this prior to or after he was separated from          15      thought they were joking. They don't...
         16      you because of his discriminatory actions toward you?         16   BY MR. MUNGO:
         17   A. That was all prior to us being separated.                     17   Q. Is it likely that they were not aware?
         18   Q. Prior to you being separated, okay.                           18   A. No.
         19                 Now, with ail of this going on In the              19   Q. Okay. And as you just testified, you saw different
         20      office over a four-month period of time and ail the           20      command walking through when he was making these
         21      other detectives hearing Shawn make ail these radst,          21      comments; correct?
         22      discriminatory, demeaning comments to you, did anyone         22   A. Yes.

         23      ever speak up or say that thafs inappropriate, Shawn,         23   Q. And everybody else In the room heard him; correct?
         24      or report that to command?                                    24   A. Yes.

         25   A. No.                                                           25   Q. And isn't it iikeiy that the command heard it. If they




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          1        was walking through as right -- as well; correct?          1         young lady appeared to be affected. And at one point
          2   A. Yes.                                                         2         he seemed overwhelmed by all the information and he
          3   Q. In fact, after the Beyer incident when she was               3         was like, this is institutional, you know. He was
          A        yelling, that nigger could have killed me if that          4         like-

          5        window wasn't there, repeatedly using the N word In        5    Q-    Wait — wait a minute. Hold on a second. Hold on a

          €        your presence, you were then taken secredy, as your        6         second. Who is this saying, this Is Institutional, he
                                                                              7
          1        testimony was - I'm just kind of summing it up using                 was overwhelmed?

          8        my own words here - you were kind of secretly taken        0    A.    Mark Simlar, his eyes were watering and his face was
          9        to a meeting with Mr. Simlar?                              9         red and he seemed to be affected by what I was saying.
         10   A.    Yes, sir.                                                10    Q. And what were you telling Mark Simlar?
         11   Q. Is Mr. Simlar in diis room, by the way?                     I".   A.   About all the dIfTerent racial things, officer safety
         12   A.    Yes, sir.                                                12         Issues, and he reminded me that he had taken a
         13   Q- Where is he located at?                                                complaint back in 2011 with Dawn. And so, I guess,
         14   A.    Sitting on the end.                                      14         the span oftimeof all these different things
         15   Q- Sitting on the end. Okay. And what is his role and          15         happening from all these different people, he said
         16      responsibility there at ttie City of Warren?                :e         that there was an Institutional problem and that he
         17   A.    I know he works in the human resources department                   didn't really know what he could do to change it or
         18   Q. Okay. So they took you to meet with Mr. Simlar?             18         help me.
         19   A.    Yes,sir.                                                 iS    Q- What complaint did he take from Dawn and who was Dawn?
         20   Q. Who was It that told you not to say where you were          20    A. Dawn McLane was the dispatcher toat didn't give me the

         21        coming in and when you were coming in and where you       21         information on the gun run.
         22        were meeting and don't go out Oiis way so that you can    22    Q. And what -- what complaint did he take from her?
         23        draw attention? Who was it that told you that?            23    A.   Well,from me. It was ~ I said I felt like it was a
         24   A.    Sergeant Mills.                                          24         hostile work environment.

         25   Q- Sergeant Mills, okay. And what was his relationship         25    Q. Okay. Okay. Because the dispatcher was doing what?


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          1        to you from the command of a reporting standpoint?         1    A.    Being belligerent on the recorded line and not giving
          2   A.    My direct supervisor.                                     2         us pertinent information that you need.
          3   Q. He was your direct supervisor. Okay. Now, was he one         3    Q. Being belligerent to who?
          4     of the command people that would walk pass through the        4    A. To me.

          5        office back and forth when Shawn John was — when           5    Q. Okay. So the complaint that you made to Mark Simlar,
          6        Shawn Johnson was making these racially and gender         6       you did make that complaint to Mark Simlar?
          7        discriminatory, demeaning comments?                        1    A.    Which one?

          8   A.    No. That would have been Sergeant Eidt.                   a    Q. With McLane, the dispatcher.
          9   Q. Sergeant Eidt. And what was his relationship to you          9    A. Well, I made It with supervision and supervision got

         10        regarding reporting?                                      10         in touch with human resources because they're In a
         11   A.    My direct supervisor.                                    11         different building and they had us meet.
         12   Q. He's another direct supervisor. Okay. All right.            12    Q- Did Mr. Simlar ever meet with you and discuss that
         13        And so when you finally met with Mr. Simlar, what         13       matter with you?
         14        happened during that meeting with Mr. Simlar? Was         14    A. Yes.

         15        there anything said during the meeting with               15    Q. Okay. And what was die content of that conversation?
         16        Mr. Simlar? And if so, questions asked, answers           15    A.    Well, they kept asking if I thought it was because of
         17        given, we want to put that in the record.                 17         my race, and back then I said no.
         18   A.   There was another young lady who sat in the meeting       18    Q. What do you believe now?
         19        with us, and he told me that she always sat in on         19    A.    Probably, actually.
         20        these kinds of things and that he trusted her. He had     20    Q- Probably. What makes you think - believe that it was
         21        a yellow notepad like that, and I started to talk and     21       probably your race?
         22        I said that there's probably not enough pages in the      22    A.   In the beginning, you want to assume that everything
         23        notepad to cover my ten-year experience there.            23         is happening to everybody, you know, or that it's
         24              He started to ask things; we started to             24         nothing ~ nothing to you personally. But then over
         25        talk; I was emotional; he was emotional. The other        25         time when they show you In so many different ways and




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          1       so many different facets, no matter whether I'm             1      subsection of an entire training.
          2       working in jail or patrol or as a detective, no matter      2    Q. Okay. So that we'll have some idea for the record,
          3       where I go and what I do,the commentary still               3      the jury and the judge, how long of a period of time
          4       continues.                                                  4       did that segment consist of?
          5    Q. Okay. Now, this question was not asked, and I would         5    A. The cultural diversity day —
          6       like to put it into the record and make it very dear        6    Q. Or approximately. If you don't remember.
          7       at this point. All of the individuals that were             7    A. Yeah. The cultural diversity day is usually like a
          8       complained - that you complained about in your              8      four-hour span or an entire day,eight hours, butI
          9       Complaint and all of the individuals that you've            9      don't recall how many hours we were in there.
         10       referenced throughout this deposition, are all of          10    Q. Okay. So at a maximum. It could have been eight
         11       these individuals, with the except of Anwar - is that      11       hours?
         12       his right name -                                           12    A. Yes.
         13    A. Yes.                                                       13    Q. Okay. One day?
         14    Q. - Anwar? Are all of these individuals Caucasian?           14    A. Yes.
         15    A. Yes,sir.                                                   15    Q. Okay. Had it ever occurred, any other additional
         16    Q. Okay. Induding Mr. Simlar?                                 16      diversity cultural ~ diversity training as It relates
         17    A. Yes,sir.                                                   17      to African-Americans occur during your ten-year period
         18    Q. Okay. Ail right. And so you were the only                  18      there since that first training?
         19       African-American working as ~ in that police               19    A. No,sir.
         20       department as an officer or otherwise?                     20    Q. Okay. Do you recall counselor's question to you
         21    A. Yes,sir.                                                   21      earlier as to whether or not the psychologist was
         22    Q. Okay. All right. As far as you know, are you the           22      concerned about you?
         23       first African-American that had been employed as a         23    A. Yes,sir.
         24       police officer in the Qty of Warren?                       24    Q. Do you really know whether or not the psychologist was
         25   A. My understanding Is, they offered it to one male            25       concemed about you?


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          1
                 before me who asked what the city's demographic was          1   A. The lady that they had call me?
          2      and then he turned It down,and then there was another        2   Q. Yes.
          3      guy who — I guess he was in the police academy.              3   A. At first, I thought she was.
          4      because ttie City of Warren sometimes pays for tha^          4   Q. Okay. But you thought different later?
          5      but he didn't pass the Academy,so technically ever           5   A. Because she just kept saying, oh, my God, you know.
          6      fully hired and working in the building, it would just       6      ifs egregious and you work in a cesspool and, you
          7      be me.                                                       7      know, you need to sue and all that And then when she
          8   Q. Okay. Ail right. Now, when you first came in -               8      called me back the next day, it was like completely
          9      well, you were there for ten years; correct?                 9      different It was, weil, maybe you can go somewhere
         10   A. Yes.                                                        10      eise and maybe you can start over and maybe you need
         11   Q. Okay. For the ten-year period that you were there.          11      to see somebody, but then she wouidnt meet me in
         12      were there ever any diversity training as it relates        12      person, so I wasn't abie to gain any trust with her
         13      to Afncan-Americans? Cultural diversity training as         13      because she wouldn't meet me on record, you know.
         14      it relates to African-Americans during - during your        14   Q. What was the psychologist's name?
         15      entire ten years there?                                     15   A. I think Greenberg or Gteenbiiar or something like
         16   A. My first year in 2006.                                      16      that Forsberg, I think maybe Forsberg.
         17   Q. 2006. And what did that training consist of?                17   Q. Forsberg?
         18   A. How to talk to and deal with Afncan-Americans whether       18   A. Yeah.
         19      they're speaking in a loud tone of voice, whether           19   Q. Okay. Linda Forsberg?
         20      they're using their hands, how ^r away to stand, what       20   A. Yes.

         21      verbal cues to see or know when they're being               21   Q. And when Mark Simlar - you testified that
         22      disrespectful,just kind of like rules of engagement         22      Mark Simlar, during your meeting with him after the
         23      kind of thing.                                              23      Shawn Johnson Incident, that ~ I'm sorry, after the
         24   Q. Okay. And how long did that training last?                  24      Beyer Incident, that he said that the problem is
         25   A. It was a part of our 40-hour block,so it wasjust a          25      systemic. What was your understanding as to what




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             1        Mr. Simlar was describing in his statement?               1   A.    Light duty.
             2                MR. ACHO; Just so we're clear, she didn't         2   Q. Light duty.
             3        use the word,"systemic," so I would object. She           3   A.    Yes,sir.
             4        alleges that he used the word "institutional,." But       4   Q. Okay. And the question was asked whether or not you
             5        go ahead.                                                 5        believe that it was because of your race. Do you
             6   BY MR. MUNGO:                                                  6        recall counsel asking you that question?
             7   Q. Okay. What- and I want to be accurate for the               7   A.    Yes,sir.
             8     record. What word did you recall Mr. Simlar using?           8   Q. Do you believe it was because of your race?
             9        Let's do that first.                                      9   A.    At the time,1 didn't, but due to everybody getting it
            10   A.   That the problem was Institutional.                      10        prior to me being injured,1 just thought it was
            11   Q. Okay. It was institutional. And what was your              11        something that it was kind of like carte blanche to
            12        understanding as to what Mr. Simlar meant when he said   12        everybody. Upon me needing it and being denied it, I
            13        the problem was institutional? What problem?             13        realized that it didn't apply to me.
            14   A.    All of the things that I was talking to him about       14   Q. Okay. But I guess you got to be a little bit clearer.
            15        regarding my race and things being biased or sexist      15        You've got to be more dear. Did you ~ do you -• do
            16        against me. The fact that it was happening with so       16        you or don't you believe that you were denied the
            17        many different people, he felt like it was,like, a       17        opportunity to work that same shift that your
            18        totality.                                                18        similarly situated white officers were able to work.
            19   Q. When you say ~ what was happening with so many             19        light duty, because of your race?
            20        different people?                                        20   A.    Yes,sir.
            21   A.   You know,the commentary and treating me a certain        21   Q. Okay. And is there any-for the record, I want you
            22        kind of way.                                             22     to articulate for the record, why did you surmise that
            23   Q. Okay. So meaning ~ so meaning ail the different            23        it was because of your race?
            24     people treating you the same way, in a racially             24   A.    Because If I'm the only black employee and everybody
            25        derogatory way?                                          25        else is getting to work iight duty for



                                                                    Page 238                                                             Page 240
             1   A.    Yes,sir.                                                 1        non-duty-reiated issues and I'm hit by a drunk driver
             2   Q. In a radally demeaning way?                                 2        on my way to work and I'm supposed to be covered to
             3   A. Yes,sir.                                                    3        and from, but I'm not allowed to work the desk, but
             4   Q. Okay. Ail right. And did he seem to speak of this           4        they can have a pulled hamstring musde from playing
             5     from the standpoint of his personal knowledge or just        5        Softball, rip an arm out of a socket in the garage at
             6     from what you were telling him?                              6        home pulling up a motorcycle and get light duty, or
             7   A. I thought it was based on our two hours of                  7        just say,I'm tired of dealing with the citizens,I'm
             8        conversation.                                             8        mentally fotigued,I want to sit here and study for my
             9   Q. Okay. And so just to be dear for the record, when           9        promotional exam,and when I came back,the guy is on
            10      you said Mark Simlar said it was institutional, was he     10        a crutch and has a cast on his foot but he can work.
            11        speaking - and I want to take ~ you mentioned both       11        and then another officer te out driving with a broken
            12        race and gender discrimination. Was it your              12        hand with a cast on his hand, but he can work. So
            13      understanding that he meant that radsm was                 13        what else — what's the difference?
            14      institutional in the Warren Police Department?             14   Q. Okay. You recall counsel asking you, after reviewing
            15   A. That*s what I thought he meant,sir, yes.                   15      your Complaint and allegations of the race and sexual
            16   Q. Okay. And was it your understanding, also, that when       16        demeaning conduct toward you by different employees.
            17      he used the word, "institutional," that he meant that      17        each time he would give an example of that conduct by
            18     the gender discrimination was institutional as well?        18        various Caucasian Warren police officers, he would ask
        ^   19   A.    At the time,I think we were focusing on the race —      19        you whether or not you complained. You recall that?
            20   Q. On the race, okay.                                         20   A.    Yes, sir.
            21   A. ~ issue.                                                   21   Q. Okay. And you indicated that you did not complain.
            22   Q. All right. Very well. There was a question asked to        22        You recall that?
            23        you by opposing counsel regarding your being - not       23   A.    Quite often, yes.
            24        being allowed to work a certain shift, but white         24   Q. Quite often. And I just want the record clear.
            25        police officers were when they were injured.             25        Ms. Howiett, as to why it was that you did not




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          1        complain In all of those instances In which you were       1      I'm like, wow. So Sheila Is wrong even when she's not
          2        subject to racially and gender derogatory comments and     2      wrong because If they're all similar and I'm the one
          3        conduct.                                                   3      different thing. If I continue to speak out,again.
          4   A.    I thought it was my — I thought It was my plight to       4      nothing's happening,that person doesn't change,
          5        bear because I knew I was going to be the only black       5      nothing happens with supervision, but then I'm more
          6        person upon accepting the job,and I thought that If I      6      isolated again and again.
          7        was consistent and did a good job and gave them an         7   Q. So you were fearful of reporting these violations of
          8        opportunity to get to know me for me,that It would,        8      your civil rights to command.
          9        at some point, get to a point where my race didn't         9   A. Yes,sir.
         10        matter.                                                   10   Q. Even though, based on your testimony earlier, it was
         11                So as things would happen one by one,I            11      your belief that command already knew about this
         12        would just go,that's an isolated Incident,survive         12      conduct; correct?
         13        that incident and move on to the next thing. But then     13   A. Some things, yes.
         14        as the years progressed and it just continued and kind    14   Q. Okay. Yet they took no action.
         15        of got rampant or even worse, you come to a               15   A. No,sir.
         16        realization at some point like, wow,I could literally     16   Q. Okay. And over time, I guess what you're saying Is
         17        be here 25 years and this is just going to be a           17      that you just held this in; correct?
         18        constant variable.                                        18   A. Yes.
         19              Another thing that I took upon myself was           19   Q. How did this affect your life with your femily and
         20        feeling like, by being the first, you're opening this     20      your friends, your social life, as you were going
         21        door for the next ones to come behind you. So if I        21      through holding ail this in over ten years?
         22        complain and I'm, you know,aggressive or angry black      22   A. A lot of times stuff would happen at work,I wouldn't
         23        woman or whatever they want to say, it might make it      23      be able to discuss it with my family because they
         24        hard on the next one. Well, who knew there's not          24      would be like, what did you say and what did you do.
         25        another one coming, you know.                             25      and they couldn't understand the position that I was


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          1                So for me it was just like, if you're a            1      In not to be able to say or do because,again, my life
          2        secretary and you are telling another secretary, your      2      depends on these resources here, you know.
          3        life doesn't depend on that^ though, but if you're an      3             And so If I — if I said anything to them.
          4        officer speaking against other officers, how does that     4      they would be so outraged at the stupid stuff that was
          5        fare well? You know,the one guy who told about the         5      happening, but then they would want me to do
          6        police brutality, they called him a P word and don't       6      something,and all I wanted to do was retire. You
          7        want to work with him.                                     7      don't want to quit, you dont want to start over, you
          8   Q. Tell us about the police brutality that the one              8      don't want to be a problem, you just want to finish
          9        officer complained of.                                     9      what you started.
         10   A.   John Adams felt like they were being too rough on         10            So,again,trying to just get through each
         11        people and beating people up unnecessarily.               11      instance, hoping it would get better, which I guess
         12   Q. "Felt like they" who?                                       12      was naive for the most part because it's just not, you
         13   A. Different officers.                                         13      know.
         14   Q- Being beating up on who?                                    14   Q. So - so, then, based on your testimony, what I hear
         15   A. On — on citizens. So he took It to command,and some         15      you saying •• and correct me if I'm wrong - is that
         16        kind of way It magically gets all around the              16      you felt In order to keep a paycheck coming In, the
         17        department that he's a snitch and a fake and a punk       17      price was to endure this dehumanizing treatment?
         18        and nobody should work with him.                          18   A. Yes.

         19   Q. And so that caused you to fear making complaints            19   Q. And did It get to a point where it was like a tipping
         20        against any officers violating rules and laws, as         20      point there where It, like, culminated In - in some
         21        well?                                                     21      sort of a health issue?
         22   A.   And also seeing that when I address you as an adult       22   A. After I went to Matt's class and he asked me to speak
         23        one on one about things that I just -- you've done It     23      to them because of my unique position and the lack of
         24        ten times, you're not going to stop, and then to see      24     diversity in policing ~
         25        how everybody else takes the other person's side. So      25   Q. And just for the record, who Is Matt?




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          1   A.    Deputy Chief Matt Nichols.                               1        that stuff, and I couldn't put it back down,though.
          2   Q. Matt Nichols, okay.                                         2        I couldn't section it off how I had done before.
          3   A.    Matt Nichols. And so I told him that I didn't want to    3   Q. Now, what was Matt Nichols' rank at that bme?
          4        go speak to his class because they're going to be         4   A. Ueutenant.
          5        young idealistic kids that have never really              5   Q. He was a lieutenant. And was this experience - did
          6        experienced anything.                                     6        Matt Nichols hear your presentation to this class?
          7   Q. And what was this class, to clarify?                        7   A. Yes.

          8   A. Something about the lack of — I mean, the lack of           8   Q. And you were explaining to the class your experience
          9        diversity in policing. It was a —                         9        at the Warren Police Department?
         10   Q- Okay. Was it like a college course or a high school        10   A.   Yes,and that's what he wanted me to do. That's why
         11        course or ~                                              11        he asked me to speak.
         12   A.    Community college for policing ••                       12   Q- And were you explaining to them all of the different
         13   Q. Okay. Go ahead.                                            13      derogatory, demeaning - racially demeaning and
         14   A.   - in Macomb. And so, you know, he kind of kept           14        derogatory and gender conduct you were subject to?
         15        asking me about it. And then I said, If I go In          15   A.   Yes, sir.
         16        there, what do you want me to say? He's like, I want     16   Q- Okay. And was this prior to -- was this prior to or
         17        you to be honest and just tell them your experience.     17        after you were put back in the same environment where
         18        and if they ask you something,just discuss that. And     18        Shawn Johnson was?

         19        then I said, I'm going to sound like a victim and then   19   A.   It was after I was put back with Shawn.
         20        they're gonna say all these things that I should have    20   Q- Okay. How long after, approximately?
         21        done and I've never done anything, and that's kind of    21   A. The class was right before the holidays, so it's ail

         22        exactly what happened.                                   22        right within that same vicinity of time of last
         23               So the reason why I'm bringing that up Is         23        winter. And then after the class, like I said, I
         24        because prior to talking to Mark for those two hours.    24        couldn't push all that back down,and then I get -• I
         25        Mr. Simlar, that was the first time that I talked        25        go on vacation and my coworkers are like, oh, did you


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          1        about a span of ten years and what happened.              1        hear what the mayor said? That was like in January.
          2   Q- Was this prior to or after the Beyer incident? It was       2   Q- What was that about?
          3        prior"it was prior to the Beyer incident, but was         3   A.    Comparing black women to chimpanzees,elongated
          4        it prior to or after the Shawn Johnson inddent?           4        jawiines and talking about handicapped people and —
          5   A. It was after.                                               5   Q. The mayor of the City of Warren?
          6   Q.    Yeah. And was Matt Nichols aware of the Shawn Johnson    6   A.   Yes. And calling women cunts and just a bunch of
          7        incident --                                               7        nasty things. So I get back and they're talking about
          8   A. Yes.                                                        8        that,and then Shawn John's lip is busted and
          9   Q- "at that point in time?                                     9        Twardesky is like, oh, did you see his lip? Him and
         10                Okay. And so tell us about your                  10        Dawn got into a fight. And so it was just like, you
         11        experience, then, at Matt Nichols' class.                11        know,all these things all at once.
         12   A.   So I get In the class and the kids are just utter        12   Q. So did Ueutenant Mc -- Nichois know that you had
         13        dismay and they're like, but aren't you on a team and    13        problems being back in that same environment with
         14        aren't you guys a group? And I told them,I •• I          14        Shawn Johnson after he had harassed you sexually and
         15        failed two blue for the black and two black for the      15        racially?
         16        blue. You never fit. And then I explained to them        16   A.   Yeah, he knew I had been put back.
         17        the thin blue line, how the police are supposed to       17   Q. Okay. And did you -- did he know that you didn't want
         18        protect the citizens from that black ~ you know,the      18        to be back there?
         19        line that you talk, and If you're on the team but        19   A.    Well,I told them that I wouldn't have taken the
         20        you're not accepted and you're not trusted or they       20        promotion If I had known.
         21        don't equally reciprocate anything, It's kind of like    21   Q. Okay. So he knew that you were put back in ttiat
         22        you're an island of one, is what I told them. And so     22     environment and didn't do anything about it?
         23        It was just like I thought,they were saying all these    23   A. Correct.

         24        things that I should do.                                 24   Q. Okay. What was that? She's got to hear you.
         25               So 1 leave that class after exposing all          25   A. Yes.




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          1    Q. You remember counsel asked you a question about           1   A.    Trying to hurt me.
          2         Roland Bell?                                            2   Q. Remember the question counsel asked you about
          3    A. Yes,sir.                                                  3        Chlsholm?
          4    Q. And he said you were walking gingerly because of ail      4   A.    Yes,sir.
          5      that big, black - that -- and that name they - the         5   Q. Okay. And he was your partner?
          6       male genital.                                             6   A.    Sometimes, yes.
          7    A. Yes, sir.                                                 7   Q. Sometimes. Okay. And he was the one that indicated
          8    Q. Okay. And counsel asked you, didn't Roland Bell bring     8        that - or he said that someone indicated to him that

          9       you diapers and formula and coach an all-black            9        his life was in danger when working with you; is that
         10         football team?                                         10        correct?
         11    A. Yes, sir.                                                11   A. Yes.

         12    Q. Okay. Do you think that was an equal exchange for        12   Q. Did I"did I say that right?
         13         allowing him to insult you ~                           13   A. They wanted to know if he was concerned for his own

         14    A. No,sir.                                                  14        safety, if he had to be my partner.
         15    Q. ~ with such racially and sexually demeaning              15   Q. Okay. And what was your understanding as to why they
         16         conduct ~                                              16      would ask him that question?
         17    A.  No,sir.                                                 17   A.   I was already promoted to detective and a lot of the
         18    Q.  ~ verbal conduct?                                       18        younger or new people hadn't worked with me yet, and
         19    A.  No,sir.                                                 19        they weren't working there at the time that he and I
         20    Q.  Do you think ail those other things he did justified    20        worked together,so they didn't know we had a prior
         21       him making that racially and - and sexually demeaning    21        history. So my understanding was,out of all the
         22      statement to you?                                         22        things he had to be worried about, being promoted to
         23    A. No,sir.                                                  23        detective and ail the new stuff he had to learn, the
         24    Q. Do you think there's any basis that would justify that   24        only thing people was asking him was, how do you feel
         25       kind of demeaning verbal conduct?                        25        about having to work with Howlett



                                                             Page 250                                                             Page 252
          1   A. No,sir.                                                    1   Q. But how did that relate to him being concerned about
          2   Q. Whafs on the south side of Warren?                         2        his life being in danger?
          3   A. That's considered south of Ten Mile,so it would be         3   A.    Because that's what they were saying, aren't you
          4      between Eight and Ten Miie, and then from Dequindre        4        concerned about your welfore, having to work with
          5      ali the way down to Hayes Is considered the south end      5        Howlett

          6      of town.                                                   6   Q. So what ~ what's your understanding of what they
          7   Q. Okay. Does that consist of a particular race or group      7      meant by his welfare?
          8      of people or a class of people?                            8   A.    His safety.
          9   A. It's different races, but it will be considered the        9   Q- Okay. And how would that ~ his safety come into
         10      poorer section of town. That's where most majority of     10      question whiie working with you?
         11      the crimes occur where we get most of our police runs     11   A.   Itjust seems like some kind of way,I'm a problem or
         12      to.                                                       12        problems are associated with me. So Ifs ali these
         13   Q. Okay. And this Jason Booms used the N word. Do you        13        detectives up there and they're only asking, is that
         14      recall that question counsel asked you ~                  14        his biggest concern,and he just brushes it off like.
         15   A. Yes.                                                      15        we aiready worked together. Ifs not a problem.
         16   Q. ~ about Jason Booms using the N word? And in your         16   Q. Okay. Did ~ did I understand you earlier to say that
         17      opinion, was he using the N word excessively and          17        that was also in the context ~ or did I misunderstand
         18      unnecessarily?                                            18        you and say that was also in the context of not
         19   A. Yes,sir.                                                  19        getting backup?
         20   Q. Okay. And in your opinion, was it connected with his      20   A. There was another situation where him and I were out

         21      duty as an officer?                                       21        on a run and we didn't receive assistance so he used
         22   A. It wasn't necessary, no.                                  22        his ceii phone to call for help.
         23   Q. And so what was your opinion as to why he was using       23   Q. I see. I see. And is that, according to your
         24      that racially derogatory and demeaning word in your       24      understanding, what you beiieve was meant by him being
         25      presence?                                                 25        concerned for his safety or others asking him about




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          1        him being concerned for his safety, working with you?     1        or hear them coming or tiiey saying, I'm almost out.
          2   A.    Us not getting a backup was after he had told me that    2        But If I was further away from a run, 1 would start In
          3        that was people's questions of whether it was his         3        the direction of it and then kind ofjust park a block
          4        concern.                                                  4        or two away,and then when I hear them call out,I
          5   Q. Okay. Okay. But you had problems with backup before         5        would turn the comer and »
          6        you and he were working together; correct?                6   Q. When you hear them call out what, Ms. Hewlett?
          7   A. Yes.                                                        7   A. Police officers call out on the scene.

          8   Q- Remember counsel asked you about the backup and you         8   Q. Okay. So when they got on the scene, that's when you
          9        indicated that -- you gave an example where the           9        went there? Okay. And that delay, could that have
         10        detectives finally showed up?                            10        put the lives of citizens in Jeopardy?
         11   A. Yes.                                                       11   A.   Probably.
         12   Q. Okay. It's my understanding from your tesdmony —           12   Q. Probably.
         13     and maybe I misunderstood -- that after you had             13   A.   Yes, sir.
         14        complained about not having backup, that Biat problem    14   Q- Okay. What would you say the delay in time was on
         15        was fixed, that you did get proper backup, timely        15        average? I know it would differ from situation to
         16        backup; is that true?                                    16        situation, but on average, how much delay in getting
         17   A.   I didn't complain.                                       17        to a scene would occur?
         18   Q. You didn't complain?                                       18   A.   I don't — I don't know the exact time. I just know I
         19   A.    No.                                                     19        would go from going as fast as I could to slowing
         20   Q- Was the problem ever fixed of you -- in other words,       20        down,so so many minutes per run.
         21        did you ever begin to receive proper, timely backup?     21   Q. Okay. Okay. And your fear of getting there prior to
         22   A. No.                                                        22      backup was what exactly, for the record? Let's be
         23   Q- Okay. From your testimony earlier, it would appear         23        clear.
         24        that that's what you were saying, is that uibmately      24   A.   When she told me that they were not coming in the most
         25        you did get proper backup.                               25        direct route to me and that they would come but they



                                                                 Page 254                                                           Page 256
          1   A. No.                                                         1        would go the long way around or they would call out
          2   Q. That's not - yeah, go ahead.                                2        for lunch, It made me feel like my life was in danger.
          3   A. Earlier, 1 stated that I changed how I did things.          3   Q- Okay. How so, Ms. Hewlett? We have to put this in
          4        Instead of getting there so promptly or so fast,I         4      the record. And I know you already know, but we need
          5        took her advice and I would slow down and make sure       5        to make tiie record clear. How did you feel your life
          6        that they're out before me so that I wouldn't be          6        was in danger as a result of going directly to the
          7        alone.                                                    7        scene when you're dispatched rather than slowing down?
          8   Q. Okay. You took whose advice?                                6   A.    Because if you're being left alone for an unnecessary
          9   A. Dispatcher Broach, Debbie Broach.                           9        amount of time or extra time, the chances of something
         10   Q- Debbie Broach. What was her advice?                        10        happening and you not having assistance is greater.
         11   A. To slow down and not be the first one out so that I        11   Q- Okay. What could possibly happen? What are the basic
         12        wouldn't be left alone too long.                         12      tenets of police rules in going to a scene that causes
         13   Q- So you were now out policing and going to calls that       13        you to be concerned about your safety, your wellbeing
         14        required you to get there quicker, but you did not       14        and getting there before backup?
         15        get" you did not -• you purposely did not get there      15   A.   Serious runs, they assign a two-man car, so that's
         16        quicker — as quick as -- as quickly as you could have    16        physically two police officers working in one car.
         17        because of your concern for improper -- concern about    17   Q.    Yes.

         18        improper backup?                                         18   A.    But most of the time I was assigned an individual car.
         19   A.   Yes,sir.                                                 19        So what they tried to do. If they don't have a two-man
         20   Q. Okay. So how often or ~ on average, how much delay         20        available, is send two Individual cars --
         21        in time would occur in your getting to a particular      21   Q- Okay.
         22        scene that you were dispatched to because of your        22   A. — to handle a serious run.

         23        concern for improper backup?                             23   Q- Okay.
         24   A.   If I was already dose to the area,I would just stay      24   A.   So now if you're in your car and you're there alone,
         25        parked for a while until I could kinda hear the sirens   25        until the other person comes, you're alone.




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          1   Q. Okay. So what could possibly happen, Ms. Hewlett? I             1   Q- And is that your understanding of what Dr. Shiener's
          2      know you've lived this life, but let's not assume that          2         understanding of your situation is?
          3        those who would possibly benefit from the - your              3   A.    Yes,sir.
          4        testimony, knowing graphically what could possibly            4   Q. And how do you know that? Because you've had
          5        happen to put -- to jeopardize your wellbeing by being        5         conversations with Dr. Shiener?
          6        out alone without proper backup?                              6   A.    Yes, sir.
          7   A.   I could have been Injured,         could have been maimed.    7   Q. There was a litany of things that counsel took you
          8        I could have been killed.                                     8        through In terms of your experience at Oak Park where
          9   Q. Okay. Okay. By what and whom?                                   9        there was all these criticisms by the -- you may have
         10   A.   The arresting person that I'm there to secure or a           10        to help me with the person's name.
         11        person coming down off of some type of narcotic. You         11   A. Lieutenant Pousak.
         12        know,a citizen who is not pro police, anything.              12   Q. Lieutenant Pousak. And notwithstanding -- did the
         13   Q. You remember counsel asked you a question about                13     City of Warren have access to all of that information
         14        Derek Scott painting your house and he asked you if          14        and those records and personnel files from Oak Park?
         15        you would let someone hateful in your house. Did you         15   A.    Yes, sir.
         16        know whether or not Derek Scott was hateful?                 16   Q. Prior to hiring you?
         17   A. That was Kevin Barnhill.                                       17   A.    Yes, sir.
         18                  MR. ACHO; Just so the record's clear —             IB   Q- And was there any discusson with you by - In fact,
         19   BY MR. MUNGO:                                                     19         who did your background check at Warren before you
         20   Q- I'm sorry, Kevin — Kevin Barnhill. Did you know                20         were hired?
         21        whether or not he was hateful?                               21   A. It would have been Lieutenant Gallasso at the time.
         22   A.    We didn't have problems at the time he painted my           22   Q. Lieutenant Gallasso. Did he mention -- did you have
         23        house. That happened later.                                  23        an opportunity to discuss with him about your
         24   Q. Okay. Do you — how do you measure whether or not               24        experience in Oak Park prior to you being hired in
         25        someone is hateful?                                          25         Warren?



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          1   A.   If they continue to repeatedly do the same thing over         1   A.    Yes. He talked with me and my parents.
          2        and over knowing that it's offending you because they         2   Q- Okay. And what did he say about Oak Park?
          3        can tell that you're not happy with it and they just          3   A. That he felt like it was personal, one person

          4        continue to do it.                                            4        nitpicking and attacking, and it was a shame that my
          5   Q. Okay. Could someone In -- In Kevin Barnwell's                   5        career had been stopped or suspended over something
          6        situabon may have been interested in the money, and.          6        stupid. And then he gave an example of me patrolling
          7        therefore, disguised his hatred or dislike of blacks          7        too long or -• you know, me being out on patrol too
          8        when he came to paint your house?                             8        long, and then he said to my parents, what could be
          9   A. I don't know.                                                   9        wrong with that? And then he mentioned the thing
         10   Q. So do you really know whether or not he was hateful of         10        about me not going to get lunch for the troops, how
         11        blacks?                                                      11        that's not even work related but it's in my personnel
         12   A.    No.                                                         12        file.
         13   Q- Okay.                                                          13   Q. Okay. So they didn't think anything of -- they
         14                  VIDEO TECHNICIAN: Hey, Leonard, I have to          14        thought they saw Lieutenant Paluso —
         15        switch tape In like three minutes,just so you know.          15   A. Pousak.

         16                  MR. MUNGO: Okay. All right.                        16   Q. Pousak. They saw Lieutenant — Uie Warren Police
         17   BY MR. MUNGO:                                                     17        Department saw Lieutenant Pousak's criticisms of you
         18   Q. Counsel raised the issue of - In the Shiener's report          18        as being personal?
         19        right after the sentence where it indicated that you         19   A. Yes.

         20        were married to another — that you were married to a         20   Q- And not professional?
         21        same sex and right — that sentence right after says          21   A. Yes.

         22        you were in a committed relationship with another            22   Q- Okay.
         23        female. What is your understanding of that statement?        23                VIDEO TECHNICIAN: I think If you want to
         24   A.   That Dr. Shiener was talking about me being in a             24        get It on video, I'm going to have to switch. I'm
         25        committed relationship with my wife.                         25        running -- I'm running out.




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          1                  MR. MUNGO; Do what you need to do, my           1        you?
          2        friend.                                                   2   A. No.

          3                  VIDEO TECHNICIAN: Off Che record, 4:37,         3   Q. How do you know?
          4                  {Off the record at 4:37 p.m.)                   4   A.    Because I never told anybody.
          5                  {Back on the record at 4:38 p.m.)               5   Q. Okay. Did - do you think that anyone else may have
          6                  VIDEO TECHNIQAN: Back on the record,            6      been privy to that information or maybe have overheard
          7        4:38.                                                     7        that Information -

          8   BY MR, MUNGO;                                                  8                MR. ACHO: Objection.
          9   Q. All right. You recall counsel asked you earlier about       9   BY MR. MUNGO:

         10        your turning down potential jobs with the various        10   Q. - being - being conveyed to you?
         11        police departments that you applied to between your      i;                MR. ACHO: Speculation.
         12        employment at Oak Park and Warren, that you turned       12   A. Not that 1 know of.

         13        them down because It wasn't enough pay.                  13   BY MR. MUNGO:

         14   A.   Yes,sir.                                                 14   Q- Not that you know of. Okay. And how many occasions
         15   Q- Okay. Why were you concerned with the pay, the amount      15      were you told that by this officer?
         16        of pay?                                                  16   A.   Quite a few times because we would end up at the same
         17   A.   The amount of time thatI had spent in Deb'oit, being     17        runs together or we would bump into each other in the
         18        six-and-a-half years ~                                   18        common area hallway or In Hie front lobby of the
         19   Q- Yes.                                                       19        police station.
         20   A. — and to start over in seniority for the same or           20   Q- Ctoy. So when he said he wouldn't help you, in your
         21        almost equivalent benefit, it wouldn't•• it wouldn't     21      mind, did that Include when you go out on runs.
         22        behoove me. I would have to get another job after I      22        dispatch?
         23        retire and basically work until I die.                   23   A.   Yes. Because he was a primary helper on runs.
         24   Q. Okay. Okay. Was there any particular reason why you        24   Q. And so did you interpret that as something that would
         25        should - you believe you should have accepted less       25      put your life In peril?



                                                                 Page 262                                                         Page 264
          1        rather than more pay when you could command more pay?     1   A.    Yes, sir.
                   Not with my experience and having a degree, no,sir.       2
          2   A.                                                                 Q- And when he asked you to go out with him, what do you
          3   Q- Okay. Remember counsel asked you about Houtos and he        3      think he was asking you for?
          4        asked you - Houtos was asking you about the               4   A. To date.

          5        blue-black.                                               5   Q. To date for what purpose?
          6   A. Houtos.                                                     6   A.    Possibly a sexual reiabonship because although he was
          7   Q. Houtos, I'm sorry.                                          7        married, he would kind of have relationships with
          S   A.   Yeah.                                                     e        other people outside of his marriage.
          9   Q- Houtos. Who is Houtos...                                    9   Q. Okay. Okay. I'm going to ask you - you've been off
         10            Okay. Counsel asked you whether or not he            10      work now as a Warren police officer for how long?
         11        Intended - yog believe he intended to Injure you. Do     11   A.    Technically, February 1st, that Friday that I showed
         12        you know whether or not -• what his intent was?          12        up and they sent me home.
         13   A. I don't know his intention was.                            13   Q. February 1st of what year?
         14   Q. Okay. Did It Injure you emotionally?                       14   A. 2017.
         15   A. I felt it was unfair to come to me for everything          15   Q- Of 2017. And did you continue to receive a paycheck?
         16        black, every black question.                             16   A. 1 had 40 days of sick time that they paid me for, they

         17   Q. So did you feel offended or injured behind that or         17        put me on a FMLA, which is Family Medical Leave Act,
         18        not?                                                     10        and currently I'm on unpaid medical.
         19   A. Yes.                                                       19   Q- Okay. So for how long did you receive a paycheck or
         20   Q- And he was the same Individual -- he was a sergeant        20      any form of Income, any -- any source or form of
         21      who said diat If you didn't help him -- If you didn't      21        Income from the City of Warren since you've been off
         22        go out with him, he wouldn't help you?                   22        or since you used up your sick time?
         23   A.   No. That was Officer Paul Kelly.                         23   A.    My 40 days would have run out back in April.
         24   Q- Officer Paul Kelly, okay. Did any of the command -         24   Q. So the last time you received a paycheck from the City
         25        was any of the command aware of that demand put upon     25        of Warren was when?




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          1    A. I believe it was April.                                  1        understand that that's the City's position, is that
          2    Q. April of 2017?                                           2        you're not entitled to short-term disability t>ecause
          3    A. Yes,sir.                                                 3        your injury was work related?
          A    Q. And since then, no income at all?                        4    A. Yes, sir.
          5    A. No,sir.                                                  5    Q. Okay. What was your income prior to your leaving on
          6    Q. No unemployment?                                         6       sick ~ because you were unable to work, what was
          7    A. No.                                                      7       your ~ what was your income, annual income, at the
          8    Q.   No workers' comp?                                      8       City of Warren as a police officer?
          9    A.   No,sir.                                                9    A. 89,000.
         10    Q.   No short-term disability benefits?                    10    Q. 89,000. And did you also have benefits?
         11    A.   No,Sir.                                               11    A. Medical packages.
         12    Q.   Okay. Did you apply for workers'comp?                 12    Q. Medical package. Do you have any idea what that
         13    A. Yes.                                                    13       medical package is worth?
         14    Q. And were you denied?                                    14    A. Between 12- to 14,000 per employee,I believe.
         15    A. Yes.                                                    15    Q. Per employee, okay. 12- to 14,000, okay.
         16    Q. Okay. Did you apply for short-term disability           16               So your total including your income ~ as
         17         benefits?                                             17       best you are able to determine, your total income.
         18    A. Yes.                                                    18       including benefits, with the City of Warren as a
         19    Q. Were you denied?                                        19       police officer ~ and I think you were serving as a
         20    A. Yes.                                                    20       sergeant; is that correct?
         21    Q. Okay. Is it your understanding that the City of         21    A. Detective.
         22      Warren has told you that since your injury was work      22   Q. Detective. Was what, if you were to add both your
         23      related, as counsel here today has also confirmed.       23      annual income coupled with your benefits?
         24      that because your income ~ because your injury was       24   A. It would have been in the 100,000 marker, 105-,
         25      work related, that you are not entitled to a             25       somewhere in there.



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          1      short-term disability?                                    1   Q. $105,000 a year, okay. And how old are you now?
          2   A. Short-term disability. Basically, after 1 was denied.     2   A. 44.
          3     it's now under review,I guess. They're looking into.       3   Q. 44. And what was the retirement age there at the aty
          4   Q. Okay. Did you hear counsel ~ counsel gave me these        4      of Warren? The earliest you could retire?
          5      documents today concerning your application ~             5   A. You have to be — they do 30 and out there,so — I
          6   A. Okay.                                                     6      mean,I'm sorry, 25 and out. So 25 plus whatever age
          7   Q. -for disability and the ~ counsel - general               7      you hired in at. You know, you could be finished
          8      counsel for the City of Warren indicated that your        8      after 25 years.
          9      short-term disability benefits was denied because your    9   Q. Okay. And so how many more years would you have had
         10      injury was work related. Did you hear him say that       10      to work there at Warren before you were able to
         11      today?                                                   11      retire?
         12   A. Yeah,I heard him say that That was my first time         12   A. 15.
         13     hearing It                                                13   Q. Another 15 years, okay. Okay. And so how have you
         14   Q. I just want to know if you heard it.                     14      survived without any income up to this point since ~
         15   A. Yes.                                                     15     since April of 2017?
         16   Q. Okay. All right. And did you agree with that             16   A. My wife's income.
         17      position?                                                17   Q. Okay. And counsel asked you a question earlier, do
         18   A. That my injury's work related?                           18      you recall as to your ability ~ your ability to
         19   Q. That your short-term disability benefits are precluded   19      return to work, and you answered the question ~ and I
         20      because your Injury is work related. Do you agree        20      don't want to ~ I'm not even sure if I can repeat
         21      with that assessment?                                    21      your answer exactly, but I want the record to be
         22   A. I don't know what — what the rules are on when you       22      clear. Are you able to return to work?
         23      get unemployment,short-term versus long-term             23   A. Not in policing, no.
         24      disability.                                              24   Q. Not In policing. And why is that, as best as you can
         25   Q. Okay. So you're not familiar with that. But you do       25      explain for the record.




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          1   A.   The way she's explaining to me is iike ~                   1   Q. Your friends and family. Have you - have you - you
          2   Q- The way "she" who?                                           2      have complained to them -
          3   A.    My"the way my doctor is explaining it is because it       3   A. Yes,sir.
          A        happened —                                                 4   Q. - about that? Okay. And then just for a moment, can
          5   Q- Which doctor?                                                5      you tell me, generally, how this has affected your
          6   A. Vaiivonis. That so many things happened over such a          6      life, the quality of your life? What is your life
          7        period of time from so many different people,that the      7      like now compared to what it was before you had
          8        working environmentfor me has pretty much been             8      experienced this discrimination and It had culminated
          9        suliied as far as being in policing where you also         9      into this landslide of avalanche of emotional
         10        have to trust, respect one another and know that          10      dishevelment in your life in requiring-
         11        they're going to be there for your safety, so...          11              MR. ACHO: Is there any other colorful
         12   Q. Okay. Did she ever indicate that you were able to           12      adjective you wish to editorialize with? I mean.
         13        return to work at ail in any profession?                  13      goodness, I've been giving ••
         14   A.   She said probably with six months to a year or more of    14   BY MR. MUNGO:

         15        therapy, and if 1 stayed on medication.                   15   Q. You can - you can describe the difference. Do you
         16   Q. Have you began to explore alternative careers?              16      need the question again?
         17   A.   I'm looking into potentially just completely getting      17   A. No.

         18        out of law enforcement and going into, iike, interior     18   Q. Okay.
         19        design.                                                   19   A. When you lose your profession and it's something that
         20   Q. Okay. Are you working with any particular                   20      you've done your entire aduit life and my ability to
         21        professionals to assist you with that transition?         21      provide for my family, you know,and so it's a sense
         22   A.   Yes,I have a work coach.                                  22      of kind of bewildennent because you haven't done
         23   Q- Okay. And who is that?                                      23      anything wrong, you. Followed all the rules, you go
         24   A. I can't remember his name offhand. Is it Anceli?            24      to school, you don't commit a crime, you get into your
         25   Q- Dr. Anceli?                                                 25      career and it's supposed to end in some type of


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          1   A. Anceli.                                                      1      retirement/pension kind of thing. And so to have to.
          2   Q. Okay. He's an occupational therapist or -                    2     first of all, get myself together mentally and
          3   A. Yes.                                                         3      emotionaily and heal from all ofthis and move
          4   Q. Okay. Occupational. Yeah, I think that's the term            4     forward,and then start over back in school trying to
          5        for It. That helps you with selecting a career and         5      get into a whole other field, ifsjust — it's too
          6        planning for transition from one career to another.        6      much to fathom for me, you know.
          7                And by the way, do you have an expert to           7            And so living in a city that I can no
          8         help you determine what your exact economic losses        8      longer work for, but I can't even move out of it, to
          9        would be as a result of the discriminatory acts of the     9     feel a peace of mind — imagine cutting your grass or
         10        aty of Warren and the police department?                  10      going to the mailbox and always looking over your
         11   A. Yes,sir.                                                    11     shoulder. It's just — ifs bad. My blinds are
         12   Q. Okay. And who would that expert be?                         12      closed. I don't go out a lot because people are
         13   A. I haven't met with him yet.                                 13      continuously like, oh, well, whafs next? Well,I'm
         14   Q. Okay. But you do have an expert?                            14     still trying to survive this, you know.
         15   A. Yes.                                                        15            So my schedule is opposite everybody's.
         16   Q. Okay. Had you complained to anyone other than those         16     You know,I try to be at home on the weekends when my
         17        that you've gone on the record here today as having       17      neighbor go up north and just be opposite of
         18        complained to who are members of the Warren Police        18     everybody. So pretty much justsedentary and going to
         19        Department, whether In command or not, about the          19     these appointments for counseling.
         20        discriminatory and demeaning treatment that you have      20              MR. MUNGO: Okay. I think thafs it for
         21        received while working at the Warren Police               21      me.

         22         Department?                                              22              MR. ACHO: I do have some foilowup.
         23   A.    Other than the people that I've already mentioned        23                    RE-EXAMINATION
         24        related to work,it would just be my friends and           24   BY MR. ACHO:
         25        family.                                                   25   Q. You just said, you know.It's hard because you havent




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          1        done anything wrong, you followed all the rules. But     1   A. Not all the time, no.
          2        you didnt follow all the rules, did you? Police          2   Q. In fact, virtually none of the times. So aren't you
          3        departments have policies; correct? And they're meant    3      really partially or largely at fault for things going
          4        to be followed; correct?                                 4      south with you In Warren? Would you admit that?
          5   A. Yes.                                                       5   A. I accept my responsibility and being there for ten
          6   Q. One such policy the Qty of Warren has, the P.D., Is        6      years.

          7      that when you're a single officer In a single patrol       7   Q. All right. So you accept the responsibility for not
          8      car, that you are not to go on a run and you are not       8      complying with the orders.
          9     to engage until you have backup; correct?                   9   A. For the safety of my life, yes.
         10   A. If at all possible.                                       10   Q. That's how you view it.
         11   Q. Thafs the policy; right?                                  11   A. Yes.

         12   A. Not if a person is being murdered or hollering for        12   Q. You gave some testimony regarding Mr. SImlar. You
         13     help.                                                      13      said he had tears In his eyes, which, I believe.
         14   Q. Did you ever encounter a situation where a person was     14      because he's a humane individual. But you also said
         15      being murdered and you didnt have backup?                 15      that he said, this Is institutional, but that is not
         16   A. No.                                                       16      necessarily accurate. Is it?
         17   Q. Okay. So the policy Is that you werent to engage          17   A. Why would that be?
         18      until you had backup. Isntthat what Ms. Broach told       18   Q. Well, isn't the way the conversation went down Is,
         19        you?                                                    19      Mr. SImlar said to you, after your comments,so based
         20   A. No,thafs not what she told me.                            20      on what you're telling me, you think this is
         21   Q. Isnt that why she told you not to arrive so soon?         21      Institutional? Wasn't he simply congealing your
         22   A. No.                                                       22      comments and reducing them down to that?
         23   Q. Mr. Mungo asked you about commanding officers possibly    23   A. The way that myself and the female that was sitting in
         24        hearing allegedly racist and sexist comments. Do you    24      the room looked at each other was that he was
         25        recall that?                                            25      acknowledging that the problem in Warren is a



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          1   A. Yes.                                                       1      institutional problem because he continued to state
          2   Q. You dont know If these command officers knew whether       2      that he didn't know what he was going to do to help
          3     or not these other officers were joking with you, do        3      because it was,like, bigger than the scope of what he
          4        you?                                                     4      thought and that it involved so many different layers.
          5   A.   I knew that they knew about it, but I don't know in      5      so many different people.
          6     what context they took it.                                  6   Q. Fair enough. But just so the record is clear, what
          7
              Q. Exactly. So they don't know if It's joking or not;         7      Mr. SImlar said Is, Ms. Howlett, what you're telling
          8        correct?                                                 8      me is, you believe this Is institutional.
          9   A. Well,Sergeant Mills said Shawn was being stupid.           9   A. No, not that I believe. He was saying that he thought
         10   Q. Right But he doesn't- stupid, silly, acting a             10      it was institutional, because I never said the word.
         11     fool, these are all terms given to people joking           11      "institutional."
         12     around; right?                                             12   Q. I understand Mr. SImlar said the word.
         13                MR. MUNGO: Objection-                           13      "Institutional," but just so we are accurate, what
         14   BY MR. ACHO;                                                 14      Mr. SImlar said to you was, so what you're telling me
         15   Q. Correct?                                                  15      Is you believe this Is institutional.
         16                MR. MUNGO: - assumes a fact that's not in       16   A. That's not how - in the context of how he said it,
         17        evidence.                                               17      that I believe, no.
         18   A.   For me, no.                                             18   Q. How you believe. But you don't know 100 percent what
         19   BY MR. ACHO:                                                 19      he said; correct?
         20   Q. Okay. For you, no. But you don't know what the            20   A. No, he never said how I beiieve.
         21     command officers knew, do you?                             21   Q. What did he say exactly?
         22   A.   No,I don't.                                             22               MR. MUNGO: Objection, asked and answered.
         23   Q. Correct. And that Is the reason why these policies        23               MR. ACHO: I don't know if it has been.
         24        existed for you to make complaints, but you didn't;     24               MR. MUNGO: It certainly has been.
         25        correct?                                                25   A. This problem is institutional.




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             BY MR. ACHO:
             Q. That's ~ those were his exact words?
             A. Yes.
             Q. It was a statement.
             A. And another person was in the room. Ask her.
             Q. Who was that person?
             A. His assistant
                          MR. ACHO; I don't have anything further.
                          MR. MUNGO; I don't have anything further
                either.
                          MR. VINSON: Just take a little break.
                          MR. ACHO: I'm sorry?
                          MR. VINSON; Take a little break.
                        MR. ACHO: Let's just take a quick break,
                I'm sorry. I may have something further.
                        VIDEO TECHNICIAN: Off the record, 4:59.
                       (Off the record at 4:59 p.m.)
                       (Back on the record at 5:05 p.m.)
                        MR. ACHO: So, Ms. Hewlett, I have nothing
                further and I diank you for your time today.
                        THE WITNESS: Thank you, sir.
                       (Proceedings concluded at 5:05 p.m.)




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                             CERTIFICATE OF NOTARY
             STATE OF MICHIGAN )
                       )SS
             COUNTY OF OAKUND )


                       I, ALISON WEBSTER, certify that this
               deposition was taken t>efore me on the date
               hereinbefore set forth; that the foregoing questions
               and answers were recorded by me stenographically and
               reduced to computer transaiption; Oiat this is a
               true, fVII and correct transaipt of my stenographic
               notes so taken; and that I am not related to, nor of
               counsel to, either party nor interested in the event
               of this cause.




                             ALISON WEBSTER, CSR-6266, RPR
                             Notary Public,
                             Oakland County, Michigan.
               My Commission expires: May 1, 2023




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